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                     THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF INDIANA
                           EVANSVILLE DIVISION

                                             )
 CITY OF JASPER, INDIANA,                    )
                                             )
                                             )
                                Plaintiff,   )
                                             )
 v.                                          )   CIVIL ACTION NO.3:18-cv-140
                                             )
 AMERISOURCEBERGEN DRUG                      )
 CORPORATION, CARDINAL HEALTH,               )
 INC., McKESSON CORPORATION,                 )
 PURDUE PHARMA L.P.; PURDUE                  )
 PHARMA, INC.; THE PURDUE FREDERICK          )
 COMPANY, INC.; TEVA                         )
 PHARMACEUTICAL INDUSTRIES, LTD.;            )                COMPLAINT
 TEVA PHARMACEUTICALS USA, INC.;             )
 CEPHALON, INC.; JOHNSON & JOHNSON;          )         Complaint for Public Nuisance;
 JANSSEN PHARMACEUTICALS, INC.;              )     Violations of Racketeer Influenced and
 ORTHO-MCNEIL-JANSSEN                        )     Corrupt Organizations Act (RICO) 18
 PHARMACEUTICALS, INC. n/k/a JANSSEN         )
                                                    U.S.C. § 1961 et seq.; Violations of
 PHARMACEUTICALS, INC.; JANSSEN              )
 PHARMACEUTICA INC. n/k/a JANSSEN            )    Indiana Corrupt Business Influence Act,
 PHARMACEUTICALS, INC.; NORAMCO,             )       Ind. Code § 35-45-6; Violations of
 INC.; ENDO HEALTH SOLUTIONS INC.;           )     Indiana Crime Victim Relief Act, Ind.
 ENDO PHARMACEUTICALS, INC.;                 )       Code § 34-24-3-1; Negligence and
 ALLERGAN PLC f/k/a ACTAVIS PLS;             )   Negligent Misrepresentation; Negligence
 WATSON PHARMACEUTICALS, INC. n/k/a          )     Per Se; Violation of Indiana Deceptive
 ACTAVIS, INC.; WATSON                       )
                                                 Trade Practices Act, Ind. Code § 24-5-0.5-
 LABORATORIES, INC.; ACTAVIS LLC;            )
 ACTAVIS PHARMA, INC. f/k/a WATSON           )   2; Civil Conspiracy; Indiana Drug Dealer
 PHARMA, INC.;                               )     Liability, Ind. Code § 34-24-4-1; Fraud
 MALLINCKRODT PLC and                        )        and Fraudulent Misrepresentation
 MALLINCKRODT LLC.                           )
                                             )
                              Defendants.    )
                                             )
                                             )
                                             )   JURY TRIAL DEMANDED AND
                                             )   ENDORSED HEREON
                                             )




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        Plaintiff, the CITY OF JASPER, INDIANA (“Plaintiff”), brings this Complaint against

Defendants Purdue Pharma L.P.; Purdue Pharma, Inc.; The Purdue Frederick Company, Inc.; Teva

Pharmaceutical Industries, LTD.; Teva Pharmaceuticals USA, Inc.; Cephalon, Inc.; Johnson &

Johnson; Janssen Pharmaceuticals, Inc.; Ortho-McNeil-Janssen Pharmaceuticals, Inc. n/k/a

Janssen Pharmaceuticals, Inc.; Janssen Pharmaceutica Inc. n/k/a Janssen Pharmaceuticals, Inc.;

Noramco, Inc.; Endo Health Solutions Inc.; Endo Pharmaceuticals, Inc.; Allergan PLC f/k/a

Actavis PLS; Watson Pharmaceuticals, Inc. n/k/a Actavis, Inc.; Watson Laboratories, Inc.;

Actavis, LLC; Actavis Pharma, Inc. f/k/a Watson Pharma, Inc.; Mallinckrodt plc; Mallinckrodt

LLC; McKesson Corporation; Cardinal Health, Inc.; and AmerisourceBergen Drug Corporation

(collectively “Defendants”) and alleges as follows:

                                            I. INTRODUCTION

        1.       Plaintiff brings this civil action to eliminate the hazard to public health and safety

caused by the opioid epidemic, to abate the nuisance caused thereby, and to recoup monies that

have been spent because of Defendants’ false, deceptive and unfair marketing and/or unlawful

diversion of prescription opioids.1 Such economic damages were foreseeable to Defendants and

were sustained because of Defendants’ intentional and/or unlawful actions and omissions.

        2.       Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions.2

        3.       The opioid epidemic is “directly related to the increasingly widespread misuse of

powerful opioid pain medications.”3


1
 As used herein, the term “opioid” refers to the entire family of opiate drugs including natural, synthetic and semi-
synthetic opiates.
2
  See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
Strategies, 374 N. Eng. J. Med. 1253 (2016).
3 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).


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       4.      Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, and turned patients into drug addicts for their own corporate profit. Such

actions were intentional and/or unlawful.

       5.      Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers intentionally and/or unlawfully breached their

legal duties under federal and state law to monitor, detect, investigate, refuse and report suspicious

orders of prescription opiates. Despite the clear evidence before their eyes—that the number of

opioids being sent into communities like the City of Jasper could not be explained or justified by

any conceivable medical need, but could only be explained by a flourishing and rapidly expanding

black market for opioids—these wholesale distributors continued to push their substances into the

community, willingly and knowingly becoming participants in the black market they were fueling.

                                          II. PARTIES

                   A. PLAINTIFF, CITY OF JASPER, INDIANA.

       6.      Plaintiff is a municipality organized under Indiana law. Ind. Code § 36-1-2-10.

       7.      Plaintiff suffers from the negative effects of opioid4 abuse—addiction, morbidity

and mortality—which have created a serious public health and safety crisis, and constitute a public

nuisance. The diversion of legally produced controlled substances into the illicit market causes or

contributes to this public nuisance.




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       8.      The distribution and diversion of opioids into Indiana (“the State”), and into the

City of Jasper and surrounding areas (collectively, “Plaintiff’s Community”), created the

foreseeable opioid crisis and opioid public nuisance for which Plaintiff here seeks relief.

       9.      Plaintiff directly and foreseeably sustained all economic damages alleged herein.

Defendants’ conduct has exacted a financial burden for which the Plaintiff seeks relief. Categories

of past and continuing sustained damages include, inter alia,: (1) costs for providing medical care,

additional therapeutic and prescription drug purchases, and other treatments for patients suffering

from opioid-related addiction or disease, including overdoses and deaths; (2) costs for providing

treatment, counseling, and rehabilitation services; (3) costs for providing treatment of infants born

with opioid-related medical conditions; (4) costs associated with law enforcement and public

safety relating to the opioid epidemic; (5) and costs associated with providing care for children

whose parents suffer from opioid-related disability or incapacitation. These damages have been

suffered, and continue to be suffered directly, by the Plaintiff.

       10.     Plaintiff also seeks the means to abate the epidemic created by Defendants’

wrongful and unlawful conduct. Plaintiff is authorized by law to abate any nuisance, and prosecute

in any court of competent jurisdiction, any person who creates, continues, contributes to, or suffers

such nuisance to exist and prevent injury and annoyance from such nuisance. Ind. Code § 32-30-

6-7.

       11.     Plaintiff has standing to recover damages incurred as a result of Defendants’ actions

and omissions. Plaintiff has standing to bring all claims pled herein, including, inter alia, standing

under Ind. Code § 34-24-3-1 to recover damages caused by certain criminal acts, pursuant to Ind.

Code § 34-6-2-103 (“person” includes “a governmental entity”) and Ind. Code § 34-6-2-49

(“governmental entity” means “the state or a political subdivision of the state”); standing to recover




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damages under the Deceptive Consumer Sales Act pursuant to Ind. Code § 24-5-0.5-2 (“person”

includes “the state of Indiana or its subdivisions or agencies” “or any other legal entity”); standing

to bring claims under Ind. Code § 34-24-4-1 (which specifically grants standing to “governmental

entit[ies],” Ind. Code § 34-24-4-2); standing to bring claims under the federal RICO statute,

pursuant to 18 U.S.C. § 1961(3) (“persons” include entities which can hold legal title to property)

and 18 U.S.C. § 1964 (“persons” have standing); and standing to bring claims under any other

cause of action brought herein.

                   B. DEFENDANTS.

                       1. Manufacturer Defendants.

          12.   The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duties to prevent diversion and report suspicious

orders.

          13.   PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. PURDUE PHARMA INC. is a New York corporation with its principal place of

business in Stamford, Connecticut, and THE PURDUE FREDERICK COMPANY is a Delaware

corporation with its principal place of business in Stamford, Connecticut (collectively, “Purdue”).

          14.   Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue’s best-selling opioid. Since 2009, Purdue’s annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006


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sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

        15.      CEPHALON, INC. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania. TEVA PHARMACEUTICAL INDUSTRIES, LTD. (“Teva Ltd.”) is an

Israeli corporation with its principal place of business in Petah Tikva, Israel. In 2011, Teva Ltd.

acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. (“Teva USA”) is a Delaware

corporation which is registered to do business in Ohio and is a wholly owned subsidiary of Teva

Ltd. in Pennsylvania. Teva USA acquired Cephalon in October 2011.

        16.      Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the “management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain.”5 Fentora has been approved by the FDA only for the “management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain.”6 In 2008, Cephalon

pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its misleading

promotion of Actiq and two other drugs, and agreed to pay $425 million.7

        17.      Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for


5
    Highlights of Prescribing Information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge, CII (2009),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2009/020747s030lbl.pdf.
6
   Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII                 (2011),
https://www.accessdata.fda.gov/drugsatfda_docs/label/2012/021947s015lbl.pdf.
7
  Press Release, U.S. Dep’t of Justice, Biopharmaceutical Company, Cephalon, to Pay $425 Million & Enter Plea to
Resolve Allegations of Off-Label Marketing (Sept. 29, 2008), https://www.justice.gov/archive/opa/pr/
2008/September/08-civ-860.html.



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 Cephalon in the United States through Teva USA and has done so since its October 2011

 acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

 the public. Teva USA sells all former Cephalon branded products through its “specialty medicines”

 division. The FDA-approved prescribing information and medication guide, which is distributed

 with Cephalon opioids, discloses that the guide was submitted by Teva USA, and directs

 physicians to contact Teva USA to report adverse events.

           18.      All of Cephalon’s promotional websites, including those for Actiq and Fentora,

 display Teva Ltd.’s logo.8 Teva Ltd.’s financial reports list Cephalon’s and Teva USA’s sales as

 its own, and its year-end report for 2012 – the year immediately following the Cephalon acquisition

 – attributed a 22% increase in its specialty medicine sales to “the inclusion of a full year of

 Cephalon’s specialty sales,” including, inter alia, sales of Fentora®.9 Through interrelated

 operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

 and Teva USA. The United States is the largest of Teva Ltd.’s global markets, representing 53%

 of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,

 Teva Ltd. would conduct those companies’ business in the United States itself. Upon information

 and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

 inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

 Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as “Cephalon.”

           19.      JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

 principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of



 8
     E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Dec. 28, 2017).
 9
   Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013), http://annualreports.com/HostedData/
 AnnualReportArchive/t/NASDAQ_TEVA_2012.pdf.




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 JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

 New Brunswick, New Jersey. NORAMCO, INC. (“Noramco”) is a Delaware company

 headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July

 2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as JANSSEN

 PHARMACEUTICALS, INC., is a Pennsylvania corporation registered to do business in Ohio

 with its principal place of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA

 INC., now known as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with

 its principal place of business in Titusville, New Jersey. J&J is the only company that owns more

 than 10% of Janssen Pharmaceuticals’ stock, and corresponds with the FDA regarding Janssen’s

 products. Upon information and belief, J&J controls the sale and development of Janssen

 Pharmaceuticals’ drugs and Janssen’s profits inure to J&J’s benefit. Janssen Pharmaceuticals, Inc.,

 Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and J&J are

 referred to as “Janssen.”

        20.       Janssen manufactures, promotes, sells, and distributes drugs in the United States,

 including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1 billion

 in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids Nucynta

 (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172 million in

 sales in 2014.

        21.       ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

 place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

 owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation registered to do

 business in Ohio with its principal place of business in Malvern, Pennsylvania. Endo Health

 Solutions Inc. and Endo Pharmaceuticals Inc. are referred to as “Endo.”




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        22.    Endo develops, markets, and sells prescription drugs, including the opioids

 Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly

 $403 million of Endo’s overall revenues of $3 billion in 2012. Opana ER yielded $1.15 billion in

 revenue from 2010 and 2013, and it accounted for 10% of Endo’s total revenue in 2012. Endo also

 manufactures and sells generic opioids such as oxycodone, oxymorphone, hydromorphone, and

 hydrocodone products in the United States, by itself and through its subsidiary, Qualitest

 Pharmaceuticals, Inc.

        23.    ALLERGAN PLC is a public limited company incorporated in Ireland with its

 principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

 March 2015, and the combined company changed its name to ALLERGAN PLC in January 2013.

 Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,

 and the combined company changed its name to Actavis, Inc. as of January 2013 and then

 ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

 with its principal place of business in Corona, California, and is a wholly-owned subsidiary of

 ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS

 PHARMA, INC. (f/k/a Actavis, Inc.) is registered to do business with the Ohio Secretary of State

 as a Delaware corporation with its principal place of business in New Jersey and was formerly

 known as WATSON PHARMA, INC. ACTAVIS LLC is a Delaware limited liability company

 with its principal place of business in Parsippany, New Jersey. Each of these defendants is owned

 by ALLERGAN PLC, which uses them to market and sell its drugs in the United States. Upon

 information and belief, ALLERGAN PLC exercises control over these marketing and sales efforts

 and profits from the sale of Allergan/Actavis products ultimately inure to its benefit. ALLERGAN

 PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis Pharma, Inc., Watson




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 Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc. are referred to as

 “Actavis.”

        24.     Actavis manufactures, promotes, sells, and distributes opioids, including the

 branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

 and Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

 Inc. on December 30, 2008, and began marketing Kadian in 2009.

        25.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

 Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

 MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

 the State of Delaware and licensed to do business in Ohio. Mallinckrodt, LLC is a wholly owned

 subsidiary of Mallinckrodt, plc. Mallinckrodt, plc and Mallinckrodt, LLC are referred to as

 “Mallinckrodt.”

        26.     Mallinckrodt manufactures, markets, and sells drugs in the United States including

 generic oxycodone, of which it is one of the largest manufacturers. In July 2017, Mallinckrodt

 agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed to

 detect and notify the DEA of suspicious orders of controlled substances.

                        2. Distributor Defendants.

        27.     The Distributor Defendants also are defined below. At all relevant times, the

 Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

 the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

 detect and warn of diversion of dangerous drugs for nonmedical purposes. The Distributor

 Defendants universally failed to comply with federal and/or state law. Plaintiff alleges the unlawful

 conduct by the Distributor Defendants is responsible for the volume of prescription opioids

 plaguing Plaintiff’s Community.


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          28.      McKESSON CORPORATION (“McKesson”) at all relevant times, operated as a

 licensed pharmacy wholesaler in Ohio. McKesson is registered with the Ohio Secretary of State

 as a Delaware corporation. McKesson’s principal place of business is located in San Francisco,

 California. McKesson operates distribution centers in Ohio, including in Washington Court House,

 Ohio.

          29.      CARDINAL HEALTH, INC. (“Cardinal”) at all relevant times, operated as a

 licensed pharmacy wholesaler in Ohio. Cardinal is registered with the Ohio Secretary of State as

 an Ohio corporation, with its principal office and place of business located in Dublin, Ohio.

 Cardinal operates distribution centers in Ohio, including in Groveport, Ohio and Zanesville, Ohio.

          30.      AMERISOURCEBERGEN DRUG CORPORATION (“AmerisourceBergen”) at

 all relevant times, operated as a licensed pharmacy wholesaler in Ohio. AmerisourceBergen is

 registered with the Ohio Secretary of State as a Delaware corporation which may be served through

 its registered agent for service of process. AmerisourceBergen’s principal place of business is

 located in Chesterbrook, Pennsylvania. AmerisourceBergen operates distribution centers in Ohio,

 including in Lockbourne, Ohio.

          31.      The data which reveals and/or confirms the identity of each wrongful opioid

 distributor is hidden from public view in the DEA’s confidential ARCOS database. See Madel v.

 USDOJ, 784 F.3d 448 (8th Cir. 2015). Neither the DEA10 nor the wholesale distributors11 will




 10
   See Declaration of Katherine L. Myrick, Chief, Freedom of Information (FOI)/Privacy Act Unit (“SARF”), FOI,
 Records Management Section (“SAR”), Drug Enforcement Administration (DEA), United States Department of
 Justice (DOJ), Madel v. USDOJ, Case 0:13-cv-02832-PAM-FLN, (Document 23) (filed 02/06/14) (noting that
 ARCOS data is “kept confidential by the DEA”).
 11
   See Declaration of Tina Lantz, Cardinal Health VP of Sales Operation, Madel v. USDOJ, Case 0:13-cv-02832-
 PAM-FLN, (Document 93) (filed 11/02/16) (“Cardinal Health does not customarily release any of the information
 identified by the DEA notice letter to the public, nor is the information publicly available. Cardinal Health relies on
 DEA to protect its confidential business information reported to the Agency.”).



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 voluntarily disclose the data necessary to identify with specificity the transactions which will form

 the evidentiary basis for the claims asserted herein.

        32.     Consequently, Plaintiff has named the three (3) wholesale distributors (i.e.,

 AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and McKesson Corporation) which

 dominate 85% of the market share for the distribution of prescription opioids. The “Big 3” are

 Fortune 500 corporations listed on the New York Stock Exchange whose principal business is the

 nationwide wholesale distribution of prescription drugs. See Fed. Trade Comm'n v. Cardinal

 Health, Inc., 12 F. Supp. 2d 34, 37 (D.D.C. 1998) (describing Cardinal Health, Inc., McKesson

 Corporation, and AmerisourceBergen Drug Corporation predecessors). Each has been investigated

 and/or fined by the DEA for the failure to report suspicious orders. Plaintiff has reason to believe

 each has engaged in unlawful conduct which resulted in the diversion of prescription opioids into

 Plaintiff’s community and that discovery will likely reveal others who likewise engaged in

 unlawful conduct. Plaintiff names each of the “Big 3” herein as defendants and places the industry

 on notice that the Plaintiff is acting to abate the public nuisance plaguing the community. Plaintiff

 will request expedited discovery pursuant to Rule 26(d) of the Federal Rules of Civil Procedure to

 secure the data necessary to reveal and/or confirm the identities of the wholesale distributors,

 including data from the ARCOS database.

                                III. JURISDICTION & VENUE

        33.     This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

 federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.

 § 1961, et seq. (“RICO”). This Court has supplemental jurisdiction over Plaintiff’s state law claims

 pursuant to 28 U.S.C. § 1367 because those claims are so related to Plaintiff’s federal claims that

 they form part of the same case or controversy.




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         34.     This Court has personal jurisdiction over Defendants because they conduct business

 in Indiana, purposefully direct or directed their actions toward Indiana, consented to be sued in

 Indiana by registering an agent for service of process, consensually submitted to the jurisdiction

 of Indiana when obtaining a distributor license, and have the requisite minimum contacts with

 Indiana necessary to constitutionally permit the Court to exercise jurisdiction.

         35.     This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C.

 § 1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

 “ends of justice” require national service and Plaintiff demonstrates national contacts. Here, the

 interests of justice require that Plaintiff be allowed to bring all members of the nationwide RICO

 enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Insurance

 Fund v. Philip Morris Inc., 23 F. Supp. 2d 796 (1998) (citing LaSalle National Bank v. Arroyo

 Office Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988)); Butcher’s Union Local No. 498

 v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986).

         36.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(b)(2) and 18 U.S.C. §

 1965(a) because a substantial part of the events or omissions giving rise to the claim occurred in

 this District and each Defendant transacted affairs and conducted business that gave rise to the

 claim of relief in this District.

         37.     Plaintiff does not bring any product liability claims or causes of action and does not

 seek compensatory damages for death, physical injury to person, or emotional distress. Plaintiff

 does not bring common law claims for property damage.




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                                     IV. FACTUAL BACKGROUND

                       A. THE OPIOID EPIDEMIC.

                            1. The National Opioid Epidemic.

          38.      The past two decades have been characterized by increasing abuse and diversion of

 prescription drugs, including opioid medications, in the United States.12

          39.      Prescription opioids have become widely prescribed. By 2010, enough prescription

 opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

 hydrocodone every 4 hours for 1 month.13

          40.      By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

 Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

 Release noted:

                       a. The death toll from overdoses of prescription painkillers has
                          more than tripled in the past decade.

                       b. More than 40 people die every day from overdoses involving
                          narcotic pain relievers like hydrocodone (Vicodin),
                          methadone, oxycodone (OxyContin), and oxymorphone
                          (Opana).

                       c. Overdoses involving prescription painkillers are at epidemic
                          levels and now kill more Americans than heroin and cocaine
                          combined.

                       d. The increased use of prescription painkillers for nonmedical
                          reasons, along with growing sales, has contributed to a large
                          number of overdoses and deaths. In 2010, 1 in every 20
                          people in the United States age 12 and older—a total of 12
                          million people—reported using prescription painkillers non-
                          medically according to the National Survey on Drug Use and
                          Health. Based on the data from the Drug Enforcement

 12
   See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J. Med.
 241 (2015).
 13
   Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical Prescription Opioid Use
 and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).



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                              Administration, sales of these drugs to pharmacies and
                              health care providers have increased by more than 300
                              percent since 1999.

                         e. Prescription drug abuse is a silent epidemic that is stealing
                            thousands of lives and tearing apart communities and
                            families across America.

                         f. Almost 5,500 people start to misuse prescription painkillers
                            every day.14

            41.      The number of annual opioid prescriptions written in the United States is now

 roughly equal to the number of adults in the population.15

            42.      Many Americans are now addicted to prescription opioids, and the number of

 deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed roughly

 64,000 people in the United States, an increase of more than 22 percent from the 52,404 drug

 deaths recorded the previous year.16

            43.      Moreover, the CDC has identified addiction to prescription pain medication as the

 strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

 are forty times more likely to be addicted to heroin.17

            44.      Heroin is pharmacologically similar to prescription opioids. The majority of current

 heroin users report having used prescription opioids non-medically before they initiated heroin




 14
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Prescription
 Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
 https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
 15
      See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).
 16
   See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Provisional Counts of Drug
 Overdose Deaths, (August 8, 2016), https://www.cdc.gov/nchs/data/health_policy/monthly-drug-overdose-death-
 estimates.pdf.
 17
    See Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs., Today’s Heroin Epidemic,
 https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).



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 use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor

 for heroin use.18

           45.     The CDC reports that drug overdose deaths involving heroin continued to climb

 sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large increases

 in heroin use across the country and has been shown to be closely tied to opioid pain reliever

 misuse and dependence. Past misuse of prescription opioids is the strongest risk factor for heroin

 initiation and use, specifically among persons who report past-year dependence or abuse. The

 increased availability of heroin, combined with its relatively low price (compared with diverted

 prescription opioids) and high purity appear to be major drivers of the upward trend in heroin use

 and overdose.19

           46.     The societal costs of prescription drug abuse are “huge.”20

           47.     Across the nation, local governments are struggling with a pernicious, ever-

 expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans lose their

 lives after overdosing on opioids.21

           48.     The National Institute on Drug Abuse identifies misuse and addiction to opioids as

 “a serious national crisis that affects public health as well as social and economic welfare.” 22 The



 18
  See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and Heroin, 374 N. Eng. J.
 Med. 154 (2016).
 19
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64 Morbidity
 & Mortality Wkly. Rep. 1378 (2016).
 20
   See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of Appellant Cardinal
 Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-5061 (D.C. Cir. May 9, 2012), 2012 WL
 1637016, at *10 [hereinafter Brief of HDMA].
 21
    Opioid Crisis, NIH, National Institute on Drug Abuse (available at https://www.drugabuse.gov/drugs-
 abuse/opioids/opioid-crisis, last visited Sept. 19, 2017) (“Opioid Crisis, NIH”) (citing at note 1 Rudd RA, Seth P,
 David F, Scholl L, Increases in Drug and Opioid-Involved Overdose Deaths — United States, 2010–2015, MMWR
 MORB MORTAL WKLY REP. 2016;65, doi:10.15585/mmwr.mm655051e1).
 22
      Opioid Crisis, NIH.



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 economic burden of prescription opioid misuse alone is $78.5 billion a year, including the costs of

 healthcare, lost productivity, addiction treatment, and criminal justice expenditures.23

          49.      The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

 during 1999–2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United States,

 28,647 (60.9%) involved an opioid.24

          50.      The rate of death from opioid overdose has quadrupled during the past 15 years in

 the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

 department have increased by a factor of six in the past 15 years.25

          51.      Every day brings a new revelation regarding the depth of the opioid plague: just to

 name one example, the New York Times reported in September 2017 that the epidemic, which

 now claims 60,000 lives a year, is killing babies and toddlers because ubiquitous, deadly opioids

 are “everywhere” and mistaken as candy.26

          52.      In 2016, the President of the United States declared an opioid and heroin

 epidemic.27




 23
     Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription Opioid Overdose,
 Abuse, and Dependence in the United States, 2013, MED CARE 2016;54(10):901-906,
 doi:10.1097/MLR.0000000000000625).
 24
  See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United States, 2010–2015, 65
 Morbidity & Mortality Wkly. Rep. 1445 (2016).
 25
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
 Strategies, 374 N. Eng. J. Med. 1253 (2016).
 26
    Julie Turkewitz, ‘The Pills are Everywhere’: How the Opioid Crisis Claims Its Youngest Victims, N.Y. Times,
 Sept. 20, 2017 (“‘It’s a cancer,’ said [grandmother of dead one-year old], of the nation’s opioid problem, ‘with tendrils
 that are going everywhere.’”).
 27
   See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming “Prescription Opioid and Heroin
 Epidemic Awareness Week”).



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         53.      The epidemic of prescription pain medication and heroin deaths is devastating

 families and communities across the country.28 Meanwhile, the manufacturers and distributors of

 prescription opioids extract billions of dollars of revenue from the addicted American public while

 public entities experience tens of millions of dollars of injury caused by the reasonably foreseeable

 consequences of the prescription opioid addiction epidemic.

         54.      The prescription opioid manufacturers and distributors, including the Defendants,

 have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

 such conduct is causing and/or contributing to the national, state, and local opioid epidemic.

                           2. Indiana’s Opioid Epidemic.

         55.      Indiana has been especially ravaged by the national opioid crisis.

         56.      Indiana has an opioid prescription rate of 109.1 per 100 persons, which ranks ninth

 in the country (the median rate for states is 82.5) and a benzodiazepine prescription rate of 42.9

 per 100 persons, which ranks seventeenth nationally (the median rate for states is 37.7).29

         57.      Indeed, “[i]n Indiana opioid overdose deaths rose 52 percent between 2015 and

 2016 and have more than doubled in the last three years.”30

         58.      The inevitable result has been a drain on state and local resources: over the same

 period, drug-related arrests by Indiana State Police have increased by more than 40 percent.31



 28
   See Presidential Memorandum – Addressing Prescription Drug Abuse and Heroin Use, 2015 Daily Comp. Pres.
 Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-201500743/pdf/DCPD-201500743.pdf.
 29
   See Leonard J. Paulozzi, M.D., et al., Vital Signs: Variation Among States in Prescribing of Opioid Pain Relievers
 and Benzodiazepines – United States, 2012, Morbidity and Mortality Weekly Report, Centers for Disease Control
 and Prevention, U.S. Department of Health and Human Services (July 4, 2014). The combination of hydrocodone,
 oxycodone, and benzodiazepines is referred to as the “holy trinity” and significantly increases the risk of harm to
 those that abuse prescription pills.

 30
    Indy Star, Gov. Holcomb: Why I am focusing on the opioid crisis, available at
 https://www.indystar.com/story/news/2017/09/30/gov-holcomb-opioid-opioids-opioid-addiction-opioid-epidemic-
 opioid-withdrawal-opioid-overdose-pain-p/716337001/ (accessed December 12, 2017).
 31
    Id.


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         59.      In the words of Indiana’s Governor Eric Holcomb, communities across the state

 have been “ravaged.”32

         60.      Governor Holcomb has further noted that “our jails have become de facto detox

 facilities.”33

         61.      In fact, the recent human immunodeficiency virus (HIV) and hepatitis C outbreak

 in Scott County, Indiana, “is the single largest known outbreak among persons who inject

 drugs . . . in the United States.”34

         62.      The entire State has suffered as a result of the opioid epidemic. As just one

 indicator, there has been a marked increase in the number of opioid overdoses across Indiana from

 2011–2015:




                           3. Plaintiff City of Japer, Indiana’s Opioid Epidemic

         63.      The Opioid epidemic is particularly devastating in Plaintiff’s Community.


 32
    Id.
 33
    Id.
 34
    Indiana State Dep. of Health, County Profiles of Opioid Use and Related Outcomes, available at
 https://www.in.gov/isdh/files/CountyProfilesOfOpioidUse2017.pdf.


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         64.      From 2011-2015, the number of Hepatitis-C incidents per 100,000 population in

 Dubois County was 102.7, well above the median rate for states of 82.5.35

                      B. THE MANUFACTURER DEFENDANTS’ FALSE, DECEPTIVE,
                      AND UNFAIR MARKETING OF OPIOIDS.

         65.      The opioid epidemic did not happen by accident.

         66.      Before the 1990s, generally accepted standards of medical practice dictated that

 opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

 for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

 patients’ ability to function and overcome pain, coupled with evidence of greater pain complaints

 as patients developed tolerance to opioids over time and the serious risk of addiction and other

 side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

 generally did not prescribe opioids for chronic pain.

         67.      Each Manufacturer Defendant has conducted, and has continued to conduct, a

 marketing scheme designed to persuade doctors and patients that opioids can and should be used

 for chronic pain, resulting in opioid treatment for a far broader group of patients who are much

 more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

 In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

 millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

 of opioids while overstating the benefits of using them for chronic pain.

         68.      The Manufacturer Defendants have made false and misleading claims, contrary to

 the language on their drugs’ labels, regarding the risks of using their drugs that: (1) downplayed

 the serious risk of addiction; (2) created and promoted the concept of “pseudoaddiction” when



 35
   Centers for Disease Control and Prevention, U.S. County Prescribing Rates 2016.
 https://www.cdc.gov/drugoverdose/maps/rxcounty2016.html.


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 signs of actual addiction began appearing, and advocated that the signs of addiction should be

 treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

 addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

 risks of higher opioid dosages; and (6) exaggerated the effectiveness of “abuse-deterrent” opioid

 formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

 touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

 function and quality of life, even though there was no scientifically reliable evidence to support

 the Manufacturer Defendants’ claims.

         69.     The Manufacturer Defendants have disseminated these common messages to

 reverse the popular and medical understanding of opioids and risks of opioid use. They

 disseminated these messages directly, through their sales representatives, in speaker groups led by

 physicians the Manufacturer Defendants recruited for support of their marketing messages, and

 through unbranded marketing and industry-funded front groups.

         70.     Defendants’ efforts have been wildly successful. Opioids are now the most

 prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

 companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually

 since 2009.36 In an open letter to the nation’s physicians in August 2016, the then-U.S. Surgeon

 General expressly connected this “urgent health crisis” to “heavy marketing of opioids to doctors

 . . . [m]any of [whom] were even taught – incorrectly – that opioids are not addictive when




 36
     See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9, 2011,
 http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow, Drugmakers Hooked on
 $10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www. ft.com/content/f6e989a8-5dac-11e6-bb77-
 a121aa8abd95.



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 prescribed for legitimate pain.”37 This epidemic has resulted in a flood of prescription opioids

 available for illicit use or sale (the supply), and a population of patients physically and

 psychologically dependent on them (the demand). And when those patients can no longer afford

 or obtain opioids from licensed dispensaries, they often turn to the street to buy prescription opioids

 or even non-prescription opioids, like heroin.

            71.      The Manufacturer Defendants intentionally continued their conduct, as alleged

 herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

 and damages alleged herein.

                              1. Each Manufacturer Defendant Used Multiple Avenues to
                              Disseminate Their False and Deceptive Statements about Opioids.

            72.      The Manufacturer Defendants spread their false and deceptive statements by

 marketing their branded opioids directly to doctors and patients in and around the State, including

 in Plaintiff’s Community. Defendants also deployed seemingly unbiased and independent third

 parties that they controlled to spread their false and deceptive statements about the risks and

 benefits of opioids for the treatment of chronic pain throughout the State and Plaintiff’s

 Community.

            73.      The Manufacturer Defendants employed the same marketing plans and strategies

 and deployed the same messages in and around the State, including in Plaintiff’s Community, as

 they did nationwide. Across the pharmaceutical industry, “core message” development is funded

 and overseen on a national basis by corporate headquarters. This comprehensive approach ensures

 that the Manufacturer Defendants’ messages are accurately and consistently delivered across

 marketing channels – including detailing visits, speaker events, and advertising – and in each sales


 37
      Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.




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 territory. The Manufacturer Defendants consider this high level of coordination and uniformity

 crucial to successfully marketing their drugs.

        74.     The Manufacturer Defendants ensure marketing consistency nationwide through

 national and regional sales representative training; national training of local medical liaisons, the

 company employees who respond to physician inquiries; centralized speaker training; single sets

 of visual aids, speaker slide decks, and sales training materials; and nationally coordinated

 advertising. The Manufacturer Defendants’ sales representatives and physician speakers were

 required to stick to prescribed talking points, sales messages, and slide decks, and supervisors rode

 along with them periodically to check on both their performance and compliance.

                            i. Direct Marketing.

        75.     The Manufacturer Defendants’ direct marketing of opioids generally proceeded on

 two tracks. First, each Manufacturer Defendant conducted and continues to conduct advertising

 campaigns touting the purported benefits of their branded drugs. For example, upon information

 and belief, the Manufacturer Defendants spent more than $14 million on medical journal

 advertising of opioids in 2011, nearly triple what they spent in 2001.

        76.     Many of the Manufacturer Defendants’ branded ads deceptively portrayed the

 benefits of opioids for chronic pain. For example, Endo distributed and made available on its

 website opana.com a pamphlet promoting Opana ER with photographs depicting patients with

 physically demanding jobs like construction worker, chef, and teacher, misleadingly implying that

 the drug would provide long-term pain-relief and functional improvement. Upon information and

 belief, Purdue also ran a series of ads, called “Pain vignettes,” for OxyContin in 2012 in medical

 journals. These ads featured chronic pain patients and recommended OxyContin for each. One ad

 described a “54-year-old writer with osteoarthritis of the hands” and implied that OxyContin would

 help the writer work more effectively.


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         77.     Second, each Manufacturer Defendant promoted the use of opioids for chronic pain

 through “detailers” – sales representatives who visited individual doctors and medical staff in their

 offices – and small-group speaker programs. The Manufacturer Defendants have not corrected this

 misinformation. Instead, each Defendant devoted massive resources to direct sales contacts with

 doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants spent in excess

 of $168 million on detailing branded opioids to doctors, more than twice what they spent on

 detailing in 2000.

         78.     The Manufacturer Defendants’ detailing to doctors is effective. Numerous studies

 indicate that marketing impacts prescribing habits, with face-to-face detailing having the greatest

 influence. Even without such studies, the Manufacturer Defendants purchase, manipulate and

 analyze some of the most sophisticated data available in any industry, data available from IMS

 Health Holdings, Inc., to track, precisely, the rates of initial prescribing and renewal by individual

 doctor, which in turn allows them to target, tailor, and monitor the impact of their core messages.

 Thus, the Manufacturer Defendants know their detailing to doctors is effective.

         79.     The Manufacturer Defendants’ detailers have been reprimanded for their deceptive

 promotions. In March 2010, for example, the FDA found that Actavis had been distributing

 promotional materials that “minimize[] the risks associated with Kadian and misleadingly

 suggest[] that Kadian is safer than has been demonstrated.” Those materials in particular “fail to

 reveal warnings regarding potentially fatal abuse of opioids, use by individuals other than the

 patient for whom the drug was prescribed.”38




 38
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc’ns, U.S. Food & Drug Admin., to
 Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
 http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.



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                           ii. Indirect Marketing.

        80.     The Manufacturer Defendants indirectly marketed their opioids using unbranded

 advertising, paid speakers and “key opinion leaders” (“KOLs”), and industry-funded organizations

 posing as neutral and credible professional societies and patient advocacy groups (referred to

 hereinafter as “Front Groups”).

        81.     The Manufacturer Defendants deceptively marketed opioids in the State and

 Plaintiff’s Community through unbranded advertising — e.g., advertising that promotes opioid use

 generally but does not name a specific opioid. This advertising was ostensibly created and

 disseminated by independent third parties. But by funding, directing, reviewing, editing, and

 distributing this unbranded advertising, the Manufacturer Defendants controlled the deceptive

 messages disseminated by these third parties and acted in concert with them to falsely and

 misleadingly promote opioids for the treatment of chronic pain. Much as Defendants controlled

 the distribution of their “core messages” via their own detailers and speaker programs, the

 Manufacturer Defendants similarly controlled the distribution of these messages in scientific

 publications, treatment guidelines, Continuing Medical Education (“CME”) programs, and

 medical conferences and seminars. To this end, the Manufacturer Defendants used third-party

 public relations firms to help control those messages when they originated from third-parties.

        82.     The Manufacturer Defendants marketed through third-party, unbranded advertising

 to avoid regulatory scrutiny because that advertising is not submitted to and typically is not

 reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded advertising

 to give the false appearance that the deceptive messages came from an independent and objective

 source. Like the tobacco companies, the Manufacturer Defendants used third parties that they

 funded, directed, and controlled to carry out and conceal their scheme to deceive doctors and

 patients about the risks and benefits of long term opioid use for chronic pain.


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        83.     The Manufacturer Defendants also identified doctors to serve, for payment, on their

 speakers’ bureaus and to attend programs with speakers and meals paid for by Defendants. These

 speaker programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they

 might be selected to promote the drug); (2) recognition and compensation for the doctors selected

 as speakers; and (3) an opportunity to promote the drug through the speaker to his or her peers.

 These speakers give the false impression that they are providing unbiased and medically accurate

 presentations when they are, in fact, presenting a script prepared by Defendants. On information

 and belief, these presentations conveyed misleading information, omitted material information,

 and failed to correct Defendants’ prior misrepresentations about the risks and benefits of opioids.

        84.     Borrowing a page from Big Tobacco’s playbook, the Manufacturer Defendants

 worked through third parties they controlled by: (a) funding, assisting, encouraging, and directing

 doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging seemingly

 neutral and credible Front Groups. The Manufacturer Defendants then worked together with those

 KOLs and Front Groups to taint the sources that doctors and patients relied on for ostensibly

 “neutral” guidance, such as treatment guidelines, CME programs, medical conferences and

 seminars, and scientific articles. Thus, working individually and collectively, and through these

 Front Groups and KOLs, the Manufacturer Defendants persuaded doctors and patients that what

 they have long known – that opioids are addictive drugs, unsafe in most circumstances for long-

 term use – was untrue, and that the compassionate treatment of pain required opioids.

        85.     In 2007, multiple states sued Purdue for engaging in unfair and deceptive practices

 in its marketing, promotion, and sale of OxyContin. Certain states settled their claims in a series

 of Consent Judgments that prohibited Purdue from making misrepresentations in the promotion

 and marketing of OxyContin in the future. By using indirect marketing strategies, however,




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 Purdue intentionally circumvented these restrictions. Such actions include contributing to the

 creation of misleading publications and prescribing guidelines which lack reliable scientific basis

 and promote prescribing practices which have worsened the opioid crisis.

        86.      Pro-opioid doctors are one of the most important avenues that the Manufacturer

 Defendants use to spread their false and deceptive statements about the risks and benefits of long-

 term opioid use. The Manufacturer Defendants know that doctors rely heavily and less critically

 on their peers for guidance, and KOLs provide the false appearance of unbiased and reliable

 support for chronic opioid therapy. For example, the State of New York found in its settlement

 with Purdue that the Purdue website “In the Face of Pain” failed to disclose that doctors who

 provided testimonials on the site were paid by Purdue and concluded that Purdue’s failure to

 disclose these financial connections potentially misled consumers regarding the objectivity of the

 testimonials.

        87.      Defendants utilized many KOLs, including many of the same ones.

        88.      Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

 Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom the

 Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

 Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo, Janssen,

 and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr. Portenoy was

 instrumental in opening the door for the regular use of opioids to treat chronic pain. He served on

 the American Pain Society (“APS”) / American Academy of Pain Medicine (“AAPM”) Guidelines

 Committees, which endorsed the use of opioids to treat chronic pain, first in 1996 and again in

 2009. He was also a member of the board of the American Pain Foundation (“APF”), an advocacy

 organization almost entirely funded by the Manufacturer Defendants.




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            89.     Dr. Portenoy also made frequent media appearances promoting opioids and

 spreading misrepresentations, such as his claim that “the likelihood that the treatment of pain using

 an opioid drug which is prescribed by a doctor will lead to addiction is extremely low.” He

 appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

 chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

 claimed: “Addiction, when treating pain, is distinctly uncommon. If a person does not have a

 history, a personal history, of substance abuse, and does not have a history in the family of

 substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

 assured that that person is not going to become addicted.”39

            90.     Dr. Portenoy later admitted that he “gave innumerable lectures in the late 1980s

 and ‘90s about addiction that weren’t true.” These lectures falsely claimed that fewer than 1% of

 patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

 was to “destigmatize” opioids, he and other doctors promoting them overstated their benefits and

 glossed over their risks. Dr. Portenoy also conceded that “[d]ata about the effectiveness of opioids

 does not exist.”40 Portenoy candidly stated: “Did I teach about pain management, specifically about

 opioid therapy, in a way that reflects misinformation? Well. . . . I guess I did.”41

            91.     Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

 of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

 Webster was President of American Academy of Pain Medicine (“AAPM”) in 2013. He is a Senior

 Editor of Pain Medicine, the same journal that published Endo special advertising supplements



 39
      Good Morning America (ABC television broadcast Aug. 30, 2010).
 40
    Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec. 17, 2012,
 https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
 41
      Id.



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 touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo,

 and Purdue. At the same time, Dr. Webster was receiving significant funding from the

 Manufacturer Defendants (including nearly $2 million from Cephalon).

        92.     During a portion of his time as a KOL, Dr. Webster was under investigation for

 overprescribing by the U.S. Department of Justice’s Drug Enforcement Agency, which raided his

 clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

 Dr. Webster’s former patients at the Lifetree Clinic have died of opioid overdoses.

        93.     Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

 one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

 the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

 patients likely to become addicted is an important tool in giving doctors confidence to prescribe

 opioids long-term, and for this reason, references to screening appear in various industry-supported

 guidelines. Versions of Dr. Webster’s Opioid Risk Tool appear on, or are linked to, websites run

 by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

 tool, certain states and public entities have incorporated the Opioid Risk Tool into their own

 guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

 influence and control.

        94.     In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

 entitled “Managing Patient’s Opioid Use: Balancing the Need and the Risk.” Dr. Webster

 recommended use of risk screening tools, urine testing, and patient agreements as a way to prevent




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 “overuse of prescriptions” and “overdose deaths.” This webinar was available to and was intended

 to reach doctors in the State and doctors treating members of Plaintiff’s Community.42

            95.     Dr. Webster also was a leading proponent of the concept of “pseudoaddiction,” the

 notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

 pain. In Dr. Webster’s description, the only way to differentiate the two was to increase a patient’s

 dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

 While Managing Pain—a book that is still available online—when faced with signs of aberrant

 behavior, increasing the dose “in most cases . . . should be the clinician’s first response.” 43 Upon

 information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

 himself, acknowledging that “[pseudoaddiction] obviously became too much of an excuse to give

 patients more medication.”44

            96.     The Manufacturer Defendants also entered into arrangements with seemingly

 unbiased and independent patient and professional organizations to promote opioids for the

 treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

 “Front Groups” generated treatment guidelines, unbranded materials, and programs that favored

 chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

 articles, advocating against regulatory changes that would limit opioid prescribing in accordance

 with the scientific evidence, and conducting outreach to vulnerable patient populations targeted by

 the Manufacturer Defendants.


 42
    See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the Risk,
 http://www.emergingsolutionsinpain.com/ce-education/opioid-
 management?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited Aug. 22, 2017).
 43
      Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
 44
     John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18, 2012,
 http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-networking-dp3p2rn-
 139609053.html.



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         97.     These Front Groups depended on the Manufacturer Defendants for funding and, in

 some cases, for survival. The Manufacturer Defendants also exercised control over programs and

 materials created by these groups by collaborating on, editing, and approving their content, and by

 funding their dissemination. In doing so, the Manufacturer Defendants made sure that the Front

 Groups would generate only the messages that the Manufacturer Defendants wanted to distribute.

 Despite this, the Front Groups held themselves out as independent and serving the needs of their

 members – whether patients suffering from pain or doctors treating those patients.

         98.     Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many Front

 Groups, including many of the same ones. Several of the most prominent are described below, but

 there are many others, including the American Pain Society (“APS”), American Geriatrics Society

 (“AGS”), the Federation of State Medical Boards (“FSMB”), American Chronic Pain Association

 (“ACPA”), the Center for Practical Bioethics (“CPB”), the U.S. Pain Foundation (“USPF”) and

 Pain & Policy Studies Group (“PPSG”).45

         99.     The most prominent of the Manufacturer Defendants’ Front Groups was the

 American Pain Foundation (“APF”), which, upon information and belief, received more than $10

 million in funding from opioid manufacturers from 2007 until it closed its doors in May 2012,

 primarily from Endo and Purdue. APF issued education guides for patients, reporters, and

 policymakers that touted the benefits of opioids for chronic pain and trivialized their risks,

 particularly the risk of addiction. APF also launched a campaign to promote opioids for returning

 veterans, which has contributed to high rates of addiction and other adverse outcomes – including

 death – among returning soldiers. APF also engaged in a significant multimedia campaign –


 45
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas E. Price, U.S.
 Dep’t of Health and Human Servs., (May 5, 2015),
 https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secretary%20Price%20re
 %20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.



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 through radio, television and the internet – to educate patients about their “right” to pain treatment,

 namely opioids. All of the programs and materials were available nationally and were intended to

 reach citizens of the State and Plaintiff’s Community.

           100.   In 2009 and 2010, more than 80% of APF’s operating budget came from

 pharmaceutical industry sources. Including industry grants for specific projects, APF received

 about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

 budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

 income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

 on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line of

 credit.

           101.   APF held itself out as an independent patient advocacy organization. It often

 engaged in grassroots lobbying against various legislative initiatives that might limit opioid

 prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

 called upon to provide “patient representatives” for the Manufacturer Defendants’ promotional

 activities, including for Purdue’s Partners Against Pain and Janssen’s Let’s Talk Pain. APF

 functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

 Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

 was Purdue’s desire to “strategically align its investments in nonprofit organizations that share

 [its] business interests.”

           102.   Plaintiff is informed, and believes, that on several occasions, representatives of the

 Manufacturer Defendants, often at informal meetings at conferences, suggested activities and

 publications for APF to pursue. APF then submitted grant proposals seeking to fund these activities




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 and publications, knowing that drug companies would support projects conceived as a result of

 these communications.

         103.    The U.S. Senate Finance Committee began looking into APF in May 2012 to

 determine the links, financial and otherwise, between the organization and the manufacturers of

 opioid painkillers. The investigation caused considerable damage to APF’s credibility as an

 objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within days

 of being targeted by Senate investigation, APF’s board voted to dissolve the organization “due to

 irreparable economic circumstances.” APF “cease[d] to exist, effective immediately.”46

         104.    Another front group for the Manufacturer Defendants was the American Academy

 of Pain Medicine (“AAPM”). With the assistance, prompting, involvement, and funding of the

 Manufacturer Defendants, the AAPM issued purported treatment guidelines and sponsored and

 hosted medical education programs essential to the Manufacturer Defendants’ deceptive marketing

 of chronic opioid therapy.

         105.    AAPM received substantial funding from opioid manufacturers. For example,

 AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top of

 other funding) to participate. The benefits included allowing members to present educational

 programs at off-site dinner symposia in connection with AAPM’s marquee event – its annual

 meeting held in Palm Springs, California, or other resort locations. AAPM describes the annual

 event as an “exclusive venue” for offering education programs to doctors. Membership in the

 corporate relations council also allows drug company executives and marketing staff to meet with

 AAPM executive committee members in small settings. Defendants Endo, Purdue, and Cephalon



 46
    Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain Groups, Wash. Post,
 May 8, 2012, https://www.washingtonpost.com/national/health-science/senate-panel-investigates-drug-companies-
 ties-to-pain-groups/2012/05/08/gIQA2X4qBU_story.html.



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 were members of the council and presented deceptive programs to doctors who attended this

 annual event.

         106.     Upon information and belief, AAPM is viewed internally by Endo as “industry

 friendly,” with Endo advisors and speakers among its active members. Endo attended AAPM

 conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

 AAPM heavily emphasized sessions on opioids – 37 out of roughly 40 at one conference alone.

 AAPM’s presidents have included top industry-supported KOLs Perry Fine and Lynn Webster.

 Dr. Webster was even elected president of AAPM while under a DEA investigation.

         107.     The Manufacturer Defendants were able to influence AAPM through both their

 significant and regular funding and the leadership of pro-opioid KOLs within the organization.

         108.     In 1996, AAPM and APS jointly issued a consensus statement, “The Use of Opioids

 for the Treatment of Chronic Pain,” which endorsed opioids to treat chronic pain and claimed that

 the risk of a patient’s addiction to opioids was low. Dr. Haddox, who co-authored the AAPM/APS

 statement, was a paid speaker for Purdue at the time. Dr. Portenoy was the sole consultant. The

 consensus statement remained on AAPM’s website until 2011, and, upon information and belief,

 was taken down from AAPM’s website only after a doctor complained.47

         109.     AAPM and APS issued their own guidelines in 2009 (“AAPM/APS Guidelines”)

 and continued to recommend the use of opioids to treat chronic pain.48 Treatment guidelines have

 been relied upon by doctors, especially the general practitioners and family doctors targeted by the

 Manufacturer Defendants. Treatment guidelines not only directly inform doctors’ prescribing



 47
   The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the American Academy of
 Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6 (1997).
 48
   Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-Cancer Pain, 10 J.
 Pain 113 (2009).



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 practices, but are cited throughout the scientific literature and referenced by third-party payors in

 determining whether they should cover treatments for specific indications. Pharmaceutical sales

 representatives employed by Endo, Actavis, and Purdue discussed treatment guidelines with

 doctors during individual sales visits.

            110.   At least fourteen of the 21 panel members who drafted the AAPM/APS Guidelines,

 including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received support from

 Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids as “safe and

 effective” for treating chronic pain, despite acknowledging limited evidence, and conclude that the

 risk of addiction is manageable for patients regardless of past abuse histories.49 One panel member,

 Dr. Joel Saper, Clinical Professor of Neurology at Michigan State University and founder of the

 Michigan Headache & Neurological Institute, resigned from the panel because of his concerns that

 the 2009 Guidelines were influenced by contributions that drug companies, including

 Manufacturer Defendants, made to the sponsoring organizations and committee members. These

 AAPM/APS Guidelines have been a particularly effective channel of deception and have

 influenced not only treating physicians, but also the body of scientific evidence on opioids; the

 Guidelines have been cited hundreds of times in academic literature, were disseminated in the

 State and/or Plaintiff’s Community during the relevant time period, are still available online, and

 were reprinted in the Journal of Pain. The Manufacturer Defendants widely referenced and

 promoted the 2009 Guidelines without disclosing the lack of evidence to support them or the

 Manufacturer Defendants’ financial support to members of the panel.

            111.   The Manufacturer Defendants worked together, through Front Groups, to spread

 their deceptive messages about the risks and benefits of long-term opioid therapy. For example,


 49
      Id.



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 Defendants combined their efforts through the Pain Care Forum (“PCF”), which began in 2004 as

 an APF project. PCF is comprised of representatives from opioid manufacturers (including

 Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

 substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

 ensure that an FDA-mandated education project on opioids was not unacceptably negative and did

 not require mandatory participation by prescribers, which the Manufacturer Defendants

 determined would reduce prescribing.

                       2. The Manufacturer Defendants’ Marketing Scheme Misrepresented
                       the Risks and Benefits of Opioids.

                           i. The Manufacturer Defendants embarked upon a campaign of
                           false, deceptive, and unfair assurances grossly understating and
                           misstating the dangerous addiction risks of the opioid drugs.

        112.    To falsely assure physicians and patients that opioids are safe, the Manufacturer

 Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

 particularly the risk of addiction, through a series of misrepresentations that have been

 conclusively debunked by the FDA and CDC. These misrepresentations – which are described

 below – reinforced each other and created the dangerously misleading impression that: (1) starting

 patients on opioids was low risk because most patients would not become addicted, and because

 those at greatest risk for addiction could be identified and managed; (2) patients who displayed

 signs of addiction probably were not addicted and, in any event, could easily be weaned from the

 drugs; (3) the use of higher opioid doses, which many patients need to sustain pain relief as they

 develop tolerance to the drugs, do not pose special risks; and (4) abuse-deterrent opioids both

 prevent abuse and overdose and are inherently less addictive. The Manufacturer Defendants have

 not only failed to correct these misrepresentations, they continue to make them today.




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         113.    Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

 Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

 them from making many of the misrepresentations identified in this Complaint. Yet even

 afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits of long-

 term opioid use in the State and Plaintiff’s Community, and each continues to fail to correct its

 past misrepresentations.

         114.    Some illustrative examples of the Manufacturer Defendants’ false, deceptive, and

 unfair claims about the purportedly low risk of addiction include:

             a. Actavis’s predecessor caused a patient education brochure, Managing Chronic

                 Back Pain, to be distributed beginning in 2003 that admitted that opioid addiction

                 is possible, but falsely claimed that it is “less likely if you have never had an

                 addiction problem.” Based on Actavis’s acquisition of its predecessor’s marketing

                 materials along with the rights to Kadian, it appears that Actavis continued to use

                 this brochure in 2009 and beyond.

             b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People

                 Living with Pain (2007), which suggested that addiction is rare and limited to

                 extreme cases of unauthorized dose escalations, obtaining duplicative opioid

                 prescriptions from multiple sources, or theft. This publication is still available

                 online.50

             c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,

                 claimed in 2009 that “[p]eople who take opioids as prescribed usually do not




 50
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter APF, Treatment
 Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.



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                 become addicted.” Upon information and belief, another Endo website,

                 PainAction.com, stated “Did you know? Most chronic pain patients do not become

                 addicted to the opioid medications that are prescribed for them.” Endo also

                 distributed an “Informed Consent” document on PainAction.com that misleadingly

                 suggested that only people who “have problems with substance abuse and

                 addiction” are likely to become addicted to opioid medications.

             d. Upon information and belief, Endo distributed a pamphlet with the Endo logo

                 entitled Living with Someone with Chronic Pain, which stated that: “Most health

                 care providers who treat people with pain agree that most people do not develop an

                 addiction problem.”

             e. Janssen reviewed, edited, approved, and distributed a patient education guide

                 entitled Finding Relief: Pain Management for Older Adults (2009), which

                 described as “myth” the claim that opioids are addictive, and asserted as fact that

                 “[m]any studies show that opioids are rarely addictive when used properly for the

                 management of chronic pain.”

             f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July 2,

                 2015), which claims that concerns about opioid addiction are “overestimated.”

             g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its

                 Management, which claims that less than 1% of children prescribed opioids will

                 become addicted and that pain is undertreated due to “[m]isconceptions about

                 opioid addiction.”51




 51
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011) [hereinafter APF,
 Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.



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                  h. Consistent with the Manufacturer Defendants’ published marketing materials, upon

                      information and belief, detailers for Purdue, Endo, Janssen, and Cephalon in the

                      State and Plaintiff’s Community minimized or omitted any discussion with doctors

                      of the risk of addiction; misrepresented the potential for abuse of opioids with

                      purportedly abuse-deterrent formulations; and routinely did not correct the

                      misrepresentations noted above.

                  i. Seeking to overturn the criminal conviction of a doctor for illegally prescribing

                      opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an

                      amicus brief to the United States Fourth Circuit Court of Appeals that “patients

                      rarely become addicted to prescribed opioids,” citing research by their KOL, Dr.

                      Portenoy.52

             115.     These claims are contrary to longstanding scientific evidence. A 2016 opioid-

 prescription guideline issued by the CDC (the “2016 CDC Guideline”) explains that there is

 “[e]xtensive evidence” of the “possible harms of opioids (including opioid use disorder [an

 alternative term for opioid addiction], [and] overdose . . .).”53 The 2016 CDC Guideline further

 explains that “[o]pioid pain medication use presents serious risks, including overdose and opioid

 use disorder” and that “continuing opioid therapy for 3 months substantially increases risk for

 opioid use disorder.”54




 52
    Brief of the American Pain Foundation, the National Pain Foundation, and the National Foundation for the
 Treatment of Pain in Support of Appellant and Reversal of the Conviction, United States v. Hurowitz, No. 05-4474
 (4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
 53
    Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
 & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
 https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
 54
      Id. at 2, 25.



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         116.     The FDA further exposed the falsity of Defendants’ claims about the low risk of

 addiction when it announced changes to the labels for extended-release and long-acting (“ER/LA”)

 opioids in 2013 and for immediate release (“IR”) opioids in 2016. In its announcements, the FDA

 found that “most opioid drugs have ‘high potential for abuse’” and that opioids “are associated

 with a substantial risk of misuse, abuse, NOWS [neonatal opioid withdrawal syndrome], addiction,

 overdose, and death.” According to the FDA, because of the “known serious risks” associated with

 long-term opioid use, including “risks of addiction, abuse, and misuse, even at recommended

 doses, and because of the greater risks of overdose and death,” opioids should be used only “in

 patients for whom alternative treatment options” like non-opioid drugs have failed.55

         117.     The State of New York, in a 2016 settlement agreement with Endo, found that

 opioid “use disorders appear to be highly prevalent in chronic pain patients treated with opioids,

 with up to 40% of chronic pain patients treated in specialty and primary care outpatient centers

 meeting the clinical criteria for an opioid use disorder.”56 Endo had claimed on its www.opana.com

 website that “[m]ost healthcare providers who treat patients with pain agree that patients treated

 with prolonged opioid medicines usually do not become addicted,” but the State of New York

 found that Endo had no evidence for that statement. Consistent with this, Endo agreed not to “make

 statements that . . . opioids generally are non-addictive” or “that most patients who take opioids




 55
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S.
 Dep’t of Health and Human Servs., to Andrew Koldny, M.D., President, Physicians for Responsible Opioid
 Prescribing (Sept. 10, 2013), https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
 0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation
 and Research, U.S. Food and Drug Admin., U.S. Dep’t of Health and Human Servs., to Peter R. Mathers & Jennifer
 A.       Davidson,      Kleinfeld,      Kaplan       and       Becker,      LLP        (Mar.     22,     2016),
 https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
 0006&attachmentNumber=1&contentType=pdf.
 56
   Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc. (Assurance No. 15-228), at
 16, https://ag.ny.gov/pdfs/Endo_AOD_030116-Fully_Executed.pdf.



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 do not become addicted” in New York. Endo remains free, however, to make those statements in

 this State.

            118.     In addition to mischaracterizing the highly addictive nature of the drugs they were

 pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

 of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

 that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain (i.e.

 pseudoaddiction) – and instructed doctors to increase the opioid prescription dose for patients who

 were already in danger.

            119.     To this end, one of Purdue’s employees, Dr. David Haddox, invented a

 phenomenon called “pseudoaddiction.” KOL Dr. Portenoy popularized the term. Examples of the

 false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

                a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007), which

                     taught that behaviors such as “requesting drugs by name,” “demanding or

                     manipulative behavior,” seeing more than one doctor to obtain opioids, and

                     hoarding, are all signs of pseudoaddiction, rather than true addiction. 57 The 2012

                     edition, which remains available for sale online, continues to teach that

                     pseudoaddiction is real.58

                b. Janssen sponsored, funded, and edited the Let’s Talk Pain website, which in 2009

                     stated: “pseudoaddiction . . . refers to patient behaviors that may occur when pain

                     is under-treated . . . . Pseudoaddiction is different from true addiction because such

                     behaviors can be resolved with effective pain management.”



 57
      Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
 58
      See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed. 2012).



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             c. Endo sponsored a National Initiative on Pain Control (“NIPC”) CME program in

                2009 entitled “Chronic Opioid Therapy: Understanding Risk While Maximizing

                Analgesia,” which, upon information and belief, promoted pseudoaddiction by

                teaching that a patient’s aberrant behavior was the result of untreated pain. Endo

                appears to have substantially controlled NIPC by funding NIPC projects;

                developing, specifying, and reviewing content; and distributing NIPC materials.

             d. Purdue published a pamphlet in 2011 entitled Providing Relief, Preventing Abuse,

                which, upon information and belief, described pseudoaddiction as a concept that

                “emerged in the literature” to describe the inaccurate interpretation of [drug-

                seeking behaviors] in patients who have pain that has not been effectively treated.”

             e. Upon information and belief, Purdue sponsored a CME program titled “Path of the

                Patient, Managing Chronic Pain in Younger Adults at Risk for Abuse”. In a role

                play, a chronic pain patient with a history of drug abuse tells his doctor that he is

                taking twice as many hydrocodone pills as directed. The narrator notes that because

                of pseudoaddiction, the doctor should not assume the patient is addicted even if he

                persistently asks for a specific drug, seems desperate, hoards medicine, or

                “overindulges in unapproved escalating doses.” The doctor treats this patient by

                prescribing a high-dose, long-acting opioid.

         120.   In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

 fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already addicted

 patients.

         121.   In addition to misstating the addiction risk and inventing the pseudoaddiction

 falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer Defendants’




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 false instructions that addiction risk screening tools, patient contracts, urine drug screens, and

 similar strategies allow doctors to reliably identify and safely prescribe opioids to patients

 predisposed to addiction. These misrepresentations were especially insidious because the

 Manufacturer Defendants aimed them at general practitioners and family doctors who lack the

 time and expertise to closely manage higher-risk patients on opioids. The Manufacturer

 Defendants’ misrepresentations made these doctors feel more comfortable prescribing opioids to

 their patients, and patients more comfortable starting on opioid therapy for chronic pain.

 Illustrative examples include:

            a. Endo paid for a 2007 supplement in the Journal of Family Practice written by a

                doctor who became a member of Endo’s speakers’ bureau in 2010. The supplement,

                entitled Pain Management Dilemmas in Primary Care: Use of Opioids, emphasized

                the effectiveness of screening tools, claiming that patients at high risk of addiction

                could safely receive chronic opioid therapy using a “maximally structured

                approach” involving toxicology screens and pill counts.

            b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing

                Patient’s Opioid Use: Balancing the Need and Risk, which claimed that screening

                tools, urine tests, and patient agreements prevent “overuse of prescriptions” and

                “overdose deaths.”

            c. As recently as 2015, upon information and belief, Purdue has represented in

                scientific conferences that “bad apple” patients – and not opioids – are the source

                of the addiction crisis and that once those “bad apples” are identified, doctors can

                safely prescribe opioids without causing addiction.




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             122.   The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

 explains that there are no studies assessing the effectiveness of risk mitigation strategies “for

 improving outcomes related to overdose, addiction, abuse or misuse.”59

             123.   A fourth category of deceptive messaging regarding dangerous opioids is the

 Manufacturer Defendants’ false assurances regarding the alleged ease of eliminating opioid

 dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily be

 addressed by tapering and that opioid withdrawal is not a problem, but they failed to disclose the

 increased difficulty of stopping opioids after long-term use. In truth, the 2016 CDC Guideline

 explains that the symptoms of opioid withdrawal include abdominal pain, vomiting, diarrhea,

 sweating, tremor, tachycardia, drug cravings, anxiety, insomnia, spontaneous abortion and

 premature labor in pregnant women.60

             124.   The Manufacturer Defendants nonetheless downplayed the severity of opioid

 detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

 Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by tapering

 a patient’s opioid dose by 10%-20% for 10 days. And Purdue sponsored APF’s A Policymaker’s

 Guide to Understanding Pain & Its Management, which claimed that “[s]ymptoms of physical

 dependence can often be ameliorated by gradually decreasing the dose of medication during

 discontinuation” without mentioning any hardships that might occur.61

             125.   A fifth category of false, deceptive, and unfair statements the Manufacturer

 Defendants made to sell more drugs is that opioid dosages could be increased indefinitely without



 59
      Id. at 11.
 60
      Id. at 26.
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011), at 32 [hereinafter
 61

 APF, Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.



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 added risk. The ability to escalate dosages was critical to Defendants’ efforts to market opioids for

 long-term use to treat chronic pain because, absent this misrepresentation, doctors would have

 abandoned treatment when patients built up tolerance and lower dosages did not provide pain

 relief. The Manufacturer Defendants’ deceptive claims include:

             a. Upon information and belief, Actavis’s predecessor created a patient brochure for
                Kadian in 2007 that stated, “Over time, your body may become tolerant of your
                current dose. You may require a dose adjustment to get the right amount of pain
                relief. This is not addiction.” Based on Actavis’s acquisition of its predecessor’s
                marketing materials along with the rights to Kadian, Actavis appears to have
                continued to use these materials in 2009 and beyond.

             b. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People
                Living with Pain (2007), which claims that some patients “need” a larger dose of
                an opioid, regardless of the dose currently prescribed. The guide stated that opioids
                have “no ceiling dose” and insinuated that they are therefore the most appropriate
                treatment for severe pain.62 This publication is still available online.

             c. Endo sponsored a website, “PainKnowledge,” which, upon information and belief,
                claimed in 2009 that opioid dosages may be increased until “you are on the right
                dose of medication for your pain.”

             d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your Pain:
                Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-0120). In Q&A
                format, it asked “If I take the opioid now, will it work later when I really need it?”
                The response is, “The dose can be increased. . . . You won’t ‘run out’ of pain
                relief.”63

             e. Janssen sponsored a patient education guide entitled Finding Relief: Pain
                Management for Older Adults (2009), which was distributed by its sales force. This
                guide listed dosage limitations as “disadvantages” of other pain medicines but
                omitted any discussion of risks of increased opioid dosages.

             f. Upon information and belief, Purdue’s In the Face of Pain website promoted the
                notion that if a patient’s doctor does not prescribe what, in the patient’s view, is a
                sufficient dosage of opioids, he or she should find another doctor who will.



 62
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007), at 12 [hereinafter APF, Treatment
 Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.
 63
   Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral Opioid Analgesics
 (Russell K Portenoy, M.D., ed., 2004).



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                   g. Purdue sponsored APF’s A Policymaker’s Guide to Understanding Pain & Its
                      Management, which taught that dosage escalations are “sometimes necessary,” and
                      that “the need for higher doses of medication is not necessarily indicative of
                      addiction,” but inaccurately downplayed the risks from high opioid dosages.64

                   h. In 2007, Purdue sponsored a CME entitled “Overview of Management Options”
                      that was available for CME credit and available until at least 2012. The CME was
                      edited by a KOL and taught that NSAIDs and other drugs, but not opioids, are
                      unsafe at high dosages.

                   i. Purdue presented a 2015 paper at the College on the Problems of Drug Dependence,
                      “the oldest and largest organization in the US dedicated to advancing a scientific
                      approach to substance use and addictive disorders,” challenging the correlation
                      between opioid dosage and overdose.65

                   j. Seeking to overturn the criminal conviction of a doctor for illegally prescribing
                      opioids, the Manufacturer Defendants’ Front Groups APF and NFP argued in an
                      amicus brief to the United States Fourth Circuit Court of Appeals that “there is no
                      ‘ceiling dose’” for opioids.66


             126.     Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants’

 representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

 clarifies that the “[b]enefits of high-dose opioids for chronic pain are not established” while the

 “risks for serious harms related to opioid therapy increase at higher opioid dosage.” 67 More

 specifically, the CDC explains that “there is now an established body of scientific evidence

 showing that overdose risk is increased at higher opioid dosages.”68 The CDC also states that there

 is an increased risk “for opioid use disorder, respiratory depression, and death at higher dosages.”69


  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011), at 32 [hereinafter
 64

 APF, Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.
 65
      The College on Problems of Drug Dependence, About the College, http://cpdd.org (last visited Aug. 21, 2017).
 66
      Brief of APF, supra note 49, at 9.
 67
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
 & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016 CDC Guideline],
 https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
 68
      Id. at 23–24.
 69
      Id. at 21.



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 That is why the CDC advises doctors to “avoid increasing dosage” to above 90 morphine milligram

 equivalents per day.70

             127.      Defendants’ deceptive marketing of the so-called abuse-deterrent properties of

 some of their opioids has created false impressions that these opioids can cure addiction and abuse.

             128.      The Manufacturer Defendants made misleading claims about the ability of their so-

 called abuse-deterrent opioid formulations to deter abuse. For example, Endo’s advertisements for

 the 2012 reformulation of Opana ER claimed that it was designed to be crush resistant, in a way

 that suggested it was more difficult to abuse. This claim was false. The FDA warned in a 2013

 letter that Opana ER Extended-Release Tablets’ “extended-release features can be compromised,

 causing the medication to ‘dose dump,’ when subject to . . . forms of manipulation such as cutting,

 grinding, or chewing, followed by swallowing.”71 Also troubling, Opana ER can be prepared for

 snorting using commonly available methods and “readily prepared for injection.” 72 The letter

 discussed “the troubling possibility that a higher (and rising) percentage of [Opana ER Extended-

 Release Tablet] abuse is occurring via injection.”73 Endo’s own studies, which it failed to disclose,

 showed that Opana ER could still be ground and chewed. In June 2017, the FDA requested that

 Opana ER be removed from the market.




 70
      Id. at 16.
 71
    Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S.
 Dep’t of Health and Human Servs., to Robert Barto, Vice President, Reg. Affairs, Endo Pharm. Inc. (May 10, 2013),
 at 5.
 72
      Id. at 6.
 73
      Id. at 6 n.21.



                                                        46
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                                 ii. The Manufacturer Defendants embarked upon a campaign of
                                 false, deceptive, and unfair assurances grossly overstating the
                                 benefits of the opioid drugs.

             129.     To convince doctors and patients that opioids should be used to treat chronic pain,

 the Manufacturer Defendants also had to persuade them that there was a significant upside to long-

 term opioid use. But as the CDC Guideline makes clear, “[n]o evidence shows a long-term benefit

 of opioids in pain and function versus no opioids for chronic pain with outcomes examined at least

 1 year later (with most placebo-controlled randomized trials ≤ 6 weeks in duration)” and that other

 treatments were more or equally beneficial and less harmful than long-term opioid use.74 The FDA,

 too, has recognized the lack of evidence to support long-term opioid use. Despite this, Defendants

 falsely and misleadingly touted the benefits of long-term opioid use and falsely and misleadingly

 suggested that these benefits were supported by scientific evidence.

             130.     Some illustrative examples of the Manufacturer Defendants’ false claims are:

                   a. Upon information and belief, Actavis distributed an advertisement claiming that the

                      use of Kadian to treat chronic pain would allow patients to return to work, relieve

                      “stress on your body and your mental health,” and help patients enjoy their lives.

                   b. Endo distributed advertisements that claimed that the use of Opana ER for chronic

                      pain would allow patients to perform demanding tasks like construction work or

                      work as a chef and portrayed seemingly healthy, unimpaired subjects.

                   c. Janssen sponsored and edited a patient education guide entitled Finding Relief:

                      Pain Management for Older Adults (2009) – which states as “a fact” that “opioids

                      may make it easier for people to live normally.” The guide lists expected functional




 74
      Id. at 15.



                                                       47
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                  improvements from opioid use, including sleeping through the night, returning to

                  work, recreation, sex, walking, and climbing stairs.

             d. Janssen promoted Ultracet for everyday chronic pain and distributed posters, for

                  display in doctors’ offices, of presumed patients in active professions; the caption

                  read, “Pain doesn’t fit into their schedules.”

             e. Upon information and belief, Purdue ran a series of advertisements for OxyContin

                  in 2012 in medical journals entitled “Pain vignettes,” which were case studies

                  featuring patients with pain conditions persisting over several months and

                  recommending OxyContin for them. The ads implied that OxyContin improves

                  patients’ function.

             f. Responsible Opioid Prescribing (2007), sponsored and distributed by Cephalon,

                  Endo and Purdue, taught that relief of pain by opioids, by itself, improved patients’

                  function.

             g. Cephalon and Purdue sponsored APF’s Treatment Options: A Guide for People

                  Living with Pain (2007), which counseled patients that opioids “give [pain patients]

                  a quality of life we deserve.”75 This publication is still available online.

             h. Endo’s NIPC website “PainKnowledge” claimed in 2009, upon information and

                  belief, that with opioids, “your level of function should improve; you may find you

                  are now able to participate in activities of daily living, such as work and hobbies,

                  that you were not able to enjoy when your pain was worse.” Elsewhere, the website

                  touted improved quality of life (as well as “improved function”) as benefits of


 75
  Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007), at 12 [hereinafter APF, Treatment
 Options], https://assets.documentcloud.org/documents/277605/apf-treatmentoptions.pdf.




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                 opioid therapy. The grant request that Endo approved for this project specifically

                 indicated NIPC’s intent to make misleading claims about function, and Endo

                 closely tracked visits to the site.

             i. Endo was the sole sponsor, through NIPC, of a series of CMEs entitled “Persistent

                 Pain in the Older Patient.”76 Upon information and belief, a CME disseminated via

                 webcast claimed that chronic opioid therapy has been “shown to reduce pain and

                 improve depressive symptoms and cognitive functioning.”

             j. Janssen sponsored and funded a multimedia patient education campaign called

                 “Let’s Talk Pain.” One feature of the campaign was to complain that patients were

                 under-treated. In 2009, upon information and belief, a Janssen-sponsored website,

                 part of the “Let’s Talk Pain” campaign, featured an interview edited by Janssen

                 claiming that opioids allowed a patient to “continue to function.”

             k. Purdue sponsored the development and distribution of APF’s A Policymaker’s

                 Guide to Understanding Pain & Its Management, which claimed that “[m]ultiple

                 clinical studies” have shown that opioids are effective in improving “[d]aily

                 function,” “[p]sychological health,” and “[o]verall health-related quality of life for

                 chronic pain.”77 The Policymaker’s Guide was originally published in 2011.

             l. Purdue’s, Cephalon’s, Endo’s, and Janssen’s sales representatives have conveyed

                 and continue to convey the message that opioids will improve patient function.




 76
          E.g.,    NIPC,       Persistent     Pain       and      the     Older           Patient      (2007),
 https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.
  Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6 (2011), at 29 [hereinafter
 77

 APF, Policymaker’s Guide], http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.



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            131.    As the FDA and other agencies have made clear for years, these claims have no

 support in the scientific literature.

            132.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian described

 above, that “we are not aware of substantial evidence or substantial clinical experience

 demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating pain, taken

 together with any drug-related side effects patients may experience . . . results in any overall

 positive impact on a patient’s work, physical and mental functioning, daily activities, or enjoyment

 of life.”78 And in 2008, upon information and belief, the FDA sent a warning letter to an opioid

 manufacturer, making it clear “that [the claim that] patients who are treated with the drug

 experience an improvement in their overall function, social function, and ability to perform daily

 activities . . . has not been demonstrated by substantial evidence or substantial clinical experience.”

            133.    The Manufacturer Defendants also falsely and misleadingly emphasized or

 exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

 look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by the

 Manufacturer Defendants contravene pronouncements by and guidance from the FDA and CDC

 based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids in 2013

 and IR opioids in 2016 to state that opioids should only be used as a last resort “in patients for

 which alternative treatment options” like non-opioid drugs “are inadequate.” And the 2016 CDC

 Guideline states that NSAIDs, not opioids, should be the first-line treatment for chronic pain,

 particularly arthritis and lower back pain.79



 78
      Letter from Thomas Abrams to Doug Boothe, supra note 32.
 79
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
 & Mortality Wkly. Rep., Mar. 18, 2016, at 12 [hereinafter 2016 CDC Guideline],
 https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.



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        134.    Purdue misleadingly promoted OxyContin as being unique among opioids in

 providing 12 continuous hours of pain relief with one dose. In fact, OxyContin does not last for 12

 hours – a fact that Purdue has known at all times relevant to this action. Upon information and

 belief, Purdue’s own research shows that OxyContin wears off in under six hours in one quarter

 of patients and in under 10 hours in more than half. This is because OxyContin tablets release

 approximately 40% of their active medicine immediately, after which release tapers. This triggers

 a powerful initial response, but provides little or no pain relief at the end of the dosing period,

 when less medicine is released. This phenomenon is known as “end of dose” failure, and the FDA

 found in 2008 that a “substantial proportion” of chronic pain patients taking OxyContin experience

 it. This not only renders Purdue’s promise of 12 hours of relief false and deceptive, it also makes

 OxyContin more dangerous because the declining pain relief patients experience toward the end

 of each dosing period drives them to take more OxyContin before the next dosing period begins,

 quickly increasing the amount of drug they are taking and spurring growing dependence.

        135.    Purdue’s competitors were aware of this problem. For example, upon information

 and belief, Endo ran advertisements for Opana ER referring to “real” 12-hour dosing.

 Nevertheless, Purdue falsely promoted OxyContin as if it were effective for a full 12 hours. Upon

 information and belief, Purdue’s sales representatives continue to tell doctors that OxyContin lasts

 a full 12 hours.

        136.    Front Groups supported by Purdue likewise echoed these representations. For

 example, in an amicus brief submitted to the Supreme Court of Ohio by the American Pain

 Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain Initiative in

 support of Purdue, those amici represented:

        OxyContin is particularly useful for sustained long-term pain because it comes in
        higher, compact pills with a slow release coating. OxyContin pills can work for 12



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            hours. This makes it easier for patients to comply with dosing requirements without
            experiencing a roller-coaster of pain relief followed quickly by pain renewal that
            can occur with shorter acting medications. It also helps the patient sleep through
            the night, which is often impossible with short-acting medications. For many of
            those serviced by Pain Care Amici, OxyContin has been a miracle medication.80

            137.   Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain even

 though the FDA has expressly limited their use to the treatment of cancer pain in opioid-tolerant

 individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR opioids. Neither is

 approved for or has been shown to be safe or effective for the treatment of chronic pain. Indeed,

 the FDA expressly prohibited Cephalon from marketing Actiq for anything but cancer pain, and

 refused to approve Fentora for the treatment of chronic pain because of the potential harm,

 including the high risk of “serious and life-threatening adverse events” and abuse – which are

 greatest in non-cancer patients. The FDA also issued a Public Health Advisory in 2007

 emphasizing that Fentora should only be used for cancer patients who are opioid-tolerant and

 should not be used for any other conditions, such as migraines, post-operative pain, or pain due to

 injury.81 Specifically, the FDA advised that Fentora “is only approved for breakthrough cancer

 pain in patients who are opioid-tolerant, meaning those patients who take a regular, daily, around-

 the-clock narcotic pain medication.”82

            138.   Despite this, Cephalon conducted and continues to conduct a well-funded campaign

 to promote Actiq and Fentora for chronic pain and other non-cancer conditions for which it was

 not approved, is not appropriate, and for which it is not safe. As part of this campaign, Cephalon


 80
    Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for the Treatment of
 Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue Pharma L.P., No. 2003-1538 (Ohio Apr.
 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
 81
   See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe Use of Fentora (fentanyl
 buccal                    tablets)                     (Sept.                     26,                       2007),
 https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProviders/ucm051273.htm.
 82
      Id.



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 used CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales

 representatives to give doctors the false impression that Actiq and Fentora are safe and effective

 for treating non-cancer pain. For example:

        a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of Persistent
           and Breakthrough Pain, published in a supplement of Pain Medicine News in 2009.
           The CME instructed doctors that “[c]linically, broad classification of pain syndromes
           as either cancer- or non-cancer-related has limited utility” and recommended Actiq and
           Fentora for patients with chronic pain.

        b. Upon information and belief, Cephalon’s sales representatives set up hundreds of
           speaker programs for doctors, including many non-oncologists, which promoted Actiq
           and Fentora for the treatment of non-cancer pain.

        c. In December 2011, Cephalon widely disseminated a journal supplement entitled
           “Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl
           Buccal Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)” to
           Anesthesiology News, Clinical Oncology News, and Pain Medicine News – three
           publications that are sent to thousands of anesthesiologists and other medical
           professionals. The Special Report openly promotes Fentora for “multiple causes of
           pain” – and not just cancer pain.

        139.    Cephalon’s deceptive marketing gave doctors and patients the false impression that

 Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

 approved by the FDA for such uses.

        140.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

 prescribing of its drugs, despite knowing about it for years. Purdue’s sales representatives have

 maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.

 Rather than report these doctors to state medical boards or law enforcement authorities (as Purdue

 is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate the high

 rate of diversion of OxyContin – the same OxyContin that Purdue had promoted as less addictive

 – in order to persuade the FDA to bar the manufacture and sale of generic copies of the drug

 because the drug was too likely to be abused. In an interview with the Los Angeles Times, Purdue’s


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 senior compliance officer acknowledged that in five years of investigating suspicious pharmacies,

 Purdue failed to take action – even where Purdue employees personally witnessed the diversion of

 its drugs. The same was true of prescribers; despite its knowledge of illegal prescribing, Purdue

 did not report that a Los Angeles clinic prescribed more than 1.1 million OxyContin tablets and

 that Purdue’s district manager described it internally as “an organized drug ring” until years after

 law enforcement shut it down. In doing so, Purdue protected its own profits at the expense of

 public health and safety.83

         141.     Like Purdue, Endo has been cited for its failure to set up an effective system for

 identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the State

 of New York found that Endo failed to require sales representatives to report signs of abuse,

 diversion, and inappropriate prescribing; paid bonuses to sales representatives for detailing

 prescribers who were subsequently arrested or convicted for illegal prescribing; and failed to

 prevent sales representatives from visiting prescribers whose suspicious conduct had caused them

 to be placed on a no-call list.

                          3. The Manufacturer Defendants Targeted Susceptible Prescribers
                          and Vulnerable Patient Populations.

         142.     As a part of their deceptive marketing scheme, the Manufacturer Defendants

 identified and targeted susceptible prescribers and vulnerable patient populations in the U.S.,

 including this State and Plaintiff’s Community. For example, the Manufacturer Defendants

 focused their deceptive marketing on primary care doctors, who were more likely to treat chronic

 pain patients and prescribe them drugs, but were less likely to be educated about treating pain and




 83
   Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals and Addicts. What
 the Drugmaker Knew, L.A. Times, July 10, 2016, http://www.latimes.com/projects/la-me-oxycontin-part2/.



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 the risks and benefits of opioids and therefore more likely to accept the Manufacturer Defendants’

 misrepresentations.

         143.    The Manufacturer Defendants also targeted vulnerable patient populations like the

 elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants targeted

 these vulnerable patients even though the risks of long-term opioid use are significantly greater for

 them. For example, the 2016 CDC Guideline observes that existing evidence confirms that elderly

 patients taking opioids suffer from elevated fall and fracture risks, reduced renal function and

 medication clearance, and a smaller window between safe and unsafe dosages. 84 The 2016 CDC

 Guideline concludes that there must be “additional caution and increased monitoring” to minimize

 the risks of opioid use in elderly patients. Id. at 27. The same is true for veterans, who are more

 likely to use anti-anxiety drugs (benzodiazepines) for post-traumatic stress disorder, which interact

 dangerously with opioids.

                          4. The Manufacturer Defendants made Materially Deceptive
                          Statements and Concealed Material Facts.

         144.     As alleged herein, the Manufacturer Defendants made and/or disseminated

 deceptive statements regarding material facts and further concealed material facts, in the course of

 manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants’ actions

 were intentional and/or unlawful. Such statements include, but are not limited to, those set out

 below and alleged throughout this Complaint.

         145.     Defendant Purdue made and/or disseminated deceptive statements, and concealed

 material facts in such a way to make their statements deceptive, including, but not limited to, the

 following:


 84
   Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United States, 2016, Morbidity
 & Mortality Wkly. Rep., Mar. 18, 2016, at 13 [hereinafter 2016 CDC Guideline],
 https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.



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          a. Creating, sponsoring, and assisting in the distribution of patient education materials
             distributed to consumers that contained deceptive statements;

          b. Creating and disseminating advertisements that contained deceptive statements
             concerning the ability of opioids to improve function long-term and concerning the
             evidence supporting the efficacy of opioids long-term for the treatment of chronic
             non-cancer pain;

          c. Disseminating misleading statements concealing the true risk of addiction and
             promoting the deceptive concept of pseudoaddiction through Purdue’s own
             unbranded publications and on internet sites Purdue operated that were marketed to
             and accessible by consumers;

          d. Distributing brochures to doctors, patients, and law enforcement officials that
             included deceptive statements concerning the indicators of possible opioid abuse;

          e. Sponsoring, directly distributing, and assisting in the distribution of publications
             that promoted the deceptive concept of pseudoaddiction, even for high-risk
             patients;

          f. Endorsing, directly distributing, and assisting in the distribution of publications that
             presented an unbalanced treatment of the long-term and dose-dependent risks of
             opioids versus NSAIDs;

          g. Providing significant financial support to pro-opioid KOL doctors who made
             deceptive statements concerning the use of opioids to treat chronic non-cancer pain;

          h. Providing needed financial support to pro-opioid pain organizations that made
             deceptive statements, including in patient education materials, concerning the use
             of opioids to treat chronic non-cancer pain;

          i. Assisting in the distribution of guidelines that contained deceptive statements
             concerning the use of opioids to treat chronic non-cancer pain and misrepresented
             the risks of opioid addiction;

          j. Endorsing and assisting in the distribution of CMEs containing deceptive
             statements concerning the use of opioids to treat chronic non-cancer pain;

          k. Developing and disseminating scientific studies that misleadingly concluded
             opioids are safe and effective for the long-term treatment of chronic non-cancer
             pain and that opioids improve quality of life, while concealing contrary data;

          l. Assisting in the dissemination of literature written by pro-opioid KOLs that
             contained deceptive statements concerning the use of opioids to treat chronic non-
             cancer pain;


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              m. Creating, endorsing, and supporting the distribution of patient and prescriber
                 education materials that misrepresented the data regarding the safety and efficacy
                 of opioids for the long-term treatment of chronic non-cancer pain, including known
                 rates of abuse and addiction and the lack of validation for long-term efficacy;

              n. Targeting veterans by sponsoring and disseminating patient education marketing
                 materials that contained deceptive statements concerning the use of opioids to treat
                 chronic non-cancer pain;

         o. Targeting the elderly by assisting in the distribution of guidelines that contained
            deceptive statements concerning the use of opioids to treat chronic non-cancer pain
            and misrepresented the risks of opioid addiction in this population;

         p. Exclusively disseminating misleading statements in education materials to hospital
            doctors and staff while purportedly educating them on new pain standards;

         q. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
            pain to prescribers through in-person detailing; and

         r. Withholding from law enforcement the names of prescribers Purdue believed to be
            facilitating the diversion of its opioids, while simultaneously marketing opioids to
            these doctors by disseminating patient and prescriber education materials and
            advertisements and CMEs they knew would reach these same prescribers.

        146.     Defendant Endo made and/or disseminated deceptive statements, and concealed

 material facts in such a way to make their statements deceptive, including, but not limited to, the

 following:

        a. Creating, sponsoring, and assisting in the distribution of patient education materials
           that contained deceptive statements;

        b. Creating and disseminating advertisements that contained deceptive statements
           concerning the ability of opioids to improve function long-term and concerning the
           evidence supporting the efficacy of opioids long-term for the treatment of chronic non-
           cancer pain;

        c. Creating and disseminating paid advertisement supplements in academic journals
           promoting chronic opioid therapy as safe and effective for long term use for high risk
           patients;

        d. Creating and disseminating advertisements that falsely and inaccurately conveyed the
           impression that Endo’s opioids would provide a reduction in oral, intranasal, or
           intravenous abuse;


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        e. Disseminating misleading statements concealing the true risk of addiction and
           promoting the misleading concept of pseudoaddiction through Endo’s own unbranded
           publications and on internet sites Endo sponsored or operated;

        f. Endorsing, directly distributing, and assisting in the distribution of publications that
           presented an unbalanced treatment of the long-term and dose-dependent risks of
           opioids versus NSAIDs;

        g. Providing significant financial support to pro-opioid KOLs, who made deceptive
           statements concerning the use of opioids to treat chronic non-cancer pain;

        h. Providing needed financial support to pro-opioid pain organizations – including over
           $5 million to the organization responsible for many of the most egregious
           misrepresentations – that made deceptive statements, including in patient education
           materials, concerning the use of opioids to treat chronic non-cancer pain;

        i. Targeting the elderly by assisting in the distribution of guidelines that contained
           deceptive statements concerning the use of opioids to treat chronic non-cancer pain and
           misrepresented the risks of opioid addiction in this population;

        j. Endorsing and assisting in the distribution of CMEs containing deceptive statements
           concerning the use of opioids to treat chronic non-cancer pain;

        k. Developing and disseminating scientific studies that deceptively concluded opioids are
           safe and effective for the long-term treatment of chronic non-cancer pain and that
           opioids improve quality of life, while concealing contrary data;

        l. Directly distributing and assisting in the dissemination of literature written by pro-
           opioid KOLs that contained deceptive statements concerning the use of opioids to treat
           chronic non-cancer pain, including the concept of pseudoaddiction;

        m. Creating, endorsing, and supporting the distribution of patient and prescriber education
           materials that misrepresented the data regarding the safety and efficacy of opioids for
           the long-term treatment of chronic non-cancer pain, including known rates of abuse
           and addiction and the lack of validation for long-term efficacy; and

        n. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
           pain to prescribers through in-person detailing.

        147.    Defendant Janssen made and/or disseminated deceptive statements, and concealed

 material facts in such a way to make their statements deceptive, including, but not limited to, the

 following:



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       a.    Creating, sponsoring, and assisting in the distribution of patient education materials
             that contained deceptive statements;

       b.    Directly disseminating deceptive statements through internet sites over which
             Janssen exercised final editorial control and approval by stating that opioids are
             safe and effective for the long-term treatment of chronic non-cancer pain and that
             opioids improve quality of life, while concealing contrary data;

       c.    Disseminating deceptive statements concealing the true risk of addiction and
             promoting the deceptive concept of pseudoaddiction through internet sites over
             which Janssen exercised final editorial control and approval;

       d.    Promoting opioids for the treatment of conditions for which Janssen knew, due to
             the scientific studies it conducted, that opioids were not efficacious and concealing
             this information;

       e.    Sponsoring, directly distributing, and assisting in the dissemination of patient
             education publications over which Janssen exercised final editorial control and
             approval, which presented an unbalanced treatment of the long-term and dose
             dependent risks of opioids versus NSAIDs;

       f.    Providing significant financial support to pro-opioid KOLs, who made deceptive
             statements concerning the use of opioids to treat chronic non-cancer pain;

       g.    Providing necessary financial support to pro-opioid pain organizations that made
             deceptive statements, including in patient education materials, concerning the use
             of opioids to treat chronic non-cancer pain;

       h.    Targeting the elderly by assisting in the distribution of guidelines that contained
             deceptive statements concerning the use of opioids to treat chronic non-cancer pain
             and misrepresented the risks of opioid addiction in this population;

       i.    Targeting the elderly by sponsoring, directly distributing, and assisting in the
             dissemination of patient education publications targeting this population that
             contained deceptive statements about the risks of addiction and the adverse effects
             of opioids, and made false statements that opioids are safe and effective for the
             long-term treatment of chronic non-cancer pain and improve quality of life, while
             concealing contrary data;

       j.    Endorsing and assisting in the distribution of CMEs containing deceptive
             statements concerning the use of opioids to treat chronic non-cancer pain;




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        k.      Directly distributing and assisting in the dissemination of literature written by pro-
                opioid KOLs that contained deceptive statements concerning the use of opioids to
                treat chronic non-cancer pain, including the concept of pseudoaddiction;

        l.      Creating, endorsing, and supporting the distribution of patient and prescriber
                education materials that misrepresented the data regarding the safety and efficacy
                of opioids for the long-term treatment of chronic non-cancer pain, including known
                rates of abuse and addiction and the lack of validation for long-term efficacy;

        m.      Targeting veterans by sponsoring and disseminating patient education marketing
                materials that contained deceptive statements concerning the use of opioids to treat
                chronic non-cancer pain; and

        n.      Making deceptive statements concerning the use of opioids to treat chronic non-
                cancer pain to prescribers through in-person detailing.

        148.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

 statements, and concealed material facts in such a way to make their statements deceptive,

 including, but not limited to, the following:

        a. Creating, sponsoring, and assisting in the distribution of patient education materials
           that contained deceptive statements;

        b. Sponsoring and assisting in the distribution of publications that promoted the deceptive
           concept of pseudoaddiction, even for high-risk patients;

        c. Providing significant financial support to pro-opioid KOL doctors who made deceptive
           statements concerning the use of opioids to treat chronic non-cancer pain and
           breakthrough chronic non-cancer pain;

        d. Developing and disseminating scientific studies that deceptively concluded opioids are
           safe and effective for the long-term treatment of chronic non-cancer pain in conjunction
           with Cephalon’s potent rapid-onset opioids;

        e. Providing needed financial support to pro-opioid pain organizations that made
           deceptive statements, including in patient education materials, concerning the use of
           opioids to treat chronic non-cancer pain;

        f. Endorsing and assisting in the distribution of CMEs containing deceptive statements
           concerning the use of opioids to treat chronic non-cancer pain;

        g. Endorsing and assisting in the distribution of CMEs containing deceptive statements
           concerning the use of Cephalon’s rapid-onset opioids;


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        h. Directing its marketing of Cephalon’s rapid-onset opioids to a wide range of doctors,
           including general practitioners, neurologists, sports medicine specialists, and workers’
           compensation programs, serving chronic pain patients; and

        i. Making deceptive statements concerning the use of Cephalon’s opioids to treat chronic
           non-cancer pain to prescribers through in-person detailing and speakers’ bureau events,
           when such uses are unapproved and unsafe.

        149.    Defendant Actavis made and/or disseminated deceptive statements, and concealed

 material facts in such a way to make their statements deceptive, including, but not limited to, the

 following:

        a. Making deceptive statements concerning the use of opioids to treat chronic non-cancer
           pain to prescribers through in-person detailing;

        b. Creating and disseminating advertisements that contained deceptive statements that
           opioids are safe and effective for the long-term treatment of chronic non-cancer pain
           and that opioids improve quality of life;

        c. Creating and disseminating advertisements that concealed the risk of addiction in the
           long-term treatment of chronic, non-cancer pain; and

        d. Developing and disseminating scientific studies that deceptively concluded opioids are
           safe and effective for the long-term treatment of chronic non-cancer pain and that
           opioids improve quality of life while concealing contrary data.

                        5. The Manufacturer Defendants Fraudulently Concealed Their
                        Misconduct.

        150.    The Manufacturer Defendants, both individually and collectively, made, promoted,

 and profited from their misrepresentations about the risks and benefits of the use of opioids for

 chronic pain, even though they knew that their misrepresentations were false and deceptive. The

 history of opioids, as well as research and clinical experience, establish that opioids are highly

 addictive and are responsible for a long list of very serious adverse outcomes. The FDA warned

 Defendants of this, and Defendants had access to scientific studies, detailed prescription data, and

 reports of adverse events, including reports of addiction, hospitalization, and death – all of which

 clearly described the harm from long-term opioid use and showed that patients were suffering from


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 addiction, overdose, and death in alarming numbers. More recently, the FDA and CDC have issued

 pronouncements, based on medical evidence, that conclusively expose the falsity of Defendants’

 misrepresentations, and Endo and Purdue have recently entered into agreements in New York

 prohibiting them from making some of the same misrepresentations described in this Complaint.

         151.   At all times relevant to this Complaint, the Manufacturer Defendants took steps to

 avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair, and

 fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

 deceptive marketing of chronic opioid therapy by funding and working through third parties like

 Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

 credibility of these individuals and organizations and relied on them to vouch for the accuracy and

 integrity of the Manufacturer Defendants’ false and deceptive statements about the risks and

 benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

 shaping, editing, and approving the content of information and materials disseminated by these

 third parties. The Manufacturer Defendants exerted considerable influence over these promotional

 and “educational” materials in emails, correspondence, and meetings with KOLs, Front Groups,

 and public relations companies that were not, and have not yet become, public. For example,

 PainKnowledge.org, which is run by the NIPC, did not disclose Endo’s involvement. Other

 Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their own

 role.

         152.   Finally, the Manufacturer Defendants manipulated their promotional materials and

 the scientific literature to make it appear that these documents were accurate, truthful, and

 supported by objective evidence when they were not. The Manufacturer Defendants distorted the

 meaning or import of studies they cited and offered them as evidence for propositions the studies




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 did not support. The Manufacturer Defendants invented “pseudoaddiction” and promoted it to an

 unsuspecting medical community. The Manufacturer Defendants provided the medical community

 with false and misleading information about ineffectual strategies to avoid or control opioid

 addiction. The Manufacturer Defendants recommended to the medical community that dosages be

 increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

 over a period of years on a misinformation campaign aimed at highlighting opioids’ alleged

 benefits, disguising the risks, and promoting sales. The lack of support for the Manufacturer

 Defendants’ deceptive messages was not apparent to medical professionals who relied upon them

 in making treatment decisions, nor could it have been detected by the Plaintiff or Plaintiff’s

 Community. Thus, the Manufacturer Defendants successfully concealed from the medical

 community, patients, and health care payors facts sufficient to arouse suspicion of the claims that

 the Plaintiff now asserts. Plaintiff did not know of the existence or scope of the Manufacturer

 Defendants’ industry-wide fraud, and could not have acquired such knowledge earlier through the

 exercise of reasonable diligence.

                    C. THE DISTRIBUTOR DEFENDANTS’ UNLAWFUL
                       DISTRIBUTION OF OPIOIDS.

        153.    The Distributor Defendants owe a duty under both federal law (21 U.S.C. § 823, 21

 C.F.R. § 1301.74) and Indiana law (Ind. Code § 25-26-14 et seq.) to monitor, detect, investigate,

 refuse to fill, and report suspicious orders of prescription opioids originating from Plaintiff’s

 Community, as well as those orders which the Distributor Defendants knew or should have known

 were likely to be diverted into Plaintiff’s Community.

        154.    The foreseeable harm from a breach of these duties is the diversion of prescription

 opioids for nonmedical purposes.




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        155.    Each Distributor Defendant repeatedly and purposefully breached its duties under

 state and federal law. Such breaches are a direct and proximate cause of the widespread diversion

 of prescription opioids for nonmedical purposes into Plaintiff’s Community.

        156.    The unlawful diversion of prescription opioids is a direct and proximate cause of

 the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality in the State and

 in Plaintiff’s Community.

        157.    The opioid epidemic in Indiana, including, inter alia, in Plaintiff’s Community,

 remains an immediate hazard to public health and safety.

        158.    The opioid epidemic in Plaintiff’s Community is a temporary and continuous public

 nuisance and remains unabated.

        159.    The Distributor Defendants intentionally continued their conduct, as alleged herein,

 with knowledge that such conduct was creating the opioid nuisance and causing the harms and

 damages alleged herein.

                        1. The Distributor Defendants Have a Duty under Federal and State
                        Law to Guard Against, and Report, Unlawful Diversion and to Report
                        and Prevent Suspicious Orders.

        160.    Opioids are a controlled substance and are categorized as “Legend drugs” under

 Indiana law. Ind. Code § 25-26-14-7. These “Schedule II” drugs are controlled substances with a

 “high potential for abuse.” 21 U.S.C. §§ 812(b), 812(b)(2)(A)-(C).

        161.    As wholesale drug distributors, each Distributor Defendant was required under

 Indiana law to obtain a license as a wholesaler of controlled substances from the state board of

 pharmacy. Ind. Code § 25-26-14-14. Each Distributor Defendant is licensed by the Indiana Board

 of Pharmacy, is a “registrant” or “licensee” as a wholesale distributor in the chain of distribution

 of Schedule II controlled substances, and assumed a duty to comply with all security requirements

 imposed under the regulations adopted by the Indiana Board of Pharmacy.


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        162.    Each Distributor Defendant was, further, required to register with the DEA,

 pursuant to the federal Controlled Substance Act. 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

 Distributor Defendant is a “registrant” as a wholesale distributor in the chain of distribution of

 Schedule II controlled substances with a duty to comply with all security requirements imposed

 under that statutory scheme. Those requirements are adopted and incorporated into Indiana law.

        163.    Each Distributor Defendant has an affirmative duty under federal and Indiana law

 to act as a gatekeeper guarding against the diversion of the highly addictive, dangerous opioid

 drugs. Federal law requires that distributors of Schedule II drugs, including opioids, must maintain

 “effective control against diversion of particular controlled substances into other than legitimate

 medical, scientific, and industrial channels.” 21 U.S.C. § 823(b)(1). Indiana incorporates these

 requirements through Indiana’s licensing requirements on wholesale drug distributors, which

 require, “[a]s a condition for receiving and retaining a wholesale drug distributor license,” any

 wholesale legend drug distributor to “continuously maintain . . . [its o]perations in compliance

 with all federal legal requirements applicable to wholesale drug distribution.” Ind. Code § 25-26-

 14-17(6).

        164.    As a further condition for receiving and retaining their license, the Defendants are

 required by Indiana law to maintain “[a] reasonable system of record keeping . . . [that] provides

 for reporting counterfeit or suspected counterfeit legend drugs or counterfeiting or suspected

 counterfeiting activities to the board and the federal Food and Drug Administration” and provides

 for “mandatory reporting of significant shortages or losses of legend drugs to the board and the

 federal Food and Drug Administration, if applicable, if diversion is known or suspected.” Ind.

 Code § 25-26-14-17(3)(F)-(G) (emphasis added).




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        165.    Wholesale legend drug distributors are further required to develop and adhere to

 policies and procedures that result in the “[i]nvestigation of discrepancies in the inventory

 involving . . . contraband, or suspected contraband legend drugs and reporting of discrepancies

 within three (3) business days to the [Indiana Board of Pharmacy] and any other appropriate state

 or federal governmental agency.” Ind. Code § 25-26-14-17(4)(J). The distributors’ policies are

 also required to result in the “[r]eporting of criminal or suspected criminal activities involving the

 inventory of legend drugs to the [Indiana Board of Pharmacy] within three (3) business days.” Ind.

 Code § 25-26-14-17(4)(K).

        166.    Federal regulations, incorporated by Indiana law at Ind. Code § 25-26-14-17(10),

 further impose a non-delegable duty upon wholesale drug distributors to “design and operate a

 system to disclose to the registrant suspicious orders of controlled substances. The registrant

 [distributor] shall inform the Field Division Office of the Administration in his area of suspicious

 orders when discovered by the registrant.” 21 C.F.R. § 1301.74(b).

        167.    “Suspicious orders” include orders of an unusual size, orders of unusual frequency

 or orders deviating substantially from a normal pattern. 21 C.F.R. § 1301.74(b). These criteria are

 disjunctive and are not all inclusive. For example, if an order deviates substantially from a normal

 pattern, the size of the order does not matter and the order should be reported as suspicious.

 Likewise, a wholesale distributor need not wait for a normal pattern to develop over time before

 determining whether a particular order is suspicious. The size of an order alone, regardless of

 whether it deviates from a normal pattern, is enough to trigger the wholesale distributor’s

 responsibility to report the order as suspicious. The determination of whether an order is

 suspicious depends not only on the ordering patterns of the particular customer, but also on the




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 patterns of the entirety of the wholesale distributor’s customer base and the patterns throughout

 the relevant segment of the wholesale distributor industry.

          168.     In addition to reporting all suspicious orders, distributors must also stop shipment

 on any order which is flagged as suspicious and only ship orders which were flagged as potentially

 suspicious if, after conducting due diligence, the distributor can determine that the order is not

 likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg. 36,487,

 36,501 (Drug Enf’t Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug Enforcement

 Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged orders must be

 reported. Id.

          169.     These prescription drugs are regulated for the purpose of providing a “closed”

 system intended to reduce the widespread diversion of these drugs out of legitimate channels

 and into the illicit market, while at the same time providing the legitimate drug industry with a

 unified approach to narcotic and dangerous drug control.85

          170.     Different entities supervise the discrete links in the chain that separates a consumer

 from a controlled substance.            Statutes and regulations define each participant’s role and

 responsibilities.86




 85
   See 1970 U.S.C.C.A.N. 4566, 4571-72.
 86
   Brief for Healthcare Distribution Management Association and National Association of Chain Drug Stores as
 Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir.
 Apr. 4, 2016), 2016 WL 1321983, at *22 [hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution
 Management Association (HDMA or HMA) – now known as the Healthcare Distribution Alliance (HAD) – is a
 national, not-for-profit trade association that represents the nation’s primary, full-service healthcare distributors
 whose membership includes, among others: AmerisourceBergen Drug Corporation, Cardinal Health, Inc., and
 McKesson Corporation. See generally HAD, About, https://www.healthcaredistribution.org/about (last visited Aug.
 21, 2017). The National Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association
 that represents traditional drug stores and supermarkets and mass merchants with pharmacies whose membership
 includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation and Walmart. See generally
 NACDS, Mission, https://www.nacds.org/about /mission/ (last visited Aug. 21, 2017).


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             171.    As the DEA advised the Distributor Defendants in a letter dated September 27,

 2006, wholesale distributors are “one of the key components of the distribution chain. If the closed

 system is to function properly ... distributors must be vigilant in deciding whether a prospective

 customer can be trusted to deliver controlled substances only for lawful purposes. This

 responsibility is critical, as ... the illegal distribution of controlled substances has a substantial and

 detrimental effect on the health and general welfare of the American people.”87

             172.   The Distributor Defendants have admitted that they are responsible for reporting

 suspicious orders.88

             173.   The DEA sent a letter to each of the Distributor Defendants on September 27, 2006,

 warning that it would use its authority to revoke and suspend registrations when appropriate. The

 letter expressly states that a distributor, in addition to reporting suspicious orders, has a “statutory

 responsibility to exercise due diligence to avoid filling suspicious orders that might be diverted

 into other than legitimate medical, scientific, and industrial channels.”89 The letter also instructs

 that “distributors must be vigilant in deciding whether a prospective customer can be trusted to

 deliver controlled substances only for lawful purposes.”90 The DEA warns that “even just one

 distributor that uses its DEA registration to facilitate diversion can cause enormous harm.”91



 87
    See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
 U.S. Dep’t of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter Rannazzisi Letter] (“This letter is being sent
 to every commercial entity in the United States registered with the Drug Enforcement Agency (DEA) to distribute
 controlled substances. The purpose of this letter is to reiterate the responsibilities of controlled substance distributors
 in view of the prescription drug abuse problem our nation currently faces.”), filed in Cardinal Health, Inc. v. Holder,
 No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
 88
    See Brief for HDMA and NACDS, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr.
 4, 2016), 2016 WL 1321983, at *4 (“[R]egulations . . . in place for more than 40 years require distributors to report
 suspicious orders of controlled substances to DEA based on information readily available to them (e.g., a
 pharmacy’s placement of unusually frequent or large orders).”).
 89
    Rannazzisi Letter, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012),
 ECF No. 14-51, at 2.
 90
      Id. at 1.
 91
      Id. at 2.


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            174.   The DEA sent a second letter to each of the Distributor Defendants on December

 27, 2007.92 This letter reminds the Defendants of their statutory and regulatory duties to “maintain

 effective controls against diversion” and “design and operate a system to disclose to the registrant

 suspicious orders of controlled substances.”93 The letter further explains:

            The regulation also requires that the registrant inform the local DEA Division
            Office of suspicious orders when discovered by the registrant. Filing a monthly
            report of completed transactions (e.g., “excessive purchase report” or “high unity
            purchases”) does not meet the regulatory requirement to report suspicious orders.
            Registrants are reminded that their responsibility does not end merely with the
            filing of a suspicious order report. Registrants must conduct an independent
            analysis of suspicious orders prior to completing a sale to determine whether the
            controlled substances are likely to be diverted from legitimate channels. Reporting
            an order as suspicious will not absolve the registrant of responsibility if the
            registrant knew, or should have known, that the controlled substances were being
            diverted.

            The regulation specifically states that suspicious orders include orders of unusual
            size, orders deviating substantially from a normal pattern, and orders of an unusual
            frequency. These criteria are disjunctive and are not all inclusive. For example, if
            an order deviates substantially from a normal pattern, the size of the order does not
            matter and the order should be reported as suspicious. Likewise, a registrant need
            not wait for a “normal pattern” to develop over time before determining whether a
            particular order is suspicious. The size of an order alone, whether or not it deviates
            from a normal pattern, is enough to trigger the registrant’s responsibility to report
            the order as suspicious. The determination of whether an order is suspicious
            depends not only on the ordering patterns of the particular customer, but also on
            the patterns of the registrant’s customer base and the patterns throughout the
            segment of the regulated industry.

            Registrants that rely on rigid formulas to define whether an order is suspicious may
            be failing to detect suspicious orders. For example, a system that identifies orders
            as suspicious only if the total amount of a controlled substance ordered during one
            month exceeds the amount ordered the previous month by a certain percentage or
            more is insufficient. This system fails to identify orders placed by a pharmacy if
            the pharmacy placed unusually large orders from the beginning of its relationship
            with the distributor. Also, this system would not identify orders as suspicious if the
            orders were solely for one highly abused controlled substance if the orders never

 92
   See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm’r, Office of Diversion Control, Drug. Enf’t Admin.,
 U.S. Dep’t of Justice, to Cardinal Health (Dec. 27, 2007), filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-
 RBW (D.D.C. Feb. 10, 2012), ECF No. 14-8.
 93
      Id.



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            grew substantially. Nevertheless, ordering one highly abused controlled substance
            and little or nothing else deviates from the normal pattern of what pharmacies
            generally order.

            When reporting an order as suspicious, registrants must be clear in their
            communication with DEA that the registrant is actually characterizing an order as
            suspicious. Daily, weekly, or monthly reports submitted by registrant indicating
            “excessive purchases” do not comply with the requirement to report suspicious
            orders, even if the registrant calls such reports “suspicious order reports.”

            Lastly, registrants that routinely report suspicious orders, yet fill these orders
            without first determining that order is not being diverted into other than legitimate
            medical, scientific, and industrial channels, may be failing to maintain effective
            controls against diversion. Failure to maintain effective controls against diversion
            is inconsistent with the public interest as that term is used in 21 USC 823 and 824,
            and may result in the revocation of the registrant’s DEA Certificate of
            Registration.94

 Finally, the DEA letter references the Revocation of Registration issued in Southwood

 Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the obligation to

 report suspicious orders and “some criteria to use when determining whether an order is

 suspicious.”95

            175.   The Distributor Defendants admit that they “have not only statutory and regulatory

 responsibilities to detect and prevent diversion of controlled prescription drugs, but undertake such

 efforts as responsible members of society.”96

            176.   The Distributor Defendants knew they were required to monitor, detect, and halt

 suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

 Management Association, the trade association of pharmaceutical distributors, explain that

 distributors are “[a]t the center of a sophisticated supply chain” and therefore “are uniquely situated



 94
      Id.
 95
      Id.
  See Brief of HDMA, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4, 2016), 2016
 96

 WL 1321983, at *2.



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 to perform due diligence in order to help support the security of the controlled substances they

 deliver to their customers.” The guidelines set forth recommended steps in the “due diligence”

 process, and note in particular: If an order meets or exceeds a distributor’s threshold, as defined in

 the distributor’s monitoring system, or is otherwise characterized by the distributor as an order of

 interest, the distributor should not ship to the customer, in fulfillment of that order, any units of

 the specific drug code product as to which the order met or exceeded a threshold or as to which

 the order was otherwise characterized as an order of interest.97

         177.     Each of the Distributor Defendants sold prescription opioids, including

 hydrocodone and/or oxycodone, to retailers in Plaintiff’s Community and/or to retailers from

 which Defendants knew prescription opioids were likely to be diverted to Plaintiff’s Community.

         178.     Each Distributor Defendant owes a duty to monitor and detect suspicious orders of

 prescription opioids.

         179.     Each Distributor Defendant owes a duty under federal and state law to investigate

 and refuse suspicious orders of prescription opioids.

         180.     Each Distributor Defendant owes a duty under federal and state law to report

 suspicious orders of prescription opioids.

         181.     Each Distributor Defendant owes a duty under federal and state law to prevent the

 diversion of prescription opioids into illicit markets in the State and Plaintiff’s Community.

         182.     The foreseeable harm resulting from a breach of these duties is the diversion of

 prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.




 97
   Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines: Reporting Suspicious
 Orders and Preventing Diversion of Controlled Substances, filed in Cardinal Health, Inc. v. Holder, No. 12-5061
 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415 (App’x B).



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         183.     The foreseeable harm resulting from the diversion of prescription opioids for

 nonmedical purposes is abuse, addiction, morbidity and mortality in Plaintiff’s Community and

 the damages caused thereby.

                           2. The Distributor Defendants Breached their Duties.

         184.     Because distributors handle such large volumes of controlled substances, and are

 the first major line of defense in the movement of legal pharmaceutical controlled substances from

 legitimate channels into the illicit market, it is incumbent on distributors to maintain effective

 controls to prevent diversion of controlled substances. Should a distributor deviate from these

 checks and balances, the closed system collapses.98

         185.     The sheer volume of prescription opioids distributed to pharmacies in the Plaintiff’s

 Community, and/or to pharmacies from which the Distributor Defendants knew the opioids were

 likely to be diverted into Plaintiff’s Community, is excessive for the medical need of the

 community and facially suspicious. Some red flags are so obvious that no one who engages in the

 legitimate distribution of controlled substances can reasonably claim ignorance of them. 99

         186.     The Distributor Defendants failed to report “suspicious orders” originating from

 Plaintiff’s Community, or which the Distributor Defendants knew were likely to be diverted to

 Plaintiff’s Community, to the federal and state authorities, including the DEA and/or the state

 Board of Pharmacy.

         187.     The Distributor Defendants unlawfully filled suspicious orders of unusual size,

 orders deviating substantially from a normal pattern and/or orders of unusual frequency in



 98
    See Rannazzisi Decl. ¶ 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10,
 2012), ECF No. 14-2.
 99
  Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing Holiday CVS, L.L.C., d/b/a
 CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322 (2012)).



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 Plaintiff’s Community, and/or in areas from which the Distributor Defendants knew opioids were

 likely to be diverted to Plaintiff’s Community.

            188.     The Distributor Defendants breached their duty to monitor, detect, investigate,

 refuse and report suspicious orders of prescription opiates originating from Plaintiff’s Community,

 and/or in areas from which the Distributor Defendants knew opioids were likely to be diverted to

 Plaintiff’s Community.

            189.     The Distributor Defendants breached their duty to maintain effective controls

 against diversion of prescription opiates into other than legitimate medical, scientific, and

 industrial channels.

            190.     The Distributor Defendants breached their duty to “design and operate a system to

 disclose to the registrant suspicious orders of controlled substances” and failed to inform the

 authorities, including the DEA, of suspicious orders when discovered, in violation of their duties

 under federal and state law.

            191.     The Distributor Defendants breached their duty to exercise due diligence to avoid

 filling suspicious orders that might be diverted into channels other than legitimate medical,

 scientific and industrial channels.100

            192.     The federal and state laws at issue here are public safety laws.

            193.     The Distributor Defendants’ violations of public safety statutes creates a

 presumption that the Defendants acted negligently under Indiana law. Kho v. Pennington, 875

 N.E.2d 208, 212–13 (Ind. 2007) (“the unexcused violation of a statutory duty constitutes

 negligence per se ‘if the statute or ordinance is intended to protect the class of persons in which




 100
       See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).



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 the plaintiff is included and to protect against the risk of the type of harm which has occurred as a

 result of its violation.’” (citation omitted)).

         194.    The unlawful conduct by the Distributor Defendants is purposeful and intentional.

 The Distributor Defendants refuse to abide by the duties imposed by federal and state law which

 are required to legally acquire and maintain a license to distribute prescription opiates.

         195.    The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

 they acted with a conscious disregard for the rights and safety of other persons, and said actions

 have a great probability of causing substantial harm.

         196.    The Distributor Defendants’ repeated shipments of suspicious orders, over an

 extended period of time, in violation of public safety statutes, and without reporting the suspicious

 orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or criminal

 indifference to civil obligations affecting the rights of others, and justifies an award of punitive

 damages.

                         3. The Distributor Defendants Have Sought to Avoid and Have
                         Misrepresented their Compliance with their Legal Duties.

         197.    The Distributor Defendants have repeatedly misrepresented their compliance with

 their legal duties under state and federal law and have wrongfully and repeatedly disavowed those

 duties in an effort to mislead regulators and the public regarding the Distributor Defendants’

 compliance with their legal duties.

         198.    Distributor Defendants have refused to recognize any duty beyond reporting

 suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run by the

 Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty of

 wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry has

 been tragically recalcitrant in performing, they argued as follows:



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                          a. The Associations complained that the “DEA has required
                             distributors not only to report suspicious orders, but to investigate
                             orders (e.g., by interrogating pharmacies and physicians) and take
                             action to halt suspicious orders before they are filled.”101

                          b. The Associations argued that, “DEA now appears to have changed
                             its position to require that distributors not only report suspicious
                             orders, but investigate and halt suspicious orders. Such a change in
                             agency position must be accompanied by an acknowledgment of the
                             change and a reasoned explanation for it. In other words, an agency
                             must display awareness that it is changing position and show that
                             there are good reasons for the new policy. This is especially
                             important here, because imposing intrusive obligations on
                             distributors threatens to disrupt patient access to needed prescription
                             medications.”102

                          c. The Associations alleged (inaccurately) that nothing “requires
                             distributors to investigate the legitimacy of orders, or to halt
                             shipment of any orders deemed to be suspicious.”103

                          d. The Association complained that the purported “practical
                             infeasibility of requiring distributors to investigate and halt
                             suspicious orders (as well as report them) underscores the
                             importance of ensuring that DEA has complied with the APA before
                             attempting to impose such duties.”104

                          e. The Associations alleged (inaccurately) that “DEA’s regulations []
                             sensibly impose[] a duty on distributors simply to report suspicious
                             orders, but left it to DEA and its agents to investigate and halt
                             suspicious orders.”105

                          f. Also inaccurately, the Associations argued that, “[i]mposing a duty
                             on distributors – which lack the patient information and the
                             necessary medical expertise – to investigate and halt orders may
                             force distributors to take a shot-in-the-dark approach to complying
                             with DEA’s demands.”106


 101
       Brief for HDMA and NACDS, supra note 85, 2016 WL 1321983, at *4–5.
 102
       Id. at *8 (citations and quotation marks omitted).
 103
       Id. at *14.
 104
       Id. at *22.
 105
       Id. at *24–25.
 106
       Id. at 26.



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         199.     The positions taken by the trade groups are emblematic of the position taken by the

 Distributor Defendants in a futile attempt to deny their legal obligations to prevent diversion of

 the dangerous drugs.107

         200.     The Court of Appeals for the District of Columbia recently issued its opinion

 affirming that a wholesale drug distributor does, in fact, have duties beyond reporting. Masters

 Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C. Circuit Court upheld

 the revocation of Master Pharmaceutical’s license and determined that DEA regulations require

 that in addition to reporting suspicious orders, distributors must “decline to ship the order, or

 conduct some ‘due diligence’ and—if it is able to determine that the order is not likely to be

 diverted into illegal channels—ship the order.” Id. at 212. Master Pharmaceutical was in violation

 of legal requirements because it failed to conduct necessary investigations and filled suspicious

 orders. Id. at 218–19, 226. A distributor’s investigation must dispel all the red flags giving rise to

 suspicious circumstance prior to shipping a suspicious order. Id. at 226. The Circuit Court also

 rejected the argument made by the HDMA and NACDS (quoted above), that, allegedly, the DEA

 had created or imposed new duties. Id. at 220.

         201.     Wholesale Distributor McKesson has recently been forced to specifically admit to

 breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an Administrative

 Memorandum of Agreement (“2017 Agreement”) entered into between McKesson and the DEA

 in January 2017, McKesson admitted that, at various times during the period from January 1, 2009

 through the effective date of the 2017 Agreement (January 17, 2017) it “did not identify or report

 to [the] DEA certain orders placed by certain pharmacies which should have been detected by



 107
     See Brief of HDMA, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4, 2016), 2016
 WL 1321983, at *3 (arguing the wholesale distributor industry “does not know the rules of the road because” they
 claim (inaccurately) that the “DEA has not adequately explained them”).



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 McKesson as suspicious based on the guidance contained in the DEA Letters.”108 Further, the

 2017 Agreement specifically finds that McKesson “distributed controlled substances to

 pharmacies even though those McKesson Distribution Centers should have known that the

 pharmacists practicing within those pharmacies had failed to fulfill their corresponding

 responsibility to ensure that controlled substances were dispensed pursuant to prescriptions issued

 for legitimate medical purposes by practitioners acting in the usual course of their professional

 practice, as required by 21 C.F.R § 1306.04(a).”109 McKesson admitted that, during this time

 period, it “failed to maintain effective controls against diversion of particular controlled substances

 into other than legitimate medical, scientific and industrial channels by sales to certain of its

 customers in violation of the CSA and the CSA’s implementing regulations, 21 C.F.R. Part 1300

 et seq., at the McKesson Distribution Centers” including the McKesson Distribution Center

 located in “Washington Courthouse, Ohio.”110 Due to these violations, McKesson agreed that its

 authority to distribute controlled substances from the Washington Courthouse, Ohio facility

 (among other facilities) would be partially suspended.111

             202.   The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement in

 which McKesson also admitted failure to report suspicious orders of controlled substances to the

 DEA.112 In the 2008 Settlement Agreement, McKesson “recognized that it had a duty to monitor

 its sales of all controlled substances and report suspicious orders to DEA,” but had failed to do




   See Administrative Memorandum of Agreement between the U.S. Dep’t of Justice, the Drug Enf’t Admin., and the
 108

 McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-release/file/928476/download.
 109
       Id. at 4.
 110
       Id.
 111
       Id. at 6.
 112
       Id. at 4.



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 so.113 The 2017 Memorandum of Agreement documents that McKesson continued to breach its

 admitted duties by “fail[ing] to properly monitor its sales of controlled substances and/or report

 suspicious orders to DEA, in accordance with McKesson’s obligations.”114 As a result of these

 violations, McKesson was fined and required to pay to the United States $150,000,000.115

             203.    Even though McKesson had been sanctioned in 2008 for failure to comply with its

 legal obligations regarding controlling diversion and reporting suspicious orders, and even though

 McKesson had specifically agreed in 2008 that it would no longer violate those obligations,

 McKesson continued to violate the laws in contrast to its written agreement not to do so.

             204.    Because of the Distributor Defendants’ refusal to abide by their legal obligations,

 the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

 in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

 and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

 between 2008 and 2012.116 The Office of Administrative Law Judges issued a recommended

 decision in a total of 117 registrant actions before the DEA issued its final decision, including 76

 actions involving orders to show cause and 41 actions involving immediate suspension orders.117

 These actions include the following:




 113
       Id.
 114
     Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5 (Jan. 17, 2017)
 [hereinafter 2017 Settlement Agreement and Release] (“McKesson acknowledges that, at various times during the
 Covered Time Period [2009-2017], it did not identify or report to DEA certain orders placed by certain pharmacies,
 which should have been detected by McKesson as suspicious, in a manner fully consistent with the requirements set
 forth in the 2008 MOA.”), https://www.justice.gov/opa/press-release/file/928471/download.
 115
       See 2017 Settlement Agreement and Release, https://www.justice.gov/opa/press-release/file/928471/download., at
 6.
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
 116

 Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
 117
       Id.



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          a. On April 24, 2007, the DEA issued an Order to Show Cause and Immediate
             Suspension Order against the AmerisourceBergen Orlando, Florida
             distribution center (“Orlando Facility”), alleging failure to maintain
             effective controls against diversion of controlled substances. On June 22,
             2007, AmerisourceBergen entered into a settlement that resulted in the
             suspension of its DEA registration;

          b. On November 28, 2007, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the Cardinal Health Auburn,
             Washington Distribution Center (“Auburn Facility”) for failure to maintain
             effective controls against diversion of hydrocodone;

          c. On December 5, 2007, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the Cardinal Health Lakeland, Florida
             Distribution Center (“Lakeland Facility”) for failure to maintain effective
             controls against diversion of hydrocodone;

          d. On December 7, 2007, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the Cardinal Health Swedesboro, New
             Jersey Distribution Center (“Swedesboro Facility”) for failure to maintain
             effective controls against diversion of hydrocodone;

          e. On January 30, 2008, the DEA issued an Order to Show Cause and
             Immediate Suspension Order against the Cardinal Health Stafford, Texas
             Distribution Center (“Stafford Facility”) for failure to maintain effective
             controls against diversion of hydrocodone;

          f. On May 2, 2008, McKesson Corporation entered into an Administrative
             Memorandum of Agreement (“2008 MOA”) with the DEA which provided
             that McKesson would “maintain a compliance program designed to detect
             and prevent the diversion of controlled substances, inform DEA of
             suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the
             procedures established by its Controlled Substance Monitoring Program”;

          g. On September 30, 2008, Cardinal Health entered into a Settlement and
             Release Agreement and Administrative Memorandum of Agreement with
             the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro
             Facility and Stafford Facility. The document also referenced allegations by
             the DEA that Cardinal failed to maintain effective controls against the
             diversion of controlled substances at its distribution facilities located in
             McDonough, Georgia (“McDonough Facility”), Valencia, California
             (“Valencia Facility”) and Denver, Colorado (“Denver Facility”);


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             h. On February 2, 2012, the DEA issued an Order to Show Cause and
                Immediate Suspension Order against the Cardinal Health Lakeland, Florida
                Distribution Center (“Lakeland Facility”) for failure to maintain effective
                controls against diversion of oxycodone;

             i. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to
                the DEA to resolve the civil penalty portion of the administrative action
                taken against its Lakeland, Florida Distribution Center; and

             j. On January 5, 2017, McKesson Corporation entered into an Administrative
                Memorandum Agreement with the DEA wherein it agreed to pay a $150
                million civil penalty for violation of the 2008 MOA as well as failure to
                identify and report suspicious orders at its facilities in Aurora CO, Aurora
                IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,
                Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse
                OH and West Sacramento CA.

         205.     Rather than abide by their non-delegable duties under public safety laws, the

 Distributor Defendants, individually and collectively through trade groups in the industry,

 pressured the U.S. Department of Justice to “halt” prosecutions and lobbied Congress to strip the

 DEA of its ability to immediately suspend distributor registrations. The result was a “sharp drop

 in enforcement actions” and the passage of the “Ensuring Patient Access and Effective Drug

 Enforcement Act” which, ironically, raised the burden for the DEA to revoke a distributor’s license

 from “imminent harm” to “immediate harm” and provided the industry the right to “cure” any

 violations of law before a suspension order can be issued.118




 118
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic
 Grew Out of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-
 enforcement-while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-
 d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of
 DEA      Enforcement     Slowdown      Amid      Opioid      Crisis,    Wash.       Post,    Mar.    6,   2017,
 https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-enforcement-
 slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No
 Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
 http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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         206.     In addition to taking actions to limit regulatory prosecutions and suspensions, the

 Distributor Defendants undertook to fraudulently convince the public that they were complying

 with their legal obligations, including those imposed by licensing regulations. Through such

 statements, the Distributor Defendants attempted to assure the public they were working to curb

 the opioid epidemic.

         207.     For example, a Cardinal Health executive claimed that it uses “advanced analytics”

 to monitor its supply chain, and represented that it was being “as effective and efficient as possible

 in constantly monitoring, identifying, and eliminating any outside criminal activity.”119 Given the

 sales volumes and the company’s history of violations, this executive was either not telling the

 truth, or, if Cardinal Health had such a system, it ignored the results.

         208.     Similarly, Defendant McKesson publicly stated that it has a “best-in-class

 controlled substance monitoring program to help identify suspicious orders,” and claimed it is

 “deeply passionate about curbing the opioid epidemic in our country.”120 Again, given

 McKesson’s historical conduct, this statement is either false, or the company ignored outputs of

 the monitoring program.

         209.     By misleading the public about the effectiveness of their controlled substance

 monitoring programs, the Distributor Defendants successfully concealed the facts sufficient to

 arouse suspicion of the claims that the Plaintiff now asserts. The Plaintiff did not know of the




 119
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
 Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
 for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
 8ff7-7b6c1998b7a0_story.html.
 120
    Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
 Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
 dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.



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 existence or scope of Defendants’ industry-wide fraud and could not have acquired such

 knowledge earlier through the exercise of reasonable diligence.

        210.    Meanwhile, the opioid epidemic rages unabated in the Nation, the State, and in

 Plaintiff’s Community.

        211.    The epidemic still rages because the fines and suspensions imposed by the DEA do

 not change the conduct of the industry. The distributors, including the Distributor Defendants, pay

 fines as a cost of doing business in an industry that generates billions of dollars in annual revenue.

 They hold multiple DEA registration numbers and when one facility is suspended, they simply

 ship from another facility.

        212.    The wrongful actions and omissions of the Distributor Defendants which have

 caused the diversion of opioids and which have been a substantial contributing factor to and/or

 proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

 allegations below.

        213.    The Distributor Defendants have abandoned their duties imposed under federal and

 state law, taken advantage of a lack of DEA law enforcement, and abused the privilege of

 distributing controlled substances in the State and Plaintiff’s Community.

            D. THE MANUFACTURER DEFENDANTS’ UNLAWFUL FAILURE TO
               PREVENT DIVERSION AND MONITOR, REPORT, AND PREVENT
               SUSPICIOUS ORDERS.

        214.    The same legal duties to prevent diversion, and to monitor, report, and prevent

 suspicious orders of prescription opioids that were incumbent upon the Distributor Defendants

 were also legally required of the Manufacturer Defendants under federal law.

        215.      Like the Distributor Defendants, the Manufacturer Defendants were required to

 register with the DEA to manufacture Schedule II controlled substances, like prescription opioids.

 21 U.S.C. § 823(a). A requirement of such registration is the:


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        maintenance of effective controls against diversion of particular controlled
        substances and any controlled substance in schedule I or II compounded
        therefrom into other than legitimate medical, scientific, research, or industrial
        channels, by limiting the importation and bulk manufacture of such controlled
        substances to a number of establishments which can produce an adequate and
        uninterrupted supply of these substances under adequately competitive conditions
        for legitimate medical, scientific, research, and industrial purposes . . . .

 21 U.S.C. § 823(a)(1) (emphasis added).

        216.    Additionally, as “registrants” under 21 U.S.C. § 823, the Manufacturer Defendants

 were also required to monitor, report, and prevent suspicious orders of controlled substances:

        The registrant shall design and operate a system to disclose to the registrant
        suspicious orders of controlled substances. The registrant shall inform the Field
        Division Office of the Administration in his area of suspicious orders when
        discovered by the registrant. Suspicious orders include orders of unusual size,
        orders deviating substantially from a normal pattern, and orders of unusual
        frequency.

 21 C.F.R. § 1301.74(b). See also 21 C.F.R. § 1301.02 (“Any term used in this part shall have the

 definition set forth in section 102 of the Act (21 U.S.C. 802) or part 1300 of this chapter.”); 21

 C.F.R. § 1300.01 (“Registrant means any person who is registered pursuant to either section 303

 or section 1008 of the Act (21 U.S.C. 823 or 958).” Like the Distributor Defendants, the

 Manufacturer Defendants breached these duties.

        217.     The Manufacturer Defendants had access to and possession of the information

 necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

 Manufacturer Defendants engaged in the practice of paying “chargebacks” to opioid distributors.

 A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

 manufacturer’s product at a price below a specified rate. After a distributor sells a manufacturer’s

 product to a pharmacy, for example, the distributor requests a chargeback from the manufacturer

 and, in exchange for the payment, the distributor identifies to the manufacturer the product, volume

 and the pharmacy to which it sold the product. Thus, the Manufacturer Defendants knew – just as



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 the Distributor Defendants knew – the volume, frequency, and pattern of opioid orders being

 placed and filled. The Manufacturer Defendants built receipt of this information into the payment

 structure for the opioids provided to the opioid distributors.

             218.   Federal statutes and regulations are clear: just like opioid distributors, opioid

 manufacturers are required to “design and operate a system to disclose . . . suspicious orders of

 controlled substances” and to maintain “effective controls against diversion.” 21 C.F.R. § 1301.74;

 21 U.S.C. § 823(a)(1).

             219.   The Department of Justice has recently confirmed the suspicious order obligations

 clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

 failure to report suspicious orders of controlled substances, including opioids, and for violating

 recordkeeping requirements.121

             220.   In the press release accompanying the settlement, the Department of Justice stated:

 Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders of

 controlled substances such as oxycodone, the abuse of which is part of the current opioid epidemic.

 These suspicious order monitoring requirements exist to prevent excessive sales of controlled

 substances, like oxycodone . . . . Mallinckrodt’s actions and omissions formed a link in the chain

 of supply that resulted in millions of oxycodone pills being sold on the street. . . . “Manufacturers

 and distributors have a crucial responsibility to ensure that controlled substances do not get into

 the wrong hands. . . .”122




 121
    See Press Release, U.S. Dep’t of Justice, Mallinckrodt Agrees to Pay Record $35 Million Settlement for Failure to
 Report Suspicious Orders of Pharmaceutical Drugs and for Recordkeeping Violations (July 11, 2017),
 https://www.justice.gov/opa/pr/mallinckrodt-agrees-pay-record-35-million-settlement-failure-report-suspicious-
 orders.
 122
       Id.



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             221.    Among the allegations resolved by the settlement, the government alleged

 “Mallinckrodt failed to design and implement an effective system to detect and report ‘suspicious

 orders’ for controlled substances – orders that are unusual in their frequency, size, or other patterns

 . . . [and] Mallinckrodt supplied distributors, and the distributors then supplied various U.S.

 pharmacies and pain clinics, an increasingly excessive quantity of oxycodone pills without

 notifying DEA of these suspicious orders.”123

             222.   The Memorandum of Agreement entered into by Mallinckrodt (“2017 Mallinckrodt

 MOA”) avers “[a]s a registrant under the CSA, Mallinckrodt had a responsibility to maintain

 effective controls against diversion, including a requirement that it review and monitor these sales

 and report suspicious orders to DEA.”124

             223.   The 2017 Mallinckrodt MOA further details the DEA’s allegations regarding

 Mallinckrodt’s failures to fulfill its legal duties as an opioid manufacturer:

             With respect to its distribution of oxycodone and hydrocodone products,
             Mallinckrodt's alleged failure to distribute these controlled substances in a manner
             authorized by its registration and Mallinckrodt's alleged failure to operate an
             effective suspicious order monitoring system and to report suspicious orders to
             the DEA when discovered as required by and in violation of 21 C.F.R. §
             1301.74(b). The above includes, but is not limited to Mallinckrodt's alleged
             failure to:
                           i. conduct adequate due diligence of its customers;
                          ii. detect and report to the DEA orders of unusual size and frequency;
                         iii. detect and report to the DEA orders deviating substantially from
                              normal patterns including, but not limited to, those identified in
                              letters from the DEA Deputy Assistant Administrator, Office of
                              Diversion Control, to registrants dated September 27, 2006 and
                              December 27, 2007:
                                  1. orders that resulted in a disproportionate amount of a
                                       substance which is most often abused going to a particular
                                       geographic region where there was known diversion,

 123
       Id.
 124
     Administrative Memorandum of Agreement between the United States Department of Justice, the Drug
 Enforcement Agency, and Mallinckrodt, plc. and its subsidiary Mallinckrodt, LLC (July 10, 2017),
 https://www.justice.gov/usao-edmi/press-release/file/986026/download. (“2017 Mallinckrodt MOA”).



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                                2. orders that purchased a disproportionate amount of a
                                    substance which is most often abused compared to other
                                    products, and
                                3. orders from downstream customers to distributors who
                                    were purchasing from multiple different distributors, of
                                    which Mallinckrodt was aware;
                        iv. use "chargeback" information from its distributors to evaluate
                            suspicious orders. Chargebacks include downstream purchasing
                            information tied to certain discounts, providing Mallinckrodt with
                            data on buying patterns for Mallinckrodt products; and
                         v. take sufficient action to prevent recurrence of diversion by
                            downstream customers after receiving concrete information of
                            diversion of Mallinckrodt product by those downstream
                            customers.125

             224.    Mallinckrodt agreed that its “system to monitor and detect suspicious orders did

 not meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

 Control, to registrants dated September 27, 2006 and December 27, 2007.” Mallinckrodt further

 agreed that it “recognizes the importance of the prevention of diversion of the controlled

 substances they manufacture” and would “design and operate a system that meets the requirements

 of 21 C.F.R. 1301.74(b) . . . [such that it would] utilize all available transaction information to

 identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

 DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt controlled

 substances that Mallinckrodt discovers.”126

             225.    Mallinckrodt acknowledged that “[a]s part of their business model Mallinckrodt

 collects transaction information, referred to as chargeback data, from their direct customers

 (distributors). The transaction information contains data relating to the direct customer sales of

 controlled substances to "downstream" registrants.” Mallinckrodt agreed that, from this data, it




 125
       2017 Mallinckrodt MOA at p. 2-3.
 126
       Id. at 3-4.



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 would “report to the DEA when Mallinckrodt concludes that the chargeback data or other

 information indicates that a downstream registrant poses a risk of diversion.”127

             226.    The same duties imposed by federal law on Mallinckrodt were imposed upon all

 Manufacturer Defendants.

             227.    The same business practices utilized by Mallinckrodt regarding “chargebacks” and

 receipt and review of data from opioid distributors regarding orders of opioids were utilized

 industry-wide among opioid manufacturers and distributors, including, upon information and

 belief, the other Defendants.

             228.    Through, inter alia, the chargeback data, the Manufacturer Defendants could

 monitor suspicious orders of opioids.

             229.    The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

 of opioids as required by federal law.

             230.    The Manufacturer Defendants’ failures to monitor, report, and halt suspicious

 orders of opioids were intentional and unlawful.

             231.    The Manufacturer Defendants have misrepresented their compliance with federal

 law.

             232.    The wrongful actions and omissions of the Manufacturer Defendants which have

 caused the diversion of opioids and which have been a substantial contributing factor to and/or

 proximate cause of the opioid crisis are alleged in greater detail in Plaintiff’s racketeering

 allegations below.




 127
       Id. at p.5.



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            233.     The Manufacturer Defendants’ actions and omissions in failing to effectively

 prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled the

 unlawful diversion of opioids into Plaintiff’s Community.

                          E. DEFENDANTS’ UNLAWFUL CONDUCT AND BREACHES OF
                          LEGAL DUTIES CAUSED THE HARM ALLEGED HEREIN AND
                          SUBSTANTIAL DAMAGES.

            234.     As the Manufacturer Defendants’ efforts to expand the market for opioids

 increased, so have the rates of prescription and sale of their products — and the rates of opioid-

 related substance abuse, hospitalization, and death among the people of the State and the Plaintiff’s

 Community. The Distributor Defendants have continued to unlawfully ship these massive

 quantities of opioids into communities like the Plaintiff’s Community, fueling the epidemic.

            235.     There is a “parallel relationship between the availability of prescription opioid

 analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

 associated adverse outcomes.”128

            236.     Opioid analgesics are widely diverted and improperly used, and the widespread use

 of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions.129

            237.     The epidemic is “directly related to the increasingly widespread misuse of powerful

 opioid pain medications.”130




 128
   See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States, 372 N. Eng. J.
 Med. 241 (2015).
 129
    See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain—Misconceptions and Mitigation
 Strategies, 374 N. Eng. J. Med. 1253 (2016).
 130
       See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J. Med. 1480 (2016).


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         238.     The increased abuse of prescription painkillers along with growing sales has

 contributed to a large number of overdoses and deaths.131

         239.     As shown above, the opioid epidemic has escalated in Plaintiff’s Community with

 devastating effects. Substantial opiate-related substance abuse, hospitalization and death mirror

 Defendants’ increased distribution of opiates. Plaintiff’s Community has experienced a near

 doubling in the number of emergency room visits associated with opioids.132

         240.     Because of the well-established relationship between the use of prescription opiates

 and the use of non-prescription opioids, like heroin, the massive distribution of opioids to

 Plaintiff’s Community, and areas from which such opioids are being diverted into Plaintiff’s

 Community, has resulted in the Defendant-caused opioid epidemic including heroin addiction,

 abuse, and death.

         241.     Prescription opioid abuse, addiction, morbidity, and mortality are hazards to public

 health and safety in the State and in Plaintiff’s Community.

         242.     Heroin abuse, addiction, morbidity, and mortality are hazards to public health and

 safety in the State and in Plaintiff’s Community.

         243.     Defendants repeatedly and purposefully breached their duties under state and

 federal law, and such breaches are direct and proximate causes of, and/or substantial factors

 leading to, the widespread diversion of prescription opioids for nonmedical purposes into the

 Plaintiff’s Community.




 131
    See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep’t of Health and Human Servs.,
 Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
 https://www.cdc.gov/media/releases/2011/p1101_flu_pain_killer_overdose.html.
 132
    Indiana State Dep. of Health, County Profiles of Opioid Use and Related Outcomes, available at
 https://www.in.gov/isdh/files/CountyProfilesOfOpioidUse2017.pdf.


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         244.     The unlawful diversion of prescription opioids is a direct and proximate cause of,

 and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

 morbidity and mortality in the State and Plaintiff’s Community. This diversion and the epidemic

 are direct causes of foreseeable harms incurred by the Plaintiff and Plaintiff’s Community.

         245.     Defendants’ intentional and/or unlawful conduct resulted in direct and foreseeable,

 past and continuing, economic damages for which Plaintiff seeks relief, as alleged herein. Plaintiff

 also seeks the means to abate the epidemic created by Defendants’ wrongful and/or unlawful

 conduct.

         246.     Plaintiff seeks economic damages from the Defendants as reimbursement for the

 costs associated with past efforts to eliminate the hazards to public health and safety.

         247.     Plaintiff seeks economic damages from the Defendants to pay for the cost to

 permanently eliminate the hazards to public health and safety and abate the temporary public

 nuisance.

         248.     To eliminate the hazard to public health and safety, and abate the public nuisance,

 a “multifaceted, collaborative public health and law enforcement approach is urgently needed.”133

         249.     A comprehensive response to this crisis must focus on preventing new cases of

 opioid addiction, identifying early opioid-addicted individuals, and ensuring access to effective

 opioid addiction treatment while safely meeting the needs of patients experiencing pain. 134




 133
   See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–2014, 64 Morbidity
 & Mortality Wkly. Rep. 1378, 1145 (2016).
 134
    See Johns Hopkins Bloomberg School of Public Health, The Prescription Opioid Epidemic: An Evidence-Based
 Approach (G. Caleb Alexander et al. eds., 2015), http://www.jhsph.edu/research/centers-and-institutes/center-for-
 drug-safety-and-effectiveness/research/prescription-opioids/JHSPH_OPIOID_EPIDEMIC_REPORT.pdf.



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         250.    These community-based problems require community-based solutions that have

 been limited by “budgetary constraints at the state and federal levels.”135

         251.    Having profited enormously through the aggressive sale, misleading promotion,

 and irresponsible distribution of opiates, Defendants should be required to take responsibility for

 the financial burdens their conduct has inflicted upon the Plaintiff and Plaintiff’s Community.

                     F. STATUTES OF LIMITATIONS ARE TOLLED AND DEFENDANTS
                     ARE ESTOPPED FROM ASSERTED STATUTES OF LIMITATIONS
                     AS DEFENSES.

                         1. Continuing Conduct.

         252.    Plaintiff contends it continues to suffer harm from the unlawful actions by the

 Defendants.

         253.    The continued tortious and unlawful conduct by the Defendants causes a repeated

 or continuous injury. The damages have not occurred all at once, but have continued to occur and

 have increased as time progresses. The tort is not completed nor have all the damages been

 incurred until the wrongdoing ceases. The wrongdoing and unlawful activity by Defendants has

 not ceased. The public nuisance remains unabated.

                         2. Equitable Estoppel.

         254.    Defendants are equitably estopped from relying upon a statute of limitations

 defense because they undertook efforts to purposefully conceal their unlawful conduct and

 fraudulently assure the public, including the State, the Plaintiff, and Plaintiff’s Community, that

 they were undertaking efforts to comply with their obligations under the state and federal

 controlled substances laws, all with the goal of protecting their registered manufacturer or

 distributor status in the State and to continue generating profits. Notwithstanding the allegations


 135
    See Office of Nat’l Drug Control Policy, Exec. Office of the President, Epidemic: Responding to America’s
 Prescription Drug Abuse Crisis (2011), https://www.ncjrs.gov/pdffiles1/ondcp/rx_abuse_plan.pdf.



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 set forth above, the Defendants affirmatively assured the public, including the State, the Plaintiff,

 and Plaintiff’s Community, that they are working to curb the opioid epidemic.

          255.    For example, a Cardinal Health executive claimed that it uses “advanced analytics”

 to monitor its supply chain, and assured the public it was being “as effective and efficient as

 possible in constantly monitoring, identifying, and eliminating any outside criminal activity.”136

          256.    Similarly, McKesson publicly stated that it has a “best-in-class controlled substance

 monitoring program to help identify suspicious orders,” and claimed it is “deeply passionate about

 curbing the opioid epidemic in our country.”137

          257.    Moreover, in furtherance of their effort to affirmatively conceal their conduct and

 avoid detection, the Distributor Defendants, through their trade associations, HDMA and NACDS,

 filed an amicus brief in Masters Pharmaceuticals, which made the following statements:138

       a. “HDMA and NACDS members not only have statutory and regulatory responsibilities to

          guard against diversion of controlled prescription drugs, but undertake such efforts as

          responsible members of society.”

       b. “DEA regulations that have been in place for more than 40 years require distributors to

          report suspicious orders of controlled substances to DEA based on information readily

          available to them (e.g., a pharmacy’s placement of unusually frequent or large orders).”




 136
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal Users: “No One Was
 Doing Their Job,” Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/how-drugs-intended-
 for-patients-ended-up-in-the-hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6-
 8ff7-7b6c1998b7a0_story.html.
 137
    Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency Tried to Curb Opioid
 Abuse, Wash. Post, Dec. 22, 2016, https://www.washingtonpost.com/investigations/key-officials-switch-sides-from-
 dea-to-pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527-949c5893595e_story.html.
 138
    Brief for HDMA and NACDS, Masters Pharm., Inc. v. U.S. Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4,
 2016), 2016 WL 1321983, at *3-4, *25.



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    c. “Distributors take seriously their duty to report suspicious orders, utilizing both computer

        algorithms and human review to detect suspicious orders based on the generalized

        information that is available to them in the ordering process.”

    d. “A particular order or series of orders can raise red flags because of its unusual size,

        frequency, or departure from typical patterns with a given pharmacy.”

    e. “Distributors also monitor for and report abnormal behavior by pharmacies placing orders,

        such as refusing to provide business contact information or insisting on paying in cash.”

 Through the above statements made on their behalf by their trade associations, and other similar

 statements assuring their continued compliance with their legal obligations, the Distributor

 Defendants not only acknowledged that they understood their obligations under the law, but they

 further affirmed that their conduct was in compliance with those obligations.

        258.    The Distributor Defendants have also concealed and prevented discovery of

 information, including data from the ARCOS database, that will confirm their identities and the

 extent of their wrongful and illegal activities.

        259.    The Manufacturer Defendants distorted the meaning or import of studies they cited

 and offered them as evidence for propositions the studies did not support. The Manufacturer

 Defendants invented “pseudoaddiction” and promoted it to an unsuspecting medical community.

 Manufacturer Defendants provided the medical community with false and misleading information

 about ineffectual strategies to avoid or control opioid addiction. Manufacturer Defendants

 recommended to the medical community that dosages be increased, without disclosing the risks.

 Manufacturer Defendants spent millions of dollars over a period of years on a misinformation

 campaign aimed at highlighting opioids’ alleged benefits, disguising the risks, and promoting

 sales. The medical community, consumers, the State, and Plaintiff’s Community were duped by




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 the Manufacturer Defendants’ campaign to misrepresent and conceal the truth about the opioid

 drugs that they were aggressively pushing in the State and in Plaintiff’s Community.

        260.    The Plaintiff and Plaintiff’s Community reasonably relied on Defendants’

 affirmative statements regarding their purported compliance with their obligations under the law

 and consent orders.

                        3. Fraudulent Concealment.

        261.    The Plaintiff’s claims are further subject to equitable tolling, stemming from

 Defendants’ knowingly and fraudulently concealing the facts alleged herein. As alleged herein,

 Defendants knew of the wrongful acts set forth above, and had material information pertinent to

 their discovery, and concealed them from the Plaintiff and Plaintiff’s community. The Plaintiff

 did not know, or could not have known through the exercise of reasonable diligence, of its cause

 of action, as a result of Defendants’ conduct.

        262.    The purposes of the statutes of limitations period are satisfied because Defendants

 cannot claim prejudice due to a late filing where the Plaintiff filed suit promptly upon discovering

 the facts essential to its claims, described herein, which Defendants knowingly concealed.

        263.    In light of their statements to the media, in legal filings, and settlements, it is clear

 that Defendants had actual or constructive knowledge that their conduct was deceptive, in that they

 consciously concealed the schemes set forth herein.

        264.    Defendants continually and secretly engaged in their scheme to avoid compliance

 with their legal obligations. Only Defendants and their agents knew or could have known about

 Defendants’ unlawful actions because Defendants made deliberate efforts to conceal their conduct.

 As a result of the above, the Plaintiff was unable to obtain vital information bearing on its claims

 absent any fault or lack of diligence on its part.




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                                V. LEGAL CAUSES OF ACTION

                                             COUNT I
                                       PUBLIC NUISANCE
                                      (Against all Defendants)

        265.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

 set forth herein, and further alleges as follows.

        266.    Plaintiff brings an action under Indiana’s common law and a statutory nuisance

 action under Ind. Code § 32-30-6 et seq., which provides that, “Whatever is (1) injurious to health;

 (2) indecent; (3) offensive to the senses; or (4) an obstruction to the free use of property; so as

 essentially to interfere with the comfortable enjoyment of life or property, is a nuisance, and the

 subject of an action.” Ind. Code § 32-30-6-6. Such an action “may . . . be brought by . . . an

 attorney representing the county in which a nuisance exists.” Ind. Code § 32-30-6-7(b)(1). “A

 county, city, or town that brings a successful action under this section to abate or enjoin a nuisance

 is entitled to recover reasonable attorney’s fees incurred in bringing the action.” Ind. Code § 32-

 30-6-7(c).

        267.    Plaintiff alleges that Defendants’ wrongful and illegal actions have created a public

 nuisance. Each Defendant is liable for public nuisance because its conduct at issue has caused an

 unreasonable interference with a right common to the general public.

        268.    The Defendants have intentionally and/or unlawfully created a general nuisance

 throughout Plaintiff’s Community, and myriad specific nuisances from the effects of the opioid

 epidemic throughout Plaintiff’s Community.

        269.    The residents of Plaintiff’s Community have a common right to be free from

 conduct that creates an unreasonable jeopardy to the public health, welfare, and safety, and to be

 free from conduct that creates a disturbance to the enjoyment of their property.




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         270.    Defendants intentionally, unlawfully, and recklessly distribute and sell prescription

  opioids that Defendants know, or reasonably should know, will be diverted, causing widespread

  distribution of prescription opioids in and/or to Plaintiff’s Community, resulting in addiction and

  abuse, an elevated level of crime, death and injuries to the residents of Plaintiff’s Community, a

  higher level of fear, discomfort and inconvenience to the residents of Plaintiff’s Community, and

  direct costs to Plaintiff’s Community. Defendants’ willful decisions to maximize their profit by

  distributing opioids into Plaintiff’s Community, beyond any reasonable medical or other lawful

  necessity, were reasonably and naturally calculated to injure the general public or visitors to

  Plaintiff’s Community.

         271.    Defendants have unlawfully and/or intentionally caused and permitted dangerous

  drugs under their control to be diverted such as to injure the Plaintiff’s Community and its

  residents.

         272.    Defendants have unlawfully and/or intentionally distributed opioids or caused

  opioids to be distributed without maintaining effective controls against diversion. Such conduct

  was illegal. Defendants’ failures to maintain effective controls against diversion include

  Defendants’ failure to effectively monitor for suspicious orders, report suspicious orders, and/or

  stop shipment of suspicious orders.

         273.    Defendants have caused a significant and unreasonable interference with the public

  health, safety, welfare, peace, comfort and convenience, and ability to be free from disturbance of

  the enjoyment of property.

         274.    Defendants’ conduct in illegally distributing and selling prescription opioids, or

  causing such opioids to be distributed and sold, where Defendants know, or reasonably should




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  know, such opioids will be diverted and possessed and/or used illegally in Plaintiff’s Community

  is of a continuing nature.

         275.    Defendants’ actions have been of a continuing nature and have produced a

  significant effect upon the public’s rights, including the public’s right to health and safety.

         276.    A violation of any rule or law controlling the distribution of a drug of abuse in

  Plaintiff’s Community and the State is a public nuisance.

         277.    Defendants’ distribution of opioids while failing to maintain effective controls

  against diversion was proscribed by statute and regulation.

         278.    Defendants’ ongoing conduct produces an ongoing nuisance, as the prescription

  opioids that they allow and/or cause to be illegally distributed and possessed in Plaintiff’s

  Community will be diverted, leading to abuse, addiction, crime, and public health costs.

         279.    Because of the continued use and addiction caused by these illegally distributed

  opioids, the public will continue to fear for its health, safety, and welfare, and will be subjected to

  conduct that creates a disturbance and reasonable apprehension of danger to person and property.

         280.    Defendants know, or reasonably should know, that their conduct will have an

  ongoing detrimental effect upon the public health, safety, and welfare, and the public’s ability to

  be free from disturbance of their enjoyment of property.

         281.    Defendants know, or reasonably should know, that their conduct causes an

  unreasonable invasion of the public right to health, safety, and welfare and the public’s ability to

  be free from disturbance in the enjoyment of their property. These effects flow reasonably and

  naturally from Defendants’ willful choices.

         282.    Defendants are aware, and at a bare minimum certainly should be aware, of the

  unreasonable interference that their conduct has caused in Plaintiff’s Community. Defendants are




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  in the business of manufacturing, marketing, selling, and distributing prescription drugs, including

  opioids, which are specifically known to Defendants to be dangerous under federal law. See, e.g.,

  21 U.S.C. § 812 (b)(2).

         283.    Defendants’ conduct in marketing, distributing, and selling prescription opioids

  which the defendants know, or reasonably should know, will likely be diverted for non-legitimate,

  nonmedical use, creates a strong likelihood that these illegal distributions of opioids will cause

  death and injuries to residents in Plaintiff’s Community and otherwise significantly and

  unreasonably interfere with public health, safety, and welfare, and with the public’s right to be free

  from disturbance of the enjoyment of property.

         284.    It is, or should be, reasonably foreseeable to Defendants that their conduct will

  cause deaths and injuries to residents in Plaintiff’s Community, and will otherwise significantly

  and unreasonably interfere with public health, safety, and welfare, and with the public’s right to

  be free from disturbance of the enjoyment of property.

         285.    The prevalence and availability of diverted prescription opioids in the hands of

  irresponsible persons and persons with criminal purposes in Plaintiff’s Community not only causes

  deaths and injuries, but also creates a palpable climate of fear among residents in Plaintiff’s

  Community where opioid diversion, abuse, and addiction are prevalent and where diverted opioids

  tend to be used frequently.

         286.    Defendants’ conduct makes it easier for persons to divert prescription opioids,

  constituting a dangerous threat to the public.

         287.    Defendants’ actions were, at the least, a substantial factor in opioids becoming

  widely available and widely used for nonmedical purposes. Because of Defendants’ special

  positions within the closed system of opioid distribution, without Defendants’ actions, opioid use




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  would not have become so widespread, and the enormous public health hazard of prescription

  opioid and heroin overuse, abuse, and addiction that now exists would have been averted.

         288.    The presence of diverted prescription opioids in Plaintiff’s Community, and the

  consequence of prescription opioids having been diverted in Plaintiff’s Community, proximately

  results in significant costs to the Plaintiff and to Plaintiff’s Community in order to enforce the law,

  equip its police force and treat the victims of opioid abuse and addiction.

         289.    Stemming the flow of illegally distributed prescription opioids, and abating the

  nuisance caused by the illegal flow of opioids, will help to alleviate this problem, save lives,

  prevent injuries and make Plaintiff’s Community a safer place to live.

         290.    Defendants’ conduct is a direct and proximate cause of deaths and injuries to the

  residents of Plaintiff’s Community, costs borne by Plaintiff’s Community and the Plaintiff, and a

  significant and unreasonable interference with public health, safety and welfare, and with the

  public’s right to be free from disturbance.

         291.    Defendants’ conduct constitutes a public nuisance and, if unabated, will continue

  to threaten the health, safety, and welfare of the residents of Plaintiff’s Community, creating an

  atmosphere of fear and addiction that tears at the residents’ sense of well-being and security.

  Plaintiff has a clearly ascertainable right to abate conduct that perpetuates this nuisance.

         292.    Defendants created a general nuisance. Defendants’ actions created and expanded

  the abuse of opioids, which are dangerously addictive, and the ensuing associated plague of

  prescription opioid and heroin addiction. Defendants knew the dangers to public health and safety

  that diversion of opioids would create in Plaintiff’s Community, however, Defendants

  intentionally and/or unlawfully failed to maintain effective controls against diversion through

  proper monitoring, reporting, and refusal to fill suspicious orders of opioids. Defendants




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  intentionally and/or unlawfully distributed opioids or caused opioids to be distributed without

  reporting or refusing to fill suspicious orders or taking other measures to maintain effective

  controls against diversion. Defendants intentionally and/or unlawfully continued to ship and failed

  to halt suspicious orders of opioids, or caused such orders to be shipped. Defendants intentionally

  and/or unlawfully marketed opioids in manners they knew to be false and misleading. Such actions

  were inherently dangerous.

         293.    Defendants knew the prescription opioids have a high likelihood of being diverted.

  Diversion was foreseeable, reasonable, and a naturally occurring result of Defendants’ choice to

  distribute prescription opioids or to cause such opioids to be distributed without maintaining

  effective controls against diversion, including monitoring, reporting, and refusing shipment of

  suspicious orders; it was just as foreseeable, reasonable, and natural that such diversion would in

  turn create an opioid abuse nuisance in Plaintiff’s Community.

         294.    Defendants acted recklessly, negligently and/or carelessly, in breach of their duties

  to maintain effective controls against diversion, thereby creating an unreasonable risk of harm.

         295.    Defendants acted with the reasonable and natural calculation of creating,

  maintaining, and allowing a general nuisance because Defendants acted with a conscious disregard

  for the rights and safety of other persons, and said actions have a great probability of causing

  substantial harm.

         296.    The damages available to the Plaintiff include, inter alia, recoupment of

  governmental costs, flowing from an ongoing and persistent public nuisance which the government

  seeks to abate. Defendants’ conduct is ongoing and persistent, and the Plaintiff seeks all damages

  flowing from Defendants’ conduct. Plaintiff further seeks to abate the nuisance and harm created

  by Defendants’ conduct.




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         297.    As a direct result of Defendants’ conduct, the Plaintiff and Plaintiff’s Community

  have suffered actual injury and damages including, but not limited to, significant expenses for

  police, emergency, health, prosecution, corrections and other services. The Plaintiff here seeks

  recovery for its own harm.

         298.    The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

  because its damages include, inter alia, health services, law enforcement expenditures, and costs

  related to opioid addiction treatment and overdose prevention.

         299.    The Plaintiff further seeks to abate the nuisance created by the Defendants’

  unreasonable, unlawful, intentional, ongoing, continuing, and persistent actions and omissions and

  interference with a right common to the public.

         300.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

  abatement, compensatory damages, and punitive damages from the Defendants for the creation of

  a public nuisance, attorney’s fees and costs, and pre- and post-judgment interest.

         301.    Defendants’ intentional and unlawful actions and omissions and unreasonable

  interference with a right common to the public are of a continuing nature.

         302.    Defendants are aware, and at a bare minimum certainly should be aware, of the

  unreasonable interference that their conduct has caused in the Plaintiff’s community. Defendants

  are in the business of manufacturing or distributing prescription drugs, including opioids, which

  are specifically known to Defendants to be dangerous because, inter alia, these drugs are defined

  under federal and state law as substances posing a high potential for abuse and severe addiction.

  Defendants created an absolute nuisance. Defendants’ actions created and expanded the abuse of

  opioids, drugs specifically codified as constituting severely harmful substances.




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         303.    The public nuisance created by Defendants’ actions is substantial and

  unreasonable—it has caused and continues to cause significant harm to the community, and the

  harm inflicted outweighs any offsetting benefit. The staggering rates of opioid and heroin use,

  resulting from the Defendants’ abdication of their gate-keeping and diversion prevention duties,

  have caused harm to the entire community that includes, but is not limited to:

             a. The high rates of use leading to unnecessary opioid abuse, addiction, overdose,

                 injuries, and deaths.

             b. Children have fallen victim to the opioid epidemic. Easy access to prescription

                 opioids has made opioids a recreational drug of choice among teenagers. Even

                 infants have been born addicted to opioids due to prenatal exposure, causing severe

                 withdrawal symptoms and lasting developmental impacts.

             c. Even those residents of Plaintiff’s Community who have never taken opioids have

                 suffered from the public nuisance arising from Defendants’ abdication of their gate-

                 keeper duties and fraudulent promotions. Many residents have endured both the

                 emotional and financial costs of caring for loved ones addicted to or injured by

                 opioids, and the loss of companionship, wages, or other support from family

                 members who have used, abused, become addicted to, overdosed on, or been killed

                 by opioids.

             d. The opioid epidemic has increased health care costs.

             e. Employers have lost the value of productive and healthy employees.

             f. Defendants’ conduct created an abundance of drugs available for criminal use and

                 fueled a new wave of addiction, abuse, and injury.




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             g. Defendants’ dereliction of duties and/or fraudulent misinformation campaign

                 pushing dangerous drugs resulted in a diverted supply of narcotics to sell, and the

                 ensuing demand of addicts to buy them. More prescription opioids sold by

                 Defendants led to more addiction, with many addicts turning from prescription

                 opioids to heroin. People addicted to opioids frequently require increasing levels of

                 opioids, and many turned to heroin as a foreseeable result.

             h. The diversion of opioids into the secondary, criminal market and the increased

                 number of individuals who abuse or are addicted to opioids increased the demands

                 on health care services and law enforcement.

             i. The significant and unreasonable interference with the public rights caused by

                 Defendants’ conduct taxed the human, medical, public health, law enforcement,

                 and financial resources of the Plaintiff’s Community.

             j. Defendants’ interference with the comfortable enjoyment of life in the Plaintiff’s

                 Community is unreasonable because there is little social utility to opioid diversion

                 and abuse, and any potential value is outweighed by the gravity of the harm inflicted

                 by Defendants’ actions.

             k. The Plaintiff and Plaintiff’s Community have sustained specific and special injuries

                 because its damages include, inter alia, health services and law enforcement

                 expenditures, as described in this Complaint.

         304.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

  losses) resulting from Defendants’ fraudulent activity and fraudulent misrepresentations. Plaintiff

  does not seek damages for the wrongful death, physical personal injury, serious emotional distress,

  or any physical damage to property caused by Defendants’ actions.




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         305.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

  damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

  profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

  Defendants, attorney’s fees and costs, and pre- and post-judgment interest.

                                      COUNT II
           RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                                 18 U.S.C. 1961, et seq.
                (Against Purdue, Cephalon, Janssen, Endo, Mallinckrodt,
                 Actavis, McKesson, Cardinal, and AmerisourceBergen)

         306.     Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

         307.    Plaintiff brings this Count on behalf of itself against the following Defendants, as

  defined above: Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

  AmerisourceBergen (collectively, for purposes of this Count, the “RICO Defendants”).

         308.    The RICO Defendants conducted and continue to conduct their business through

  legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

  entity enterprise. At all relevant times, the RICO Defendants were “persons” under 18 U.S.C. §

  1961(3) because they are entities capable of holding, and do hold, “a legal or beneficial interest in

  property.”

         309.    Section 1962(c) of RICO makes it unlawful “for any person employed by or

  associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

  commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise’s

  affairs through a pattern of racketeering activity or collection of unlawful debt.” 18 U.S.C. §

  1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).




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         310.    The term “enterprise” is defined as including “any individual, partnership,

  corporation, association, or other legal entity, and any union or group of individuals associated in

  fact although not a legal entity.” 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v. U.S., 556

  U.S. 938, 944 (2009). “Enterprise”, as defined in in Section 1961(4), includes legitimate and

  illegitimate enterprises within its scope. Specifically, the section “describes two separate

  categories of associations that come within the purview of an ‘enterprise’ -- the first encompassing

  organizations such as corporations, partnerships, and other ‘legal entities,’ and the second covering

  ‘any union or group of individuals associated in fact although not a legal entity.’” Turkette, 452

  U.S. at 577. The second category is not a more generalized description of the first. Id.

         311.    For over a decade, the RICO Defendants aggressively sought to bolster their

  revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

  and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

  are not permitted to engage in a limitless expansion of their market through the unlawful sales of

  regulated painkillers. As “registrants,” the RICO Defendants operated and continue to operate

  within the “closed-system” created under the Controlled Substances Act, 21 U.S.C. § 821, et seq.

  (the “CSA”). The CSA restricts the RICO Defendants’ ability to manufacture or distribute

  Schedule II substances like opioids by requiring them to: (1) register to manufacture or distribute

  opioids; (2) maintain effective controls against diversion of the controlled substances that they

  manufacture or distribute; (3) design and operate a system to identify suspicious orders of

  controlled substances, halt such unlawful sales, and report them to the DEA; and (4) make sales

  within a limited quota set by the DEA for the overall production of Schedule II substances like

  opioids.




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             312.      The closed-system created by the CSA, including the establishment of quotas, was

  specifically intended to reduce or eliminate the diversion of Schedule II substances like opioids

  from “legitimate channels of trade” to the illicit market by controlling the quantities of the basic

  ingredients needed for the manufacture of [controlled substances].”139

             313.      Finding it impossible to legally achieve their ever increasing sales ambitions,

  members of the Opioid Diversion Enterprise (as defined below) systematically and fraudulently

  violated their statutory duty to maintain effective controls against diversion of their drugs, to

  design and operate a system to identify suspicious orders of their drugs, to halt unlawful sales of

  suspicious orders, and to notify the DEA of suspicious orders.140 As discussed in detail below,

  through the RICO Defendants’ scheme, members of the Opioid Diversion Enterprise repeatedly

  engaged in unlawful sales of painkillers which, in turn, artificially and illegally increased the

  annual production quotas for opioids allowed by the DEA. 141 In doing so, the RICO Defendants

  allowed hundreds of millions of pills to enter the illicit market which allowed them to generate

  obscene profits.

             314.      Defendants’ illegal scheme was hatched by an association-in-fact enterprise

  between the Manufacturer Defendants and the Distributor Defendants, and executed in perfect

  harmony by each of them. In particular, each of the RICO Defendants were associated with, and

  conducted or participated in, the affairs of the RICO enterprise (defined below and referred to

  collectively as the “Opioid Diversion Enterprise”), whose purpose was to engage in the unlawful

  sales of opioids and deceive the public and federal and state regulators into believing that the RICO


  139
     1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
  Narcotics      Control,     United        States       Senate,     May      5,     2015       (available      at
  https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
  140
        21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
  141
        21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.



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  Defendants were faithfully fulfilling their statutory obligations. The RICO Defendants’ scheme

  allowed them to make billions in unlawful sales of opioids and, in turn, increase and/or maintain

  high production quotas with the purpose of ensuring unlawfully increasing revenues, profits, and

  market share. As a direct result of the RICO Defendants’ fraudulent scheme, course of conduct,

  and pattern of racketeering activity, they were able to extract billions of dollars of revenue from

  the addicted American public, while entities like the Plaintiff experienced tens of millions of

  dollars of injury caused by the reasonably foreseeable consequences of the prescription opioid

  addiction epidemic. As explained in detail below, the RICO Defendants’ misconduct violated

  Section 1962(c) and Plaintiff is entitled to treble damages for its injuries under 18 U.S.C. § 1964(c).

          315.     Alternatively, the RICO Defendants were members of a legal entity enterprise

  within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

  pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

  the Healthcare Distribution Alliance (the “HDA”)142 is a distinct legal entity that satisfies the

  definition of a RICO enterprise. The HDA is a non-profit corporation formed under the laws of

  the District of Columbia and doing business in Virginia. HDA qualifies as an “enterprise” within

  the definition set out in 18 U.S.C. § 1961(4) because it is a corporation and a legal entity.

          316.     On information and belief, each of the RICO Defendants is a member, participant,

  and/or sponsor of the HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and

  to engage in the pattern of racketeering activity that gives rise to the Count.

          317.     Each of the RICO Defendants is a legal entity separate and distinct from the HDA.

  And, the HDA serves the interests of distributors and manufacturers beyond the RICO Defendants.




  142
      Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on September 15, 2017),
  https://www.healthcaredistribution.org/about/hda-history.



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  Therefore, the HDA exists separately from the Opioid Diversion Enterprise, and each of the RICO

  Defendants exists separately from the HDA. Therefore, the HDA may serve as a RICO enterprise.

             318.    The legal and association-in-fact enterprises alleged in the previous and subsequent

  paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion Enterprise

  by engaging in a pattern of racketeering activity. Therefore, the legal and association-in-fact

  enterprises alleged in the previous and subsequent paragraphs are pleaded in the alternative and

  are collectively referred to as the “Opioid Diversion Enterprise.”

                              A. THE OPIOID DIVERSION ENTERPRISE

             319.    Recognizing that there is a need for greater scrutiny over controlled substances due

  to their potential for abuse and danger to public health and safety, the United States Congress

  enacted the Controlled Substances Act in 1970.143 The CSA and its implementing regulations

  created a closed-system of distribution for all controlled substances and listed chemicals.144

  Congress specifically designed the closed chain of distribution to prevent the diversion of legally

  produced controlled substances into the illicit market.145 As reflected in comments from United

  States Senators during deliberation on the CSA, the “[CSA] is designed to crack down hard on the

  narcotics pusher and the illegal diverters of pep pills and goof balls.”146 When it enacted the CSA,

  Congress was concerned with the diversion of drugs out of legitimate channels of distribution, and

  acted to halt the “widespread diversion of [controlled substances] out of legitimate channels into


  143
     Joseph T. Rannazzisi Decl. ¶ 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
  cv-185 (Document 14-2 February 10, 2012).
  144
        See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
  145
     Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§ 821-824, 827, 880; H.R. Rep. No.
  91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).


  146
     See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments of Sen. Dodd, Jan
  23, 1970).



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  the illegal market.”147 Moreover, the closed-system was specifically designed to ensure that there

  are multiple ways of identifying and preventing diversion through active participation by

  registrants within the drug delivery chain.148 All registrants -- manufacturers and distributors alike

  -- must adhere to the specific security, recordkeeping, monitoring and reporting requirements that

  are designed to identify or prevent diversion.149 When registrants at any level fail to fulfill their

  obligations, the necessary checks and balances collapse.150 The result is the scourge of addiction

  that has occurred.

              320.   In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

  reminding them of their obligation to maintain effective controls against diversion of particular

  controlled substances, design and operate a system to disclose suspicious orders, and inform the

  DEA of any suspicious orders.151 The DEA also published suggested questions that a distributor

  should ask prior to shipping controlled substances, in order to “know their customers.”152

              321.   Central to the closed-system created by the CSA was the directive that the DEA

  determine quotas of each basic class of Schedule I and II controlled substances each year. The

  quota system was intended to reduce or eliminate diversion from “legitimate channels of trade” by



  147
     See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
  Senate, May 5, 2015 (available at
  https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
  148
     See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control United States
  Senate, July 18, 2012 (available at
  https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-dea-rannazzisi.pdf).
  149
        Id.
  150
     Joseph T. Rannazzisi Decl. ¶ 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General, D.D.C. Case No. 12-
  cv-185 (Document 14-2 February 10, 2012).
  151
    Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006); Joseph T. Rannazzisi, In
  Reference to Registration # RC0183080 (December 27, 2007).
  152
     Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
  Administration (available at
  https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).



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  controlling the “quantities of the basic ingredients needed for the manufacture of [controlled

  substances], and the requirement of order forms for all transfers of these drugs.”153 When

  evaluating production quotas, the DEA was instructed to consider the following information:

                  a. Information provided by the Department of Health and Human Services;

                  b. Total net disposal of the basic class by all manufacturers;

                  c. Trends in the national rate of disposal of the basic class;

                  d. An applicant’s production cycle and current inventory position;

                  e. Total actual or estimated inventories of the class and of all substances manufactured

                       from the class and trends in inventory accumulation; and

                  f. Other factors such as: changes in the currently accepted medical use of substances

                       manufactured for a basic class; the economic and physical availability of raw

                       materials; yield and sustainability issues; potential disruptions to production; and

                       unforeseen emergencies.154

              322.     It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

  like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

  assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA.155

              323.     At all relevant times, the RICO Defendants operated as an association-in-fact

  enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

  disregarding their statutory duty to identify, investigate, halt and report suspicious orders of


  153
     1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the Caucus on International
  Narcotics      Control,     United        States       Senate,     May      5,     2015       (available      at
  https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
  154
     See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics Control, United State
  Senate, May 5, 2015 (available at
  https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
  155
        Id. (citing 21 U.S.C. 842(b)).



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  opioids and diversion of their drugs into the illicit market, in order to unlawfully increase the

  quotas set by the DEA and allow them to collectively benefit from the unlawful formation of a

  greater pool of prescription opioids from which to profit. Through this enterprise, the RICO

  Defendants conducted their pattern of racketeering activity in this jurisdiction and throughout the

  United States.

          324.     The opioid epidemic has its origins in the mid-1990s when, between 1997 and 2007,

  per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-fold, and 9-

  fold, respectively. By 2010, enough prescription opioids were sold in the United States to medicate

  every adult in the country with a dose of 5 milligrams of hydrocodone every 4 hours for 1 month.156

  On information and belief, the Opioid Diversion Enterprise has been ongoing for at least the last

  decade.157

          325.     The Opioid Diversion Enterprise was and is a shockingly successful endeavor. The

  Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis. But, it

  was not until recently that United States and State regulators finally began to unravel the extent of

  the enterprise and the toll that it exacted on the American public.

          326.     At all relevant times, the Opioid Diversion Enterprise: (a) had an existence separate

  and distinct from each RICO Defendant; (b) was separate and distinct from the pattern of

  racketeering in which the RICO Defendants engaged; (c) was an ongoing and continuing

  organization consisting of legal entities, including each of the RICO Defendants; (d) was

  characterized by interpersonal relationships among the RICO Defendants; (e) had sufficient


  156
     Keyes KM, Cerdá M, Brady JE, Havens JR, Galea S. Understanding the rural-urban differences in nonmedical
  prescription opioid use and abuse in the United States. Am J Public Health. 2014;104(2):e52-9.
  157
     Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
  (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
  shaped-policy-amid-drug-epidemic.



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  longevity for the enterprise to pursue its purpose; and (f) functioned as a continuing unit. Turkette,

  452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). Each member of the Opioid Diversion Enterprise

  participated in the conduct of the enterprise, including patterns of racketeering activity, and shared

  in the astounding growth of profits supplied by fraudulently inflating opioid sales generated as a

  result of the Opioid Diversion Enterprise’s disregard for their duty to prevent diversion of their

  drugs into the illicit market and then requesting the DEA increase production quotas, all so that

  the RICO Defendants would have a larger pool of prescription opioids from which to profit.

          327.     The Opioid Diversion Enterprise also engaged in efforts to lobby against the DEA’s

  authority to hold the RICO Defendants liable for disregarding their duty to prevent diversion.

  Members of the Pain Care Forum (described in greater detail below) and the Healthcare

  Distribution Alliance lobbied for the passage of legislation to weaken the DEA’s enforcement

  authority. The Ensuring Patient Access and Effective Drug Enforcement Act significantly reduced

  the DEA’s ability to issue orders to show cause and to suspend and/or revoke registrations158 The

  HDA and other members of the Pain Care Forum contributed substantial amounts of money to

  political campaigns for federal candidates, state candidates, political action committees and

  political parties. Plaintiff is informed and believes that the Pain Care Forum and its members

  poured millions of dollars into lobbying efforts in this jurisdiction while the HDA devoted the

  same level of money to its lobbying efforts between 2011 and 2016.



  158
     See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
  6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;
  Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out
  of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
  while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;
  Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
  Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
  investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
  Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
  http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.



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         328.    The Opioid Diversion Enterprise functioned by selling prescription opioids. While

  there are some legitimate uses and/or needs for prescription opioids, the RICO Defendants, through

  their illegal enterprise, engaged in a pattern of racketeering activity, that involved a fraudulent

  scheme to increase revenue by violating state and federal laws requiring the maintenance of

  effective controls against diversion of prescription opioids, and the identification, investigation,

  and reporting of suspicious orders of prescription opioids destined for the illicit drug market. The

  goal of Defendants’ scheme was to increase profits from opioid sales. But, Defendants’ profits

  were limited by the production quotas set by the DEA, so the Defendants refused to identify,

  investigate and/or report suspicious orders of their prescription opioids being diverted into the

  illicit drug market. The end result of this strategy was to increase and maintain artificially high

  production quotas of opioids so that there was a larger pool of opioids for Defendants to

  manufacture and distribute for public consumption.

         329.    The Opioid Diversion Enterprise engaged in, and its activities affected, interstate

  and foreign commerce because the enterprise involved commercial activities across state lines,

  such as manufacture, sale, distribution, and shipment of prescription opioids throughout the

  country and this jurisdiction, and the corresponding payment and/or receipt of money from the sale

  of the same.

         330.    Within the Opioid Diversion Enterprise, there were interpersonal relationships and

  common communication by which the RICO Defendants shared information on a regular basis.

  These interpersonal relationships also formed the organization of the Opioid Diversion Enterprise.

  The members of the Opioid Diversion Enterprise used their interpersonal relationships and

  communication network for the purpose of conducting the enterprise through a pattern of

  racketeering activity.




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          331.     Each of the RICO Defendants had a systematic link to each other through joint

  participation in lobbying groups, trade industry organizations, contractual relationships and

  continuing coordination of activities. The RICO Defendants participated in the operation and

  management of the Opioid Diversion Enterprise by directing its affairs, as described herein. While

  the RICO Defendants participated in, and are members of, the enterprise, they each have a separate

  existence from the enterprise, including distinct legal statuses, different offices and roles, bank

  accounts, officers, directors, employees, individual personhood, reporting requirements, and

  financial statements.

          332.     The RICO Defendants exerted substantial control over the Opioid Diversion

  Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

  relationships.

          333.     The Pain Care Forum (“PCF”) has been described as a coalition of drugmakers,

  trade groups and dozens of non-profit organizations supported by industry funding. The PCF

  recently became a national news story when it was discovered that lobbyists for members of the

  PCF quietly shaped federal and state policies regarding the use of prescription opioids for more

  than a decade.

          334.     The Center for Public Integrity and The Associated Press obtained “internal

  documents shed[ding] new light on how drugmakers and their allies shaped the national response

  to the ongoing wave of prescription opioid abuse.”159 Specifically, PCF members spent over $740




  159
     Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
  (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
  shaped-policy-amid-drug-epidemic (emphasis added).



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  million lobbying in the nation’s capital and in all 50 statehouses on an array of issues, including

  opioid-related measures.160

              335.    Not surprisingly, each of the RICO Defendants who stood to profit from lobbying

  in favor of prescription opioid use is a member of and/or participant in the PCF. 161 In 2012,

  membership and participating organizations included the HDA (of which all RICO Defendants are

  members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen Pharmaceuticals),

  Actavis (i.e., Allergan), and Teva (the parent company of Cephalon).162 Each of the Manufacturer

  Defendants worked together through the PCF to advance the interests of the enterprise. But, the

  Manufacturer Defendants were not alone. The Distributor Defendants actively participated, and

  continue to participate in the PCF, at a minimum, through their trade organization, the HDA. 163

  Plaintiff is informed and believes that the Distributor Defendants participated directly in the PCF

  as well.

              336.    The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing

  regarding the extent of Defendants’ interpersonal relationships. The meeting schedule indicates

  that meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a monthly basis,

  unless otherwise noted. Local members were “encouraged to attend in person” at the monthly




  160
        Id.
  161
         PAIN      CARE      FORUM      2012    Meetings   Schedule, (last updated   December                    2011),
  https://assets.documentcloud.org/documents/3108982/PAIN-CARE-FORUM-Meetings-Schedule-amp.pdf.
  162
        Id. Plaintiff is informed and believes that Mallinckrodt became an active member of the PCF sometime after 2012.


  163
     Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the Chief Executive Officer,
  Pharmaceutical Segment for Cardinal Health, Inc., the Group President, Pharmaceutical Distribution and Strategic
  Global Source for AmerisourceBergen Corporation, and the President, U.S. Pharmaceutical for McKesson
  Corporation. Executive Committee, Healthcare Distribution Alliance (accessed on September 14, 2017),
  https://www.healthcaredistribution.org/about/executive-committee.



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  meetings. And, the meeting schedule indicates that the quarterly and year-end meetings included

  a “Guest Speaker.”

         337.    The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

  Defendants participated in meetings on a monthly basis, either directly or through their trade

  organization, in a coalition of drugmakers and their allies whose sole purpose was to shape the

  national response to the ongoing prescription opioid epidemic, including the concerted lobbying

  efforts that the PCF undertook on behalf of its members.

         338.    Second, the HDA — Healthcare Distribution Alliance — led to the formation of

  interpersonal relationships and an organization between the RICO Defendants. Although the entire

  HDA membership directory is private, the HDA website confirms that each of the Distributor

  Defendants and the Manufacturer Defendants named in the Complaint, including Actavis (i.e.,

  Allergan), Endo, Purdue, Mallinckrodt and Cephalon, were members of the HDA.164 And, the

  HDA and each of the Distributor Defendants eagerly sought the active membership and

  participation of the Manufacturer Defendants by advocating that one of the benefits of membership

  included the ability to develop direct relationships between manufacturers and distributors at high

  executive levels.

         339.    In fact, the HDA touted the benefits of membership to the Manufacturer

  Defendants, advocating that membership included the ability to, among other things, “network one

  on one with manufacturer executives at HDA’s members-only Business and Leadership

  Conference,” “network[] with HDA wholesale distributor members,” “host and sponsor HDA

  Board of Directors events,” “participate on HDA committees, task forces and working groups with




  164
       Manufacturer Membership, Healthcare Distribution Alliance, (accessed on September 14, 2017),
  https://www.healthcaredistribution.org/about/membership/manufacturer.



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  peers and trading partners,” and “make connections.”165 Clearly, the HDA and the Distributor

  Defendants believed that membership in the HDA was an opportunity to create interpersonal and

  ongoing organizational relationships between the Manufacturer and Distributor Defendants.

              340.   The application for manufacturer membership in the HDA further indicates the

  level of connection that existed between the RICO Defendants.166 The manufacturer membership

  application must be signed by a “senior company executive,” and it requests that the manufacturer

  applicant identify a key contact and any additional contacts from within its company. The HDA

  application also requests that the manufacturer identify its current distribution information and its

  most recent year-end net sales through any HDA distributors, including but not limited to,

  Defendants AmerisourceBergen, Cardinal Health, and McKesson.167

              341.   After becoming members, the Distributors and Manufacturers were eligible to

  participate on councils, committees, task forces and working groups, including:

                 a. Industry Relations Council: “This council, composed of distributor and

                     manufacturer members, provides leadership on pharmaceutical distribution and

                     supply chain issues.”168

                 b. Business Technology Committee: “This committee provides guidance to HDA and

                     its members through the development of collaborative e-commerce business

                     solutions. The committee’s major areas of focus within pharmaceutical distribution



  165
      Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on September 14, 2017),
  https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-benefits.ashx?la=en.
  166
      Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on September 14, 2017),
  https://www.healthcaredistribution.org/~/media/pdfs/membership/manufacturer-membership-
  application.ashx?la=en.
  167
        Id.
  168
       Councils and Committees, Healthcare Distribution Alliance, (accessed on September 14, 2017),
  https://www.healthcaredistribution.org/about/councils-and-committees



                                                     117
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                 include information systems, operational integration and the impact of e-

                 commerce.” Participation in this committee includes distributors and manufacturer

                 members.169

              c. Health, Beauty and Wellness Committee: “This committee conducts research, as

                 well as creates and exchanges industry knowledge to help shape the future of the

                 distribution for health, beauty and wellness/consumer products in the healthcare

                 supply chain.”      Participation in this committee includes distributors and

                 manufacturer members.170

              d. Logistics Operation Committee: “This committee initiates projects designed to help

                 members enhance the productivity, efficiency and customer satisfaction within the

                 healthcare supply chain. Its major areas of focus include process automation,

                 information systems, operational integration, resource management and quality

                 improvement.”      Participation in this committee includes distributors and

                 manufacturer members.171

              e. Manufacturer Government Affairs Advisory Committee: “This committee provides

                 a forum for briefing HDA’s manufacturer members on federal and state legislative

                 and regulatory activity affecting the pharmaceutical distribution channel. Topics

                 discussed include such issues as prescription drug traceability, distributor licensing,

                 FDA and DEA regulation of distribution, importation and Medicaid/Medicare




  169
        Id.
  170
        Id.
  171
        Id.



                                                  118
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                     reimbursement.”   Participation   in   this   committee   includes   manufacturer

                     members.172

                 f. Bar Code Task Force: Participation includes Distributor, Manufacturer and Service

                     Provider Members.173

                 g. eCommerce Task Force: Participation includes Distributor, Manufacturer and

                     Service Provider Members.174

                 h. ASN Working Group: Participation includes Distributor, Manufacturer and Service

                     Provider Members.175

                 i. Contracts and Chargebacks Working Group: “This working group explores how

                     the contract administration process can be streamlined through process

                     improvements or technical efficiencies. It also creates and exchanges industry

                     knowledge of interest to contract and chargeback professionals.” Participation

                     includes Distributor and Manufacturer Members.176

              342.   The councils, committees, task forces and working groups provided the

  Manufacturer and Distributor Defendants with the opportunity to work closely together in shaping

  their common goals and forming the enterprise’s organization.

              343.   The HDA also offers a multitude of conferences, including annual business and

  leadership conferences. The HDA and the Distributor Defendants advertise these conferences to

  the Manufacturer Defendants as an opportunity to “bring together high-level executives, thought



  172
        Id.
  173
        Id.
  174
        Id.
  175
        Id.
  176
        Id.



                                                    119
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  leaders and influential managers . . . to hold strategic business discussions on the most pressing

  industry issues.”177 The conferences also gave the Manufacturer and Distributor Defendants

  “unmatched opportunities to network with [their] peers and trading partners at all levels of the

  healthcare distribution industry.”178 The HDA and its conferences were significant opportunities

  for the Manufacturer and Distributor Defendants to interact at a high-level of leadership. And, it

  is clear that the Manufacturer Defendants embraced this opportunity by attending and sponsoring

  these events.179

              344.   Third, the RICO Defendants maintained their interpersonal relationships by

  working together, exchanging information, and driving the unlawful sales of their opioids through

  their contractual relationships, including chargebacks and vault security programs.

              345.   The Manufacturer Defendants engaged in an industry-wide practice of paying

  rebates and/or chargebacks to the Distributor Defendants for sales of prescription opioids.180 As

  reported in the Washington Post, identified by Senator McCaskill, and acknowledged by the HDA,

  there is an industry-wide practice whereby the Manufacturer Defendants paid the Distributor

  Defendants rebates and/or chargebacks on their prescription opioid sales.181 On information and


  177
     Business and Leadership Conference – Information for Manufacturers, Healthcare Distribution Alliance, (accessed
  on    September     14,     2017),   https://www.healthcaredistribution.org/events/2015-business-and-leadership-
  conference/blc-for-manufacturers.
  178
        Id.
  179
     2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance, (accessed on September
  14, 2017), https://www.healthcaredistribution.org/events/2015-distribution-management-conference.
  180
      Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
  Washington        Post,   (April     2,   2017),     https://www.washingtonpost.com/graphics/investigations/dea-
  mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27, 2017),
  https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-manufacturers.png; Letter from
  Sen. Claire McCaskill, (July 27, 2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-
  investigation-letter-manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
  https://www.mccaskill.senate.gov/opioid-investigation; Purdue Managed Markets, Purdue Pharma, (accessed on
  September 14, 2017), http://www.purduepharma.com/payers/managed-markets/.
  181
        Id.



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  belief, these contracts were negotiated at the highest levels, demonstrating ongoing relationships

  between the Manufacturer and Distributor Defendants. In return for the rebates and chargebacks,

  the Distributor Defendants provided the Manufacturer Defendants with detailed information

  regarding their prescription opioid sales, including purchase orders, acknowledgements, ship

  notices, and invoices.182 The Manufacturer Defendants used this information to gather high-level

  data regarding overall distribution and direct the Distributor Defendants on how to most effectively

  sell the prescription opioids.

          346.     The contractual relationships among the RICO Defendants also include vault

  security programs. The RICO Defendants are required to maintain certain security protocols and

  storage facilities for the manufacture and distribution of their opiates. Plaintiff is informed and

  believes that the Manufacturers negotiated agreements whereby the Manufacturers installed

  security vaults for the Distributors in exchange for agreements to maintain minimum sales

  performance thresholds. Plaintiff is informed and believes that these agreements were used by the

  RICO Defendants as a tool to violate their reporting and diversion duties in order to reach the

  required sales requirements.

          347.     Taken together, the interaction and length of the relationships between and among

  the Manufacturer and Distributor Defendants reflects a deep level of interaction and cooperation

  between two groups in a tightly knit industry. The Manufacturer and Distributor Defendants were

  not two separate groups operating in isolation or two groups forced to work together in a closed

  system. The RICO Defendants operated together as a united entity, working together on multiple

  fronts, to engage in the unlawful sale of prescription opioids. The HDA and the Pain Care Forum




  182
          Webinars,   Healthcare      Distribution    Alliance,    (accessed   on   September   14,   2017),
  https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.



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  are but two examples of the overlapping relationships and concerted joint efforts to accomplish

  common goals, and demonstrate that the leaders of each of the RICO Defendants were in

  communication and cooperation.

              348.   According to articles published by the Center for Public Integrity and The

  Associated Press, the Pain Care Forum -- whose members include the Manufacturers and the

  Distributors’ trade association -- has been lobbying on behalf of the Manufacturers and

  Distributors for “more than a decade.”183 And, from 2006 to 2016, the Distributors and

  Manufacturers worked together through the Pain Care Forum to spend over $740 million lobbying

  in the nation’s capital and in all 50 statehouses on issues including opioid-related measures.184

  Similarly, the HDA has continued its work on behalf of Distributors and Manufacturers, without

  interruption, since at least 2000, if not longer.185

              349.   As described above, the RICO Defendants began working together as early as 2006

  through the Pain Care Forum and/or the HDA to promote the common purpose of their enterprise.

  Plaintiff is informed and believes that the RICO Defendants worked together as an ongoing and

  continuous organization throughout the existence of their enterprise.

                            B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

              350.   During the time period alleged in this Complaint, the RICO Defendants exerted

  control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

  failing to comply with their federal and state obligations to identify, investigate and report



  183
     Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The Center for Public Integrity
  (September 19, 2017, 12:01 a.m.), https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-chamber-
  shaped-policy-amid-drug-epidemic.
  184
        Id.
  185
         HDA History, Healthcare Distribution Alliance,              (accessed    on    September     14,   2017),
  https://www.healthcaredistribution.org/about/hda-history.



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  suspicious orders of opioids in order to prevent diversion of those highly addictive substances into

  the illicit market, to halt such unlawful sales and, in doing so, to increase production quotas and

  generate unlawful profits, as follows:

         351.    Defendants disseminated false and misleading statements to the public claiming

  that they were complying with their obligations to maintain effective controls against diversion of

  their prescription opioids.

         352.    Defendants disseminated false and misleading statements to the public claiming

  that they were complying with their obligations to design and operate a system to disclose to the

  registrant suspicious orders of their prescription opioids.

         353.    Defendants disseminated false and misleading statements to the public claiming

  that they were complying with their obligation to notify the DEA of any suspicious orders or

  diversion of their prescription opioids.

         354.    Defendants paid nearly $800 million dollars to influence local, state and federal

  governments through joint lobbying efforts as part of the Pain Care Forum. The RICO Defendants

  were all members of the Pain Care Forum, either directly or indirectly through the HDA. The

  lobbying efforts of the Pain Care Forum and its members included efforts to pass legislation

  making it more difficult for the DEA to suspend and/or revoke the Manufacturers’ and

  Distributors’ registrations for failure to report suspicious orders of opioids.

         355.    The RICO Defendants exercised control and influence over the distribution

  industry by participating and maintaining membership in the HDA.

         356.    The RICO Defendants applied political and other pressure on the DOJ and DEA to

  halt prosecutions for failure to report suspicious orders of prescription opioids and lobbied




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  Congress to strip the DEA of its ability to immediately suspend registrations pending investigation

  by passing the “Ensuring Patient Access and Effective Drug Enforcement Act.”186

          357.     The RICO Defendants engaged in an industry-wide practice of paying rebates and

  chargebacks to incentivize unlawful opioid prescription sales. Plaintiff is informed and believes

  that the Manufacturer Defendants used the chargeback program to acquire detailed high-level data

  regarding sales of the opioids they manufactured. And, Plaintiff is informed and believes that the

  Manufacturer Defendants used this high-level information to direct the Distributor Defendants’

  sales efforts to regions where prescription opioids were selling in larger volumes.

          358.     Year after year, the Manufacturer Defendants lobbied the DEA to increase

  Aggregate Production Quotas by submitting net disposal information that the Manufacturer

  Defendants knew included sales that were suspicious and involved the diversion of opioids that

  had not been properly investigated or reported by the RICO Defendants.

          359.     The Distributor Defendants developed “know your customer” questionnaires and

  files. This information, compiled pursuant to comments from the DEA in 2006 and 2007, was

  intended to help the RICO Defendants identify suspicious orders or customers who were likely to

  divert prescription opioids.187 On information and belief, the “know your customer” questionnaires


  186
     See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June 13, 2016, updated July
  6, 2016), http://pharmaceuticalcommerce.com/business-and-finance/hdma-now-healthcare-distribution-alliance/;
  Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out
  of Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-
  while-the-opioid-epidemic-grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13-d7c704ef9fd9_story.html;
  Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA Enforcement Slowdown
  Amid Opioid Crisis, Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-
  investigation-of-dea-enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
  Eyre, DEA Agent: “We Had no Leadership” in WV Amid Flood of Pain Pills, Charleston Gazette-Mail, Feb. 18, 2017,
  http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-flood-of-pain-pills-.
  187
      Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug Enforcement
  Administration (available at https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf);
  Richard Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA, Purdue
  Pharma      and      McQuite        Woods     LLC,      (available   at    https://www.mcguirewoods.com/news-
  resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).



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  informed the RICO Defendants of the number of pills that the pharmacies sold, how many non-

  controlled substances are sold compared to controlled substances, whether the pharmacy buys from

  other distributors, and the types of medical providers in the area, including pain clinics, general

  practitioners, hospice facilities, and cancer treatment facilities, among others.                     These

  questionnaires put the recipients on notice of suspicious orders.

              360.   The RICO Defendants refused to identify, investigate and report suspicious orders

  to the DEA when they became aware of the same despite their actual knowledge of drug diversion

  rings. The RICO Defendants refused to identify suspicious orders and diverted drugs despite the

  DEA issuing final decisions against the Distributor Defendants in 178 registrant actions between

  2008 and 2012188 and 117 recommended decisions in registrant actions from The Office of

  Administrative Law Judges. These numbers include 76 actions involving orders to show cause and

  41 actions involving immediate suspension orders -- all for failure to report suspicious orders.189

              361.   Defendants’ scheme had a decision-making structure that was driven by the

  Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

  Defendants worked together to control the state and federal government response to the

  manufacture and distribution of prescription opioids by increasing production quotas through a

  systematic refusal to maintain effective controls against diversion, and identify suspicious orders

  and report them to the DEA.

              362.   The RICO Defendants worked together to control the flow of information and

  influence state and federal governments and political candidates to pass legislation that was pro-




    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
  188

  Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.
  189
        Id.



                                                      125
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  opioid. The Manufacturer and Distributor Defendants did this through their participation in the

  Pain Care Forum and Healthcare Distributors Alliance.

         363.   The RICO Defendants also worked together to ensure that the Aggregate

  Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed high,

  and ensured that suspicious orders were not reported to the DEA. By not reporting suspicious

  orders or diversion of prescription opioids, the RICO Defendants ensured that the DEA had no

  basis for refusing to increase or decrease the production quotas for prescription opioids due to

  diversion of suspicious orders. The RICO Defendants influenced the DEA production quotas in

  the following ways:

             a. The Distributor Defendants assisted the enterprise and the Manufacturer

                Defendants in their lobbying efforts through the Pain Care Forum;

             b. The Distributor Defendants invited the participation, oversight and control of the

                Manufacturer Defendants by including them in the HDA, including on the councils,

                committees, task forces, and working groups;

             c. The Distributor Defendants provided sales information to the Manufacturer

                Defendants regarding their prescription opioids, including reports of all opioid

                prescriptions filled by the Distributor Defendants;

             d. The Manufacturer Defendants used a chargeback program to ensure delivery of the

                Distributor Defendants’ sales information;




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               e. The Manufacturer Defendants obtained sales information from QuintilesIMS

                    (formerly IMS Health) that gave them a “stream of data showing how individual

                    doctors across the nation were prescribing opioids.”190

               f. The Distributor Defendants accepted rebates and chargebacks for orders of

                    prescription opioids;

               g. The Manufacturer Defendants used the Distributor Defendants’ sales information

                    and the data from QuintilesIMS to instruct the Distributor Defendants to focus their

                    distribution efforts to specific areas where the purchase of prescription opioids was

                    most frequent;

               h. The RICO Defendants identified suspicious orders of prescription opioids and then

                    continued filling those unlawful orders, without reporting them, knowing that they

                    were suspicious and/or being diverted into the illicit drug market;

               i. The RICO Defendants refused to report suspicious orders of prescription opioids

                    despite repeated investigation and punishment of the Distributor Defendants by the

                    DEA for failure to report suspicious orders; and

               j. The RICO Defendants withheld information regarding suspicious orders and illicit

                    diversion from the DEA because it would have revealed that the “medical need”

                    for and the net disposal of their drugs did not justify the production quotas set by

                    the DEA.

           364.     The scheme devised and implemented by the RICO Defendants amounted to a

  common course of conduct characterized by a refusal to maintain effective controls against




  190
     Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
  drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/



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  diversion, and all designed and operated to ensure the continued unlawful sale of controlled

  substances.

                         C. PATTERN OF RACKETEERING ACTIVITY.

         365.    The RICO Defendants conducted and participated in the conduct of the Opioid

  Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(5),

  including mail fraud (18 U.S.C. § 1341), wire fraud (18 U.S.C. § 1343), and by the felonious

  manufacture, importation, receiving, concealment, buying, selling, or otherwise dealing in a

  controlled substance or listed chemical (as defined in section 102 of the Controlled Substance Act),

  punishable under any law of the United States. 18 U.S.C. § 1961(1)(D).

                             1. The RICO Defendants Engaged in Mail and Wire Fraud.

         366.    The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

  federal and state regulators and the American public by knowingly conducting or participating in

  the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity, within

  the meaning of 18 U.S.C. § 1961(1), that employed the use of mail and wire facilities, in violation

  of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

         367.    The RICO Defendants committed, conspired to commit, and/or aided and abetted

  in the commission of at least two predicate acts of racketeering activity (i.e. violations of 18 U.S.C.

  §§ 1341 and 1343) within the past ten years. The multiple acts of racketeering activity that the

  RICO Defendants committed, or aided and abetted in the commission of, were related to each other

  and posed a threat of continued racketeering activity, and therefore constitute a “pattern of

  racketeering activity.” The racketeering activity was made possible by the RICO Defendants’

  regular use of the facilities, services, distribution channels, and employees of the Opioid Diversion

  Enterprise. The RICO Defendants participated in the scheme to defraud by using mail, telephone

  and the Internet to transmit mailings and wires in interstate or foreign commerce.


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          368.      The RICO Defendants used, directed the use of, and/or caused to be used, thousands

  of interstate mail and wire communications in service of their scheme through virtually uniform

  misrepresentations, concealments and material omissions regarding their compliance with their

  mandatory reporting requirements and the actions necessary to carry out their unlawful goal of

  selling prescription opioids without reporting suspicious orders or the diversion of opioids into the

  illicit market.

          369.      In devising and executing the illegal scheme, the RICO Defendants devised and

  knowingly carried out a material scheme and/or artifice to defraud by means of materially false or

  fraudulent pretenses, representations, promises, or omissions of material facts. For the purpose of

  executing the illegal scheme, the RICO Defendants committed these racketeering acts, which

  number in the thousands, intentionally, knowingly, and with the specific intent to advance the

  illegal scheme.

          370.      The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

  include, but are not limited to:

              a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending or

                    receiving, or by causing to be sent and/or received, materials via U.S. mail or

                    commercial interstate carriers for the purpose of executing the unlawful scheme to

                    design, manufacture, market, and sell the prescription opioids by means of false

                    pretenses, misrepresentations, promises, and omissions.

              b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by transmitting

                    and/or receiving, or by causing to be transmitted and/or received, materials by wire

                    for the purpose of executing the unlawful scheme to design, manufacture, market,




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                 and sell the prescription opioids by means of false pretenses, misrepresentations,

                 promises, and omissions.

         371.    The RICO Defendants’ use of the mail and wires includes, but is not limited to, the

  transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or third

  parties that were foreseeably caused to be sent as a result of the RICO Defendants’ illegal scheme,

  including but not limited to:

             a. The prescription opioids themselves;

             b. Documents and communications that facilitated the manufacture, purchase and

                 unlawful sale of prescription opioids;

             c. Defendants’ DEA registrations;

             d. Documents and communications that supported and/or facilitated Defendants’

                 DEA registrations;

             e. Documents and communications that supported and/or facilitated the Defendants’

                 request for higher aggregate production quotas, individual production quotas, and

                 procurement quotas;

             f. Defendants’ records and reports that were required to be submitted to the DEA

                 pursuant to 21 U.S.C. § 827;

             g. Documents and communications related to the Defendants’ mandatory DEA

                 reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;

             h. Documents intended to facilitate the manufacture and distribution of Defendants’

                 prescription opioids, including bills of lading, invoices, shipping records, reports

                 and correspondence;

             i. Documents for processing and receiving payment for prescription opioids;




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              j. Payments from the Distributors to the Manufacturers;

              k. Rebates and chargebacks from the Manufacturers to the Distributors;

              l. Payments to Defendants’ lobbyists through the Pain Care Forum;

              m. Payments to Defendants’ trade organizations, like the HDA, for memberships

                  and/or sponsorships;

              n. Deposits of proceeds from Defendants’ manufacture and distribution of

                  prescription opioids; and

              o. Other documents and things, including electronic communications.

          372.    On information and belief, the RICO Defendants (and/or their agents), for the

  purpose of executing the illegal scheme, sent and/or received (or caused to be sent and/or received)

  by mail or by private or interstate carrier, shipments of prescription opioids and related documents

  affecting interstate commerce, including the following:

          373.    Purdue manufactures multiple forms of prescription opioids, including but not

  limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

  ER. Purdue manufactured and shipped these prescription opioids to the Distributor Defendants in

  this jurisdiction.

          374.    The Distributor Defendants shipped Purdue’s prescription opioids throughout this

  jurisdiction.

          375.    Cephalon manufactures multiple forms of prescription opioids, including but not

  limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids to

  the Distributor Defendants in this jurisdiction.

          376.    The Distributor Defendants shipped Cephalon’s and Teva’s prescription opioids

  throughout this jurisdiction.




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          377.     Janssen manufactures prescription opioids known as Duragesic. Janssen

  manufactured and shipped its prescription opioids to the Distributor Defendants in this jurisdiction.

          378.    The Distributor Defendants shipped Janssen’s prescription opioids throughout this

  jurisdiction.

          379.    Endo manufactures multiple forms of prescription opioids, including but not

  limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and shipped

  its prescription opioids to the Distributor Defendants in Ohio.

          380.    The Distributor Defendants shipped Endo’s prescription opioids throughout this

  jurisdiction.

          381.    Actavis manufactures multiple forms of prescription opioids, including but not

  limited to: Kadian and Norco, as well as generic versions of the drugs known as Kadian, Duragesic

  and Opana. Actavis manufactured and shipped its prescription opioids to the Distributor

  Defendants in this jurisdiction.

          382.    The Distributor Defendants shipped Actavis’ prescription opioids throughout this

  jurisdiction.

          383.    Mallinckrodt manufactures multiple forms of prescription opioids, including but

  not limited to: Exalgo and Roxicodone.

          384.    The Distributor Defendants shipped Mallinckrodt’s prescription opioids throughout

  this jurisdiction.

          385.    The RICO Defendants also used the internet and other electronic facilities to carry

  out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO Defendants

  made misrepresentations regarding their compliance with federal and state laws requiring them to




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  identify, investigate and report suspicious orders of prescription opioids and/or diversion of the

  same into the illicit market.

         386.    At the same time, the RICO Defendants misrepresented the superior safety features

  of their order monitoring programs, ability to detect suspicious orders, commitment to preventing

  diversion of prescription opioids, and compliance with all state and federal regulations regarding

  the identification and reporting of suspicious orders of prescription opioids.

         387.    Plaintiff is also informed and believes that the RICO Defendants utilized the

  internet and other electronic resources to exchange communications, to exchange information

  regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.

         388.    The RICO Defendants also communicated by U.S. Mail, by interstate facsimile,

  and by interstate electronic mail and with various other affiliates, regional offices, regulators,

  distributors, and other third-party entities in furtherance of the scheme.

         389.    The mail and wire transmissions described herein were made in furtherance of

  Defendants’ scheme and common course of conduct to deceive regulators and the public that

  Defendants were complying with their state and federal obligations to identify and report

  suspicious orders of prescription opioids, all while Defendants were knowingly allowing millions

  of doses of prescription opioids to divert into the illicit drug market. The RICO Defendants’

  scheme and common course of conduct was intended to increase or maintain high production

  quotas for their prescription opioids from which they could profit.

         390.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate wire

  facilities have been deliberately hidden, and cannot be alleged without access to Defendants’ books

  and records. But, Plaintiff has described the types of, and in some instances, occasions on which

  the predicate acts of mail and/or wire fraud occurred. They include thousands of communications




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  to perpetuate and maintain the scheme, including the things and documents described in the

  preceding paragraphs.

         391.    The RICO Defendants did not undertake the practices described herein in isolation,

  but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various other persons,

  firms, and corporations, including third-party entities and individuals not named as defendants in

  this Complaint, may have contributed to and/or participated in the scheme with the RICO

  Defendants in these offenses and have performed acts in furtherance of the scheme to increase

  revenues, increase market share, and /or minimize the losses for the RICO Defendants.

         392.    The RICO Defendants aided and abetted others in the violations of the above laws,

  thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343 offenses.

         393.    The RICO Defendants hid from the general public, and suppressed and/or ignored

  warnings from third parties, whistleblowers and governmental entities, about the reality of the

  suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the diversion

  of tens of millions of doses of prescriptions opioids into the illicit market.

         394.    The RICO Defendants, with knowledge and intent, agreed to the overall objective

  of their fraudulent scheme and participated in the common course of conduct to commit acts of

  fraud and indecency in manufacturing and distributing prescription opioids.

         395.    Indeed, for the Defendants’ fraudulent scheme to work, each of the Defendants had

  to agree to implement similar tactics regarding marketing prescription opioids and refusing to

  report suspicious orders.

         396.    As described herein, the RICO Defendants engaged in a pattern of related and

  continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

  each conducted with the common purpose of obtaining significant monies and revenues from the




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  sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

  results, participants, victims, and methods of commission. The predicate acts were related and not

  isolated events.

         397.    The predicate acts all had the purpose of generating significant revenue and profits

  for the RICO Defendants while Plaintiff was left with substantial injury to its business through the

  damage that the prescription opioid epidemic caused. The predicate acts were committed or caused

  to be committed by the RICO Defendants through their participation in the Opioid Diversion

  Enterprise and in furtherance of its fraudulent scheme.

         398.    The pattern of racketeering activity alleged herein and the Opioid Diversion

  Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

  enterprise.

         399.    The pattern of racketeering activity alleged herein is continuing as of the date of

  this Complaint and, upon information and belief, will continue into the future unless enjoined by

  this Court.

         400.    Many of the precise dates of the RICO Defendants’ criminal actions at issue here

  have been hidden and cannot be alleged without access to Defendants’ books and records. Indeed,

  an essential part of the successful operation of the Opioid Diversion Enterprise alleged herein

  depended upon secrecy.

         401.    Each instance of racketeering activity alleged herein was related, had similar

  purposes, involved the same or similar participants and methods of commission, and had similar

  results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

  Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their scheme

  to increase and maintain their increased profits, without regard to the effect such behavior would




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  have on consumers in this jurisdiction, this jurisdiction’s citizens, or the Plaintiff. In designing and

  implementing the scheme, at all times Defendants were cognizant of the fact that those in the

  manufacturing and distribution chain rely on the integrity of the pharmaceutical companies and

  ostensibly neutral third parties to provide objective and reliable information regarding Defendants’

  products and their manufacture and distribution of those products. The Defendants were also aware

  that Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system

  and to protect against the nonmedical diversion and use of their dangerously addictive opioid

  drugs.

           402.   By intentionally refusing to report and halt suspicious orders of their prescription

  opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct constituting

  a pattern of racketeering activity.

           403.   It was foreseeable to Defendants that refusing to report and halt suspicious orders,

  as required by the CSA and Code of Federal Regulations, would harm Plaintiff by allowing the

  flow of prescription opioids from appropriate medical channels into the illicit drug market.

           404.   The last racketeering incident occurred within five years of the commission of a

  prior incident of racketeering.

                             2. The RICO Defendants Manufactured, Sold and/or Dealt in
                                Controlled Substances and Their Crimes Are Punishable as
                                Felonies.

           405.   The RICO Defendants conducted and participated in the conduct of the affairs of

  the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

  § 1961(1)(D) by the felonious manufacture, importation, receiving, concealment, buying, selling,

  or otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

  Controlled Substance Act), punishable under any law of the United States.




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         406.    The RICO Defendants committed crimes that are punishable as felonies under the

  laws of the United States. Specifically, 21 U.S.C. § 843(a)(4) makes it unlawful for any person to

  knowingly or intentionally furnish false or fraudulent information in, or omit any material

  information from, any application, report, record or other document required to be made, kept or

  filed under this subchapter. A violation of section 843(a)(4) is punishable by up to four years in

  jail, making it a felony. 21 U.S.C. § 843(d)(1).

         407.    Each of the RICO Defendants qualify as registrants under the CSA. Their status as

  registrants under the CSA requires that they maintain effective controls against diversion of

  controlled substances in Schedule I or II, design and operate a system to disclose to the registrant

  suspicious orders of controlled substances, and inform the DEA of suspicious orders when

  discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

         408.    Pursuant to the CSA and the Code of Federal Regulations, the RICO Defendants

  were required to make reports to the DEA of any suspicious orders identified through the design

  and operation of their system to disclose suspicious orders.

         409.    The RICO Defendants knowingly and intentionally furnished false or fraudulent

  information in their reports to the DEA about suspicious orders, and/or omitted material

  information from reports, records and other documents required to be filed with the DEA,

  including the Manufacturer Defendants’ applications for production quotas. Specifically, the

  RICO Defendants were aware of suspicious orders of prescription opioids and the diversion of

  their prescription opioids into the illicit market, and failed to report this information to the DEA in

  their mandatory reports and their applications for production quotas.

         410.    For example, The DEA and DOJ began investigating McKesson in 2013 regarding

  its monitoring and reporting of suspicious controlled substances orders. On April 23, 2015,




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  McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it admitted

  to violating the CSA and agreed to pay $150 million and have some of its DEA registrations

  suspended on a staggered basis. The settlement was finalized on January 17, 2017.191

              411.   Purdue’s experience in Los Angeles is another striking example of Defendants’

  willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

  orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware of

  a pill mill operating out of Los Angeles, yet failed to alert the DEA.192 The LA Times uncovered

  that Purdue began tracking a surge in prescriptions in Los Angeles, including one prescriber in

  particular. A Purdue sales manager spoke with company officials in 2009 about the prescriber,

  asking “Shouldn’t the DEA be contacted about this?” and adding that she felt “very certain this is

  an organized drug ring.”193 Despite knowledge of the staggering amount of pills being issued in

  Los Angeles, and internal discussion of the problem, “Purdue did not shut off the supply of highly

  addictive OxyContin and did not tell authorities what it knew about Lake Medical until several

  years later when the clinic was out of business and its leaders indicted. By that time, 1.1 million

  pills had spilled into the hands of Armenian mobsters, the Crips gang and other criminals.”194

              412.   Finally, Mallinckrodt was recently the subject of a DEA and Senate investigation

  for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt, arguing that it

  ignored its responsibility to report suspicious orders as 500 million of its pills ended up in Florida



  191
      McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug Enforcement
  Administration to Resolve Past Claims, About McKesson / Newsroom / Press Releases, (January 17, 2017(),
  http://www.mckesson.com/about-mckesson/newsroom/press-releases/2017/mckesson-finalizes-settlement-with-doj-
  and-dea-to-resolve-past-claims/.
  192
     Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals and addicts. What the
  drugmaker knew, Los Angeles Times, (July 10, 2016), http://www.latimes.com/projects/la-me-oxycontin-part2/.
  193
        Id.
  194
        Id.



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  between 2008 and 2012.195 After six years of DEA investigation, Mallinckrodt agreed to a

  settlement involving a $35 million fine. Federal prosecutors summarized the case by saying that

  Mallinckrodt’s response was that everyone knew what was going on in Florida but they had no

  duty to report it.196

              413.   Plaintiff is informed and believes that the foregoing examples reflect the RICO

  Defendants’ pattern and practice of willfully and intentionally omitting information from their

  mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is supported

  by the sheer volume of enforcement actions against the Distributor Defendants available in the

  public record.197 For example:

              414.   On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the AmerisourceBergen Orlando, Florida distribution center (“Orlando

  Facility”), alleging failure to maintain effective controls against diversion of controlled substances.

  On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the suspension of

  its DEA registration;

              415.   On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Auburn, Washington Distribution Center (“Auburn

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;




  195
     Lenny Bernstein & Scott Higham, The government’s struggle to hold opioid manufacturers accountable, The
  Washington        Post, (April   2,    2017),    https://www.washingtonpost.com/graphics/investigations/dea-
  mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold in the state of Florida
  during that time.
  196
        Id.


    Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep’t of Justice, The Drug Enforcement
  197

  Administration’s Adjudication of Registrant Actions 6 (2014), https://oig.justice.gov/reports/2014/e1403.pdf.



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         416.    On December 5, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;

         417.    On December 7, 2007, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Swedesboro, New Jersey Distribution Center

  (“Swedesboro Facility”) for failure to maintain effective controls against diversion of

  hydrocodone;

         418.    On January 30, 2008, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Stafford, Texas Distribution Center (“Stafford

  Facility”) for failure to maintain effective controls against diversion of hydrocodone;

         419.    On May 2, 2008, McKesson Corporation entered into an Administrative

  Memorandum of Agreement (“2008 MOA”) with the DEA which provided that McKesson would

  “maintain a compliance program designed to detect and prevent the diversion of controlled

  substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

  procedures established by its Controlled Substance Monitoring Program”;

         420.    On September 30, 2008, Cardinal Health entered into a Settlement and Release

  Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

  Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also

  referenced allegations by the DEA that Cardinal failed to maintain effective controls against the

  diversion of controlled substances at its distribution facilities located in McDonough, Georgia

  (“McDonough Facility”), Valencia, California (“Valencia Facility”) and Denver, Colorado

  (“Denver Facility”);




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         421.    On February 2, 2012, the DEA issued an Order to Show Cause and Immediate

  Suspension Order against the Cardinal Health Lakeland, Florida Distribution Center (“Lakeland

  Facility”) for failure to maintain effective controls against diversion of oxycodone;

         422.    On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to the

  DEA to resolve the civil penalty portion of the administrative action taken against its Lakeland,

  Florida Distribution Center; and

         423.    On January 5, 2017, McKesson Corporation entered into an Administrative

  Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

  violation of the 2008 MOA as well as failure to identify and report suspicious orders at its facilities

  in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE,

  Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH and West

  Sacramento CA.

         424.    These actions against the Distributor Defendants confirm that the Distributor

  Defendants knew they had a duty to maintain effective controls against diversion, design and

  operate a system to disclose suspicious orders, and report suspicious orders to the DEA. These

  actions also demonstrate, on information and belief, that the Manufacturer Defendants were aware

  of the enforcement against their distributors, the diversion of the prescription opioids, and a

  corresponding duty to report suspicious orders.

         425.    The pattern of racketeering activity alleged herein is continuing as of the date of

  this Complaint and, upon information and belief, will continue into the future unless enjoined by

  this Court.

         426.    Many of the precise dates of Defendants’ criminal actions at issue herein were

  hidden and cannot be alleged without access to Defendants’ books and records. Indeed, an essential




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  part of the successful operation of the Opioid Diversion Enterprise depended upon the secrecy of

  the participants in that enterprise.

          427.    Each instance of racketeering activity alleged herein was related, had similar

  purposes, involved the same or similar participants and methods of commission, and had similar

  results affecting similar victims, including consumers in this jurisdiction and the Plaintiff.

  Defendants calculated and intentionally crafted the diversion scheme to increase and maintain

  profits from unlawful sales of opioids, without regard to the effect such behavior would have on

  this jurisdiction, this jurisdiction’s citizens, or the Plaintiff. The Defendants were aware that

  Plaintiff and the citizens of this jurisdiction rely on the Defendants to maintain a closed system of

  manufacturing and distribution to protect against the nonmedical diversion and use of their

  dangerously addictive opioid drugs.

                          D. DAMAGES

          428.    The RICO Defendants’ violations of law and their pattern of racketeering activity

  directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

  for costs associated with the opioid epidemic, as described above in language expressly

  incorporated herein by reference.

          429.    Plaintiff’s injuries, and those of her citizens, were proximately caused by

  Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

  have paid the health services and law enforcement services and expenditures required as a result

  of the plague of drug-addicted residents.

          430.    Plaintiff’s injuries and those of her citizens were directly caused by the RICO

  Defendants’ racketeering activities.

          431.    Plaintiff was most directly harmed and there is no other Plaintiff better suited to

  seek a remedy for the economic harms at issue here.


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          432.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

  actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

  attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.

                                  COUNT III
           RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT
                            18 U.S.C. 1962(d), et seq.
                            (Against All Defendants)

          433.    Plaintiff hereby incorporates by reference all other paragraphs of this Complaint

  as if fully set forth herein, and further alleges as follows.

          434.    Plaintiff brings this claim on its own behalf against all RICO Defendants. At all

  relevant times, the RICO Defendants were associated with the Opioid Diversion Enterprise and

  agreed and conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and participate,

  directly and indirectly, in the conduct of the affairs of the Opioid Diversion Enterprise through a

  pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d) it is

  unlawful for “any person to conspire to violate” Section 1962(d), among other provisions. 18

  U.S.C. § 1962(d).

          435.    Defendants conspired to violate Section 1962(c), as alleged more fully above, by

  conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering activity,

  as incorporated by reference below.

                          A. THE OPIOID DIVERSION ENTERPRISE.

          436.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

  incorporates by reference Paragraphs 319 through 349 concerning the Opioid Diversion

  Enterprise.




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                         B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

         437.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

  incorporates by reference Paragraphs 350 through 364 concerning the Opioid Diversion

  Enterprise.

                         C. PATTERN OF RACKETEERING ACTIVITY.

         438.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

  incorporates by reference Paragraphs 365 through 430 concerning the Opioid Diversion

  Enterprise.

                         D. DAMAGES.

         439.    The RICO Defendants’ violations of law and their pattern of racketeering activity

  directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

  for costs associated with the opioid epidemic, as described above in language expressly

  incorporated herein by reference.

         440.    Plaintiff’s injuries, and those of her citizens, were proximately caused by the RICO

  Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

  have paid the health services and law enforcement services and expenditures required as a result

  of the plague of drug-addicted residents.

         441.    Plaintiff’s injuries and those of her citizens were directly caused by the RICO

  Defendants’ racketeering activities.

         442.    Plaintiff was most directly harmed and there is no other Plaintiff better suited to

  seek a remedy for the economic harms at issue here.

         443.    Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

  actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

  attorney’s fees and all costs and expenses of suit and pre- and post-judgment interest.


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                                        COUNT IV
                       INDIANA CORRUPT BUSINESS INFLUENCE ACT
                             INDIANA CODE CHAPTER 35-45-6
                                  (Against All Defendants)

          444.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

          445.    The RICO Defendants each operated an enterprise or otherwise participated in the

  activities of an enterprise, for purposes that include the illegal manufacture and distribution of

  opioids. As explained herein, each RICO Defendant’s conduct involves the commission of

  criminal offenses, constituting a pattern of corrupt activity, and each RICO Defendant participated

  in the affairs of an enterprise and acquired and maintained control of an enterprise.

          446.    Indiana’s State RICO “uses language significantly broader than that of the Federal

  Act.” Keesling v. Beegle, 880 N.E.2d 1202, 1203 (Ind. 2008).

          447.    Each Defendant is a “person” within the meaning of Ind. Code § 35-45-6-2, who

  conducted or otherwise participated in the affairs of an enterprise through a pattern of racketeering

  activity, in violation of that section.

          448.    The Plaintiff is an “aggrieved person,” for purposes of Ind. Code § 34-24-2-6(a),

  which is suffering from Defendants’ corrupt business influence. Accordingly, Plaintiff is entitled

  to injunctive relief, three times its actual damages, the costs of the current action, reasonable

  attorney’s fees, and punitive damages.

                          A. THE OPIOID DIVERSION ENTERPRISE.

          449.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

  incorporates by reference Paragraphs 319 through 349 concerning the Opioid Diversion

  Enterprise.




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            450.   The RICO Defendants conducted their pattern of racketeering activity under Ind.

  Code § 35-45-6-2.

            451.   The RICO Defendants were members of an enterprise within the meaning of Ind.

  Code § 35-45-6-1(c), through which the RICO Defendants conducted their pattern of racketeering

  activity in this jurisdiction and throughout the United States. Specifically, the Healthcare

  Distribution Alliance (the “HDA”) (formerly known as the Healthcare Distribution Management

  Association or “HDMA”) is a distinct legal entity that can serve as a RICO enterprise. The HDA

  is a non-profit corporation formed under the laws of the District of Columbia and doing business

  in Virginia. As a non-profit corporation, HDA qualifies as an “enterprise” within the definition set

  out in Ind. Code § 35-45-6-1(c) because it is a corporation and a legal entity.

                          B. CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

            452.   For efficiency and avoiding repetition, for purposes of this claim, Plaintiff

  incorporates by reference Paragraphs 350 through 364 concerning the conduct of the Opioid

  Diversion Enterprise.

                          C. CORRUPT ACTIVITY—I.E., PATTERN OF RACKETEERING
                             ACTIVITY.

            453.   The RICO Defendants conducted and participated in the conduct of the affairs of

  their Opioid Diversion Enterprise through “racketeering activity” as defined in Ind. Code § 35-45-

  6-1(e).

            454.   As previously alleged, the RICO Defendants engaged in a pattern of racketeering

  activity pursuant to 18 U.S.C. § 1961(1)(B) and § 1961(1)(D) by committing mail fraud (18 U.S.C.

  § 1341), wire fraud (18 U.S.C. § 1343), and dealing in a controlled substance which crime is

  punishable as a felony under any law of the United States. The RICO Defendants committed a

  felony by violating federal law, including 21 U.S.C. § 843. By this reference, Plaintiff realleges



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  and fully incorporates herein all allegations regarding the RICO Defendants’ pattern of

  racketeering..

          455.     Defendants also dealt in a Schedule II controlled substance unlawfully in violation

  of Ind. Code § 35-48-4-2.

                          D. DAMAGES

          456.     The RICO Defendants’ violations of law and their pattern of racketeering activity

  directly and proximately caused Plaintiff injury in its business and property because Plaintiff paid

  for costs associated with the opioid epidemic, as described above in language expressly

  incorporated herein by reference.

          457.     Plaintiff’s injuries, and those of her citizens, were proximately caused by the RICO

  Defendants’ racketeering activities. But for the RICO Defendants’ conduct, Plaintiff would not

  have paid the health services and law enforcement services and expenditures required as a result

  of the plague of drug-addicted residents.

          458.     Plaintiff’s injuries and those of her citizens were directly caused by the RICO

  Defendants’ racketeering activities.

          459.     Plaintiff was most directly harmed and there is no other Plaintiff better suited to

  seek a remedy for the economic harms at issue here.

          460.     Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

  actual damages, treble damages, equitable relief, forfeiture as deemed proper by the Court,

  attorney’s fees, punitive damages, and all costs and expenses of suit and pre- and post-judgment

  interest.




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                                           COUNT V
                              INDIANA CRIME VICTIM RELIEF ACT
                                INDIANA CODE SECTION 34-24-3-1
                                     (Against All Defendants)

            461.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

            462.   Defendants’ unlawful conduct has caused Plaintiff to suffer extensive pecuniary

  losses.

            463.   Defendants’ conduct falls under the provisions of Indiana Code article 43.

            464.   Defendants committed deception pursuant to Ind. Code § 35-43-5-3(a)(2), by

  knowingly making false and misleading written statements with the intent to obtain property.

  Specifically, Defendants applied for licenses from the Indiana Board of Pharmacy by making the

  representation that they would comply with their reporting obligations under federal and state law.

            465.   As detailed above, Defendants had no intention of complying with their

  requirements. Their licenses were acquired through deceit, and enabled Defendants to obtain

  tremendous amounts of money in the State.

            466.   Plaintiff seeks all legal and equitable relief as allowed by law, including, inter alia,

  injunctive relief, full compensatory and punitive or exemplary damages, and all damages allowed

  by law to be paid by Defendants.

                                      COUNT VI
                   NEGLIGENCE AND NEGLIGENT MISREPRESENTATION
                                (Against All Defendants)

            467.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

            468.   Plaintiff seeks economic damages which were the foreseeable result of Defendants’

  intentional and/or unlawful actions and omissions.



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         469.    Under Indiana law, to establish actionable negligence, one must show the existence

  of a duty, a breach of that duty, and injury resulting proximately therefrom. Each of these essential

  elements exist here.

         470.    Each Defendant had an obligation to exercise reasonable care in manufacturing,

  marketing, selling, and distributing highly dangerous opioid drugs in the State and Plaintiff’s

  Community.

         471.    Each Defendant had an obligation to exercise due care in selling and distributing

  highly dangerous opioid drugs in the State and Plaintiff’s Community.

         472.    The existence of a duty depends on the foreseeability of the injury. Each Defendant

  owed a duty to the Plaintiff and to Plaintiff’s Community because the injuries alleged herein were

  foreseeable, and in fact were foreseen, by the Defendants.

         473.    Reasonably prudent distributors of prescription opioids would have anticipated that

  the scourge of opioid addiction would wreak havoc on communities and impose significant costs

  upon the governmental entities associated with those communities. The closed system of opioid

  distribution whereby wholesale distributors are the gatekeepers between manufacturers and

  pharmacies, and wherein all links in the chain have a duty to prevent diversion, exists for the

  purpose of controlling dangerous substances such as opioids and preventing diversion and abuse.

         474.    Moreover, Defendants were repeatedly warned by law enforcement of the

  unlawfulness and consequences of their actions and omissions.

         475.    The escalating amounts of addictive drugs flowing through Defendants’ businesses,

  and the sheer volume of these prescription opioids, further alerted Defendants that addiction was

  fueling increased consumption and that legitimate medical purposes were not being served.




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         476.    As described above in language expressly incorporated herein, Distributor

  Defendants breached their duties to exercise due care in the business of wholesale distribution of

  dangerous opioids, which are Schedule II controlled substances, by failing to monitor for, failing

  to report, and filling highly suspicious orders time and again. Because the very purpose of these

  duties was to prevent the resulting harm – diversion of highly addictive drugs for nonmedical

  purposes – the causal connection between Defendants’ breach of duties and the ensuing harm was

  entirely foreseeable.

         477.    As described elsewhere in the Complaint in language expressly incorporated

  herein, Distributor Defendants misrepresented their compliance with their duties under the law and

  concealed their noncompliance and shipments of suspicious orders of opioids to Plaintiff’s

  Community and destinations from which they knew opioids were likely to be diverted into

  Plaintiff’s Community, in addition to other misrepresentations alleged and incorporated herein.

         478.    All Defendants breached their duties to prevent diversion and report and halt

  suspicious orders, and all Defendants misrepresented their compliance with their legal duties.

         479.    Defendants’ breaches were intentional and/or unlawful, and Defendants’ conduct

  was willful, wanton, malicious, reckless, oppressive, and/or fraudulent.

         480.    The      causal   connection   between   Defendants’   breaches   of   duties     and

  misrepresentations and the ensuing harm was entirely foreseeable.

         481.    As described above in language expressly incorporated herein, Defendants’

  breaches of duty and misrepresentations caused, bears a causal connection with, and/or

  proximately resulted in the damages sought herein.

         482.    Defendants were selling dangerous drugs statutorily categorized as posing a high

  potential for abuse and severe dependence. Defendants knowingly traded in drugs that presented a




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  high degree of danger if prescribed incorrectly or diverted to other than medical, scientific, or

  industrial channels. However, Defendants breached their duties to monitor for, report, and halt

  suspicious orders, breached their duties to prevent diversion, and, further, misrepresented what

  their duties were and their compliance with their legal duties.

         483.    Defendants’ unlawful and/or intentional actions create a rebuttable presumption of

  negligence under State law.

         484.    Plaintiff seeks losses (direct, incidental, or consequential pecuniary losses)

  resulting from Defendants’ actions and omissions. Plaintiff does not seek damages for the

  wrongful death, physical personal injury, serious emotional distress, or any physical damage to

  property caused by Defendants’ actions.

         485.    Plaintiff seeks all legal and equitable relief as allowed by law, other than such

  damages disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of

  profits, compensatory and punitive damages, and all damages allowed by law to be paid by the

  Defendants, attorney’s fees and costs, and pre- and post-judgment interest.

                                             COUNT VII
                                       NEGLIGENCE PER SE
                                       (Against All Defendants)

         486.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

         487.    Indiana Code §§ 25-26-14-7, 25-26-14-14, 25-26-14-17(10), 25-26-14-17(4)(K),

  as well as the federal laws and regulations concerning wholesale drug distributors, are laws aimed

  at public safety. Each Defendant had a duty under, inter alia, these laws to maintain effective

  controls against diversion of prescription opioids and to guard against, prevent, and report




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  suspicious orders of opioids. Plaintiff is within the class of persons for whom an injury would

  foreseeably occur if Defendants violated their statutory and regulatory duties.

         488.    Defendants’ actions and omissions in violation of the law constitute negligence per

  se.

         489.    Defendants’ actions and omissions were intentional and/or unlawful, and

  Defendants acted with actual malice.

         490.    It was foreseeable that the breach of duty described herein would result in the

  economic damages for which Plaintiff seeks recovery.

         491.    As described above in language expressly incorporated herein, Defendants

  breached their duties to maintain effective controls against diversion of dangerously addictive

  opioids, including violating public safety statutes requiring that as wholesale drug distributors,

  Defendants could only distribute these dangerous drugs under a closed system – a system

  Defendants were responsible for guarding.

         492.    As described above in language expressly incorporated herein, Defendants’ breach

  of statutory and regulatory duties caused, bears a causal connection with, and proximately resulted

  in, the harm and damages sought by the Plaintiff.

         493.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

  losses) resulting from Defendants’ negligence per se. Plaintiff does not seek damages for the

  wrongful death, physical personal injury, serious emotional distress, or any physical damage to

  property caused by Defendants’ actions.

         494.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

  disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,




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  compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

  attorney’s fees and costs, and pre- and post-judgment interest.

                                  COUNT VIII
                         DECEPTIVE TRADE PRACTICES
                 COMMON LAW AND INDIANA CODE CHAPTER 24-5-0.5-2
                             (Against All Defendants)

          495.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

          496.    Defendants violated Ind. Code § 24-5-0.5-2, because they engaged in the deceptive

  trade practices detailed above in Indiana.

          497.    Defendants committed repeated and willful unfair, abusive, or deceptive acts or

  practices, and unconscionable trade practices, in connection with consumer transactions.

          498.    Defendants are all “suppliers” as that term is defined in Ind. Code § 24-5-0.5-

  2(a)(3). Plaintiff falls under the definition of “person” in Ind. Code § 24-5-0.5-2(a)(2).

          499.    Defendants’ conduct constitutes “incurable deceptive acts” as that term is defined

  in Ind. Code § 24-5-0.5-2(a)(8), because all of the Defendants’ acts detailed in this Complaint were

  committed “as part of a scheme, artifice, or device with intent to defraud or mislead.”

          500.    Indiana’s Deceptive Consumer Sales chapter explicitly prohibits the Defendants

  from soliciting to engage in a consumer transaction if a permit for that transaction would be

  required but “the supplier is not qualified to obtain the required permit or other license.” Ind. Code

  § 24-5-0.5-10(a)(1)(B). Defendants, as a condition of their continued licensure in the state of

  Indiana, were required to report suspicious transactions to the DEA and other relevant authorities;

  accordingly, every transaction they entered into was deceptive as Defendants were not qualified

  to obtain their licenses from the Indiana Pharmacy Board, and the Defendants knew they were not

  qualified for their licenses.



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           501.   As a “person” under the Deceptive Consumer Sales chapter, Plaintiff is entitled to

  recover, at a minimum, the damages it has actually suffered from Defendants’ deceptive trade

  practices. However, because Defendants’ conduct was willfully deceptive, Plaintiff is entitled to

  three times its actual damage.

                                             COUNT IX
                                        CIVIL CONSPIRACY
                                       (Against All Defendants)

           502.   Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

           503.   While Indiana does not recognize a separate civil cause of action for conspiracy,

  there is a civil cause of action for damages resulting from a conspiracy. Miller v. Cent. Ind.

  Community Found., Inc., 11 N.E.3d 944, 962 (Ind. Ct. App. 2014). It is another way of asserting

  concerted action in the commission of a tort. Id.

           504.   Defendants’ torts detailed above were committed in concert of action with each

  other.

           505.   Defendants engaged in a civil conspiracy to create a public nuisance in conjunction

  with their unlawful distribution and diversion of opioids into the State and Plaintiff’s Community.

           506.   As set forth herein, Defendants engaged in a civil conspiracy to commit fraud and

  misrepresentation in conjunction with their unlawful distribution and diversion of opioids into the

  State and Plaintiff’s Community.

           507.   Distributor and Manufacturer Defendants unlawfully failed to act to prevent

  diversion and failed to monitor for, report, and prevent suspicious orders of opioids.




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         508.    Defendants’ conspiracy and acts in furtherance thereof are alleged in greater detail

  earlier in this Complaint, including, without limitation, in Plaintiff’s federal and state law

  racketeering allegations. Such allegations are incorporated herein.

         509.    Defendants acted with a common understanding or design to commit unlawful acts,

  as alleged herein, and acted purposely and without a reasonable or lawful excuse, to create the

  injuries alleged herein.

         510.    Defendants acted with malice, purposely, intentionally, unlawfully, and without a

  reasonable or lawful excuse.

         511.     Defendants’ conspiracy, and Defendants’ actions and omissions in furtherance

  thereof, caused the direct and foreseeable losses alleged herein.

         512.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

  losses) resulting from Defendants’ civil conspiracy. Plaintiff does not seek damages for the

  wrongful death, physical personal injury, serious emotional distress, or any physical damage to

  property caused by Defendants’ actions.

         513.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

  disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

  compensatory and punitive damages, and all damages allowed by law to be paid by the Defendants,

  attorney’s fees and costs, and pre- and post-judgment interest.

                                          COUNT X
                                  DRUG DEALER LIABILITY
                               INDIANA CODE SECTION 34-24-4-1
                                    (Against All Defendants)

         514.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.




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         515.    Pursuant to Ind. Code § 34-24-4-1, a person who knowingly participates in the

  illegal drug market in Indiana is civilly liable for certain damages.

         516.    As described herein, Defendants’ intentional failure to comply with their reporting

  requirements under federal and state law created, as a foreseeable consequence, an incredible

  number of individuals who are now addicted to drugs. In turn, these drugs users have forced

  Plaintiff to expend funds on drug treatment programs, assistance programs, and other expenditures

  described herein.

         517.    Ind. Code § 34-24-4-2 provides that a “governmental entity” such as Plaintiff may

  recoup costs from those who participated in the creation and maintenance of the black market for

  opioid drugs in Plaintiff’s Community.

         518.    Defendants are liable for these costs, as they are “person[s] who knowingly

  distributed or knowingly participated in the chain of distribution of an illegal drug that was actually

  used by . . . individual drug user[s].” Ind. Code § 34-24-4-3(1).

         519.    Accordingly, Plaintiff is entitled to recover from Defendants the myriad damages

  described in Ind. Code § 34-24-4-4, including but not limited to treatment and rehabilitation costs,

  loss of economic potential, accidents, emotional distress, anguish, as well as exemplary damages,

  attorney’s fees, and court costs.

                                       COUNT XI
                      FRAUD AND FRAUDULENT MISREPRESENTATION
                                 (Against All Defendants)

         520.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

         521.    Defendants violated their general duty not to actively deceive, have made

  knowingly false statements, and have omitted and/or concealed information which made




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  statements Defendants did make knowingly false. Defendants acted intentionally and/or

  unlawfully.

         522.    As alleged herein, Defendants made false statements regarding their compliance

  with state and federal law regarding their duties to prevent diversion and their duties to monitor,

  report and halt suspicious orders, and/or concealed their noncompliance with these requirements.

         523.    As alleged herein, Defendants knowingly and/or intentionally made representations

  that were false. Defendants had a duty to disclose material facts and concealed them. These false

  representations and concealed facts were material to the conduct and actions at issue. Defendants

  made these false representations and concealed facts with knowledge of the falsity of their

  representations, and did so with the intent of misleading Plaintiff, Plaintiff’s community, the

  public, and persons on whom Plaintiff relied.

         524.    These false representations and concealments were reasonably calculated to

  deceive Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids for persons in

  Plaintiff’s Community, were made with the intent to deceive, and did in fact deceive these persons,

  Plaintiff, and Plaintiff’s Community.

         525.    Plaintiff, Plaintiff’s Community, and the physicians who prescribed opioids

  reasonably relied on these false representations and concealments of material fact.

         526.    Plaintiff justifiably relied on Defendants’ representations and/or concealments,

  both directly and indirectly. Plaintiff’s injuries were proximately caused by this reliance.

         527.    The injuries alleged by Plaintiff herein were sustained as a direct and proximate

  cause of Defendants’ fraudulent conduct.

         528.    Plaintiff seeks economic losses (direct, incidental, or consequential pecuniary

  losses) resulting from Defendants’ fraudulent activity, including fraudulent misrepresentations and




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  fraudulent concealment. Plaintiff does not seek damages for the wrongful death, physical personal

  injury, serious emotional distress, or any physical damage to property caused by Defendants’

  actions.

         529.    Plaintiff seeks all legal and equitable relief as allowed by law, except as expressly

  disavowed herein, including, inter alia, injunctive relief, restitution, disgorgement of profits,

  compensatory and punitive damages, and all damages allowed by law to be paid by the -

  Defendants, attorney’s fees and costs, and pre- and post-judgment interest.

                                    VI. PUNITIVE DAMAGES

         530.    Plaintiff incorporates by reference all other paragraphs of this Complaint as if fully

  set forth herein, and further alleges as follows.

         531.    By engaging in the above-described unfair acts or practices, Defendants acted with

  actual malice, wantonly, and oppressively. Defendants acted with conscious disregard for the

  rights of others and/or in a reckless, wanton, willful, or gross manner. Defendants acted with a

  prolonged indifference to the adverse consequences of their actions and/or omissions. Defendants

  acted with conscious disregard for the rights and safety of others in a manner that had a great

  probability of causing substantial harm. Here, Defendants were selling dangerous drugs statutorily

  categorized as posing a high potential for abuse and severe dependence. Thus, Defendants

  knowingly traded in drugs that presented a high degree of danger if prescribed incorrectly or

  diverted to other than legitimate medical, scientific, or industrial channels. Because of the severe

  level of danger posed by, and indeed visited upon the State and Plaintiff’s Community by, these

  dangerous drugs, Defendants owed a high duty of care to ensure that these drugs were only used

  for proper medical purposes. Defendants chose profit over prudence and the safety of the

  community, and an award of punitive damages is appropriate, as punishment and a deterrence.




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         532.    By engaging in the above-described wrongful conduct, Defendants also engaged in

  willful misconduct and exhibited an entire want of care that raises the presumption of a conscious

  indifference to consequences.

                                           VII. RELIEF

  WHEREFORE, the Plaintiff respectfully prays that this Court grant the following relief:

         1.      Entering Judgment in favor of the Plaintiff in a final order against each of the

  Defendants;

         2.      Enjoining the Defendants and their employees, officers, directors, agents,

  successors, assignees, merged or acquired predecessors, parent or controlling entities, subsidiaries,

  and all other persons acting in concert or participation with them, from engaging in unfair or

  deceptive practices in violation of law and ordering temporary, preliminary or permanent

  injunction;

         3.      Ordering that Defendants compensate the Plaintiff for past and future costs to abate

  the ongoing public nuisance caused by the opioid epidemic;

         4.      Ordering Defendants to fund an “abatement fund” for the purposes of abating the

  opioid nuisance;

         5.      Awarding actual damages, treble damages, injunctive and equitable relief,

  forfeiture as deemed proper by the Court, and attorney’s fees and all costs and expenses of suit

  pursuant to Plaintiff’s racketeering claims;

         6.      Awarding the Plaintiff the damages caused by the opioid epidemic, including

                 a. costs for providing medical care, additional therapeutic and prescription drug

                     purchases, and other treatments for patients suffering from opioid-related

                     addiction or disease, including overdoses and deaths;




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              b. costs for providing treatment, counseling, and rehabilitation services;

              c. costs for providing treatment of infants born with opioid-related medical

                   conditions;

              d. costs for providing care for children whose parents suffer from opioid-related

                   disability or incapacitation; and

              e. costs associated with law enforcement and public safety relating to the opioid

                   epidemic.

        7.    Awarding judgment against the Defendants requiring Defendants to pay punitive

  damages;

        8.    Granting the Plaintiff

              a.      The cost of investigation, reasonable attorneys’ fees, and all costs and

                      expenses;

              b.      Pre-judgment and post-judgment interest; and,

              c.      All other relief as provided by law and/or as the Court deems appropriate

                      and just.

                                                       Respectfully submitted,


                                                       /s/ Chou-il Lee____________________
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